                                                   Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 1 of 52


  Debtor name                             XtraLight Manufacturing, Ltd.
  United States Bankruptcy Court for the:                                                    SOUTHERN DISTRICT OF TEXAS

  Case number                      (if    known)               18-31857-H1-11
                                                                                                                                                                                                   Check    if   this   is   an
                                                                                                                                                                                                   amended filing




 Official Form 206Sum
 Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                       12/15

                    Summary                         of Assets



  1.        Schedule A/B: Assets-Real and Personal Property (Official                                                                  Form      206A/B)

            1a. Real               property:
                  Copy              line 88 from                Schedule A/B.......                                 .                                                                     .
                                                                                                                                                                                                    ;                             0.00

            1b.   Total personal property:
                  Copy             line 91A from                 Schedule A/B........                                                                                                               ;             9,163,065.08

            1c.   Total            of all property:                                                                                                                                                              9,163,065.08*
                  Copy             line 92 from Schedule                            A/B........                                                                                                     $




                    Summary                        of    Liabilities


 2.         Schedule                     D:       Creditors Who Have Claims Secured                                     by    Property        (Official   Form     206D)
            Copy    the total                     dollar amount listed                  in   Column A, Amount of claim, from line                         3   of Schedule     D........             $             5,053,412.00


 3.         Schedule                     E/F:      Creditors Who Have Unsecured Claims                                          (Official    Form     206E/F)

            3a.   Total claim amounts                                of        priority unsecured claims:
                  Copy             the total            claims from Part                1    from   line 5a of Schedule               E/F.........                                                  $                             0.00


            3b. Total              amount                of    claims          of   nonpriority amount                  of   unsecured claims:
                  Copy             the total            of the amount of claims from                     Part   2        from    line 5b of Schedule            E/F........                        +;            16,681,672.98


 4.         Total liabilities                       ........
            Lines   2    +         3a         +   3b                                                                                                                                           $           21,735,084.98




*The Debtor's Lighting Division                                           is    estimated           to be valued             at over $18        Million and total company value exceeds $20 Million.




 Official     Form       206Sum                                                                Summary      of Assets               and Liabilities for Non-Individuals                                                       page   1




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                                                       Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 2 of 52


          Debtor name                           XtraLight Manufacturing,                       Ltd.

          United States Bankruptcy                                Court for the:         SOUTHERN DISTRICT OF TEXAS

      Case number                        (if    known)            18-31857-H1-11
                                                                                                                                                                                               O    Check   if   this    is    an

                                                                                                                                                                                                    amended filing




     Official Form 206A/B
 Schedule A/B: Assets                                                                          -
                                                                                                   Real and Personal Property                                                                                                  12:ss
 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
 Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
 which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule AIB, list any executory contracts
 or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
 the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
 additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

      For Part   through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as fixed asset
                       1                                                                                                                                                                                    a

      schedule or depreciation schedule, that gives the details for each asset in    particular category. List each asset only once. In valuing the
                                                                                                                                      a

      debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
                   Cash and cash equivalents
 1.        Does the debtor have any cash or cash equivalents?

            O No.           Go       to         Part    2.


            E   Yes         Fill    in below.  the information
           All cash or cash equivalents owned                                           or controlled by the debtor                                                                                 Current value of
                                                                                                                                                                                                    debtor's interest
     2.               Cash on hand                                                                                                                                                                                             $600.00



     3.               Checking, savings,                                money market, or financial brokerage accounts (Identify                    all)
                      Name of institution (bank                               or    brokerage firm)                      Type of account                             Last   4   digits of account
                                                                                                                                                                     number


                      3.1.                Comerica                 Bank (as of 3/31/2018)                                Checking                                    7694                                               $22,714.00




                      3.2.                BBVA Compass                         Bank (as of 4/11/2018)                    Checking                                    9152                                               $95,523.95




     4.               Other cash equivalents (Identify all)


     5.               Total of Part                          1.                                                                                                                                             $118,837.95
                      Add lines                   2    through      4   (including amounts         on   any additional   sheets). Copy the total     to   line 80.


                                   Deposits and Prepayments
6.        Does the debtor have any deposits or prepayments?

           O No.           Go       to         Part    3.


           E    Yes        Fill    in          the information             below.

 7.                   Deposits, including security deposits and utility deposits
                      Description,                     including name of holder of deposit

 8.                   Prepayments, including prepayments                           on executory                    contracts, leases, insurance, taxes, and rent
                      Description,                     including name of holder of prepayment



Official Form 206A/B                                                                               Schedule A/B Assets         -
                                                                                                                                   Real and Personal Property                                                                       page   1




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                                       Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 3 of 52

  Debtor                 XtraLight Manufacturing, Ltd.                                                                             Case number       (If   known)       18-31857-H1-11
                         Name




                 8.1.           Blue Cross Blue Shield                                                                                                                                           $20,400.00




                 8.2.           Grand Prairie Amortization                                                                                                                                   $125,548.42




                 8.3.           Castle Pines Bond                                                                                                                                                 $3,050.00




                 8.4.           Castle Pines rent                                                                                                                                                 $2,474.19




                 8.5.           Castle Pines Supplies                                                                                                                                             $1,451.39




                 8.6.           Oakland          Park rent                                                                                                                                        $2,514.51




                 8.7.           Auburndale                                                                                                                                                              $65.40




                 8.8.           Blue Cross Blue Shield                         (Manufacturing Division)                                                                                          $25,100.00




                 8.9.           Mike Arnold              (Manufacturing Division)                                                                                                                $19,000.00




 9.              Total of Part              2-                                                                                                                                           $199,603.91
                 Add lines         7   through      8.   Copy          the total   to   line 81.


                         Accounts receivable
10. Does the             debtor have any accounts receivable?

       O No.       Go     to    Part   4.


       E   Yes    Fill   in     the information            below.

 11.             Accounts receivable
                 11a. 90 days               old or less:                                 1,790,694.68    -
                                                                                                                                               9,100.00      =
                                                                                                                                                                 ....                     $1,781,594.68
                                                                   face     amount                             doubtful or uncollectible       accounts




                 11a. 90 days               old or less:                                 2,304,092.24    -
                                                                                                                                                   0.00      =
                                                                                                                                                                 ....                     $2,304,092.24
                                                                   face     amount                             doubtful   or   uncollectible   accounts




Official Form 206A/B                                                                     Schedule A/B Assets   -
                                                                                                                   Real and Personal Property                                                           page     2


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                                                 Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 4 of 52

  Debtor                      XtraLight Manufacturing, Ltd.                                                                                                           Case number   (Ifknown)   18-31857-Hi-11
                              Name



  12.              Total of Part                       3.                                                                                                                                                                    $4,085,686.92
                   Current value                           on   lines     11a    +    11b    =
                                                                                                  line 12.        Copy   the total    to   line 82.


                              Investments
 13. Does the                 debtor own                        any     investments?

        O No.           Go      to        Part   5.


        E   Yes        Fill    in        the information                  below.

                                                                                                                                                                            Valuation method used                Current value of
                                                                                                                                                                            for current value                    debtor's interest

  14.              Mutual funds or publicly traded                                               stocks      not included        in   Part    1




                   Name of fund or stock:


                   14.1.                 Fidelity Investment Account xxxx4062                                                 (as of 3/31/2018)                                                                                       $217,953.00




  15.             Non-publicly traded stock and interests                                                    in    incorporated and unincorporated businesses, including                        any   interest      in       an    LLC,
                  partnership, or joint venture
                  Name of entity:                                                                                                                     %   of ownership


 16.              Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included                                                                                   in   Part        1




                  Describe:


 17.              Total of Part                       4.                                                                                                                                                                          $217,953.00
                  Add lines 14 through 16. Copy the total to line 83.

                              Inventory, excluding agriculture assets
18. Does the                   debtor own any inventory (excluding agriculture assets)?

        O No.          Go      to        Part    6.


        E   Yes        Fill   in         the information                  below.

                  General                  description                                           Date of the last                          Net book value        of         Valuation method used                Current value of
                                                                                                 physical inventory                        debtor's interest                for current value                    debtor's interest
                                                                                                                                           (Where available)

 19.              Raw materials
                  Raw materials                                                                                                                                  $0.00                                                             $2,135,217.00



 20.              Work              in     progress
                  Work               in     progress                                             1/2/2018                                                        $0.00                                                                    $30,657.00



 21.              Finished goods, including goods held for resale
                  Finished Goods                                                                                                                                 $0.00                                                               $210,239.00



 22.              Other inventory or supplies


 23.              Total of Part                       5.                                                                                                                                                                     $2,376,113.00
                  Add lines 19 through 22.                                  Copy           the total to line 84.


 24.              Is    any          of the property                      listed      in    Part    5   perishable?
                  E       No
                  O Yes


Official Form 206A/B                                                                                      Schedule A/B Assets                     -
                                                                                                                                                      Real and Personal Property                                                                 page    3


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                                              Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 5 of 52

  Debtor                  XtraLight Manufacturing, Ltd.                                                                                            Case number   (Ifknown)   18-31857-H1-11
                          Name


  25.             Has any            of the property                    listed       in   Part   5    been purchased   within       20 days before    the bankruptcy was filed?
                  E       No
                  O Yes. Book value                                                                       Valuation method                                    Current Value

  26.             Has any            of the            property listed               in   Part   5    been appraised by    a   professional within the last year?
                  E       No
                  O Yes

                          Farming and fishing-related assets (other than titled motor vehicles and land)
 27. Does the             debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        E   No.      Go to Part               7.

        O Yes      Fill     in    the information                 below.



                          Office furniture, fixtures,                           and equipment; and collectibles
38. Does the              debtor own or lease                           any     office furniture, fixtures,        equipment, or collectibles?

        O No.      Go        to    Part       8.


        E   Yes    Fill     in    the information                 below.

                  General           description                                                                           Net book value      of         Valuation method used         Current value of
                                                                                                                        debtor's interest                for current value             debtor's interest
                                                                                                                        (Where available)

 39.              Office furniture
                  Computers See Fixed Asset Schedule
                                                   -




                  attached as Exhibit B39.
                  Manufacturing Division $2,467
                  UMS Division $2,088                                                                                                   $4,555.00                                                     $4,555.00



                  Furniture & Fixtures See Fixed Asset              -




                  Schedule attached as Exhibit B39.
                  Manufacturing Division: $24,866
                  UMS Division: $14,777                                                                                                $39,643.00                                                    $39,643.00




 40.              Office fixtures
                  Leasehold                    Improvements                      -
                                                                                     See Fixed          Asset
                  Schedule attached as Exhibit                                          B39.
                  Manufacturing Division                                                                                              $147,118.00                                                $147,118.00




 41.            Office equipment, including all computer equipment and
                communication systems equipment and software
                Software See Fixed Asset Schedule attached
                                          -




                as        Exhibit             B39.
                  Manufacturing Division: $23,345
                  UMS Division: $45,756                                                                                                $69,101.00                                                    $69,101.00



                Trimble              Units -See Fixed Asset Schedule
                attached as Exhibit                               B39.
                UMS Division                                                                                                         $244,727.00                                                $244,727.00




 42.            Collectibles Examples: Antiques    and figurines; paintings, prints, or other artwork;
              books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
              collections; other collections, memorabilia, or collectibles


Official Form 206A/B                                                                                 Schedule A/B Assets        -
                                                                                                                                    Real and Personal Property                                              page    4


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XLM Fixed Asset Register                                                                                                           EXHIBIT

                                           Today'sDale:     4/11/2018                                                                                                                                                                            2016             2016                                                          2018

                                                                                                                                                                                                                                           Acc     Depr                            2017    Acc   Dep    2017 NBV                  Jan            Feb                              Mar




                                                                                                                                                                          Asset                                               Fully
                                                                                                                                                                                                                          Deprec
             Category           Description               Date Acquired                                                 Asset       Description                                        Cost          State        Sold




Computers                                                   12/31/2006            Server-ExchangeScrver/Email                                                               3           3,200.00    Texas         No     12/30/2009              (3,200.00)   )                            (3,200.00)
Computers                                                    11/2/2007            DellScrver                                                                                3          4,170.85     Texas                                                                   -
                                                                                                                                                                                                                  No      11/1/2010              (4,170.85)                                (4,170.85)
Computers                                                    11/2/2007            DellServer                                                                                3           3,473.39    Texas                                                                   -
                                                                                                                                                                                                                  No      11/1/2010              (3,473.39)                                (3,473.39)
Computers                                                   6/26/2008             HPcolorLascrJet5550DTNPrinterU                                                            S          4,453,81     Texas                6/25/2013                                          -
                                                                                                                                                                                                                  No                             (4,453.81)                                (4,453.81)
Computers                                                    1/27/2011            TouchLCDScreen(FusionPagelnteractive)                                                     3          5,000.00     Texas         No      1/26/2014              (5,000.00)                0.00            (5,000.00)               0.00
Computers                                                   6/l4/20Il             DelIHardwarcPowerVaultMD3200i                                                             5          9,800.95     Texas         No     6/12/2016               (9,800.94)                0.01            (9,800.94)               0.01                                 (0.01)
Computers                                                   6/15/2011             Fusionecring-TouchScreen                                                                  5          9,400.00     Texas         No     6/\3/2016               (9,400.00)                0.00                                     0.00
                                                                                                                                                                                                                                                                                           (9,400.00)
Computers                                                   9/26/2011             VideoConference                                                                           5           3,452.34    Texas         No     9/24/2016               (3,452.34)                0.00                                     0.00
                                                                                                                                                                                                                                                                                           (3,452.34)
Computers                                                   10/27/2011            NetgearSwitches                                                                           5           1,916.43    Texas         No     10/25/2016              (1,916.44)               (0.01)           (1,916.44)              (0.01)                                          0.01
Computers                                                   11/17/201]            2DELLHardwarePowerEdgcR610($3,605)                                                        5           7,210.00    Texas         No     11/15/2016              (7,210.00)               (0.00)           (7,210.00)              (0.00)
Computers                                                   12/30/2011            XEROX            Printer                                                                  5           2,569.91    Texas         No     12/28/2016              (2,569.91)                0.00            (2,569.91)               0.00
Computers                                                   2/29/2012             Bob       McNeill        AMEX                                                             5           5,303.00    Texas         No     2/27/2017               (5,131.05)              171.95            (5,303.00)
Computers                                                   3/23/2012             AlarmSysLcm                                                                               5           2,154.00    Texas         No     3/22/2017               (2.057.02)               96.98            (2,\54.00)
Computers                                                   4/24/2012             MiniPCforTransparentScreen;Workstation#004                                                3           5,530.00    Texas         No     4/24/2015               (5,530.00)               (0,00)           (5,530.00)              (0.00)
Computers                                                   2/11/1013             SecurcVigil(NetworkCameras)                                                               3           6,728.27    Texas         No      2/11/2016              (6.728.27)               (0.00)           (6,728.27)              (0.00)
Computers                                                   10/25/20        13    Video Conference                 from      Cay    Capital                                 3           2,028.87    Texas         No     10/24/2016              (2,028.87)               (0.00)           (2,028.87)              (0.00)
Computers                                                   10/31/2013            AnajetPrinter-GarmentPrinter                                                              3         25,545.00    Arkansas       No     10/30/2016          (25,545.00)                   0.00           (25,545.00)               0.00
Computers                                                   11/26/2013            CrestronElectronicsinv#95391213/1214(BldgAutomatior                                       3         25,255.00     Texas         No     11/25/2016          (25,255.00)                  (0.00)          (25,255,00)              (0.00)
Computers                                                   5/17/2011             SonyLaptop,Jerry                                                                          5           3,749.95   Arkansas       No      5/15/2016              (3,749.95)               (0.00)           (3,749.95)              (0.00)
Computers                                                   8/29/2014             Spextronic(ITquipmentforhotspringhouse)                                                   3          12,002.51   Arkansas       No      8/28/2017              (8,096.93)          3,905,58             (12,002.51)               0.00
Computers                                                    10/6/2015            CrcstronDM-MD8X8                                                                          3          14,103.00    Texas         No      10/5/2018              (6,\51.31)          7,951.69             (10,852.31)        3,250.69       (391,75)                   (391.75)
                                                                                                                                                                                                                                                                                                                                            (39175)
Computers                                                        8/1/2014         SpextronicDestinofTicelTequipment                                                         3         73.257.71     Florida       No      7/31/2017          (56,978.22)           16.279.49              (73,257.71)

Subtotal     Computers                                                                                                                                                               230,304.99                                            (201,899.31)            28,405.68                                                (391.75)        (391.75)   (391.75)
Total   Computers-Sold
Adjustment         to   Global      Shop
Total   Written         Off
Total   Computers                                                                                                                                                                    230.304.99                                            (201,899.31)            28.405.68                                                (391.75)        (391.75)   (391.75)
                                                                                                                                                                                  AgreesGL1261



Computer                                                     I                    VM        Warc                                                                                                                                                                            -
                 Software                                         1/2/2007                          Software                                                                3           4,499.95    Texas     .   No      I   1/1/2010           (4,499.95)                                (4,499.95)
Computer         Soflavare                                  2/10/2011             Consulting          &     Development             Scrvices (FusionPage   lnteractive)     3          10,000.00    Texas         No          2/9/2014       (10,000.00)                   0.00           (10,000.00)               0.00
ComputerSolhvare                                            2/10/201]             MicrosoftSoftware(PCPCDirect,Inc)                                                         3          15,512.00    Texas         No          2/9/2014       (15,512.00)                  (0.00)          (15,512.00)              (0,00)
ComputerSoftware                                            8/18/2011             ADOBEPDF                                                                                  3           4,139.00    Texas         No      8/17/2014              (4,139.00)                0.00            (4.139.00)               0.00
ComputerSoftware                                            8/18/2011             ADOBEMasterCollection                                                                     3           2,278.22                          8/17/2014                                         -
                                                                                                                                                                                                    Texas         No                             (2,278.22)                                (2,278.22)
ComputerSoftware                                                 9/1/2011         PCPCDirect,Inc                                                                                                                                                                            -
                                                                                                                                                                            3           1,680.00    Texas         No      8/31/2014              (1,680.00)                                (1,680.00)
ComputerSoftware                                            10/28/2011            GlobalShopLicenses                                                                        3           3,459.00    Texas         No     10/27/2014              (3,459.00)               (0.00)           (3,459.00)              (0.00)
CompulcrSoftware                                            10/28/20\l            PCPCDirect,Inc                        .                                                   3           4,709.00    Texas         No     10/27/2014              (4,709.00)                0.00            (4,709.00)               0.00
Computer         Software                                   12/30/20         11   Consulting,             Design    &       Development                                     3
                                                                                                                                              Services                                  6,000.00    Texas         No     12/29/20     14         (6.000.00)                0.00            (6,000.00)               0.00
ComputerSoftware                                            4/11/2012             GlobalShopSolutions                                                                       3           2,484.00    Texas         No      4/11/2015              (2,484.00)               (0.00)           (2,484.00)              (0.00)
CompulcrSoftware                                            5/25/2012             PCPCDirect,Inc                                                                            3           4,768.00    Texas         No      5/25/2015              (4,768,00)                0.00            (4,768.00)               0.00
CompulcrSollware                                            11/14/2012            GoEngineer                                                                                3           4,944.00    Texas         No     11/14/2015              (4,944.00)                0.00            (4,944.00)               0.00
ComputerSoftware                                             12/6/2012            GoEngineer                                                                                3           1,950.00    Texas         No      12/6/2015              (1,950.00)                0.00            (1,950.00)               0.00
ComputerSollware                                            4/30/2017             SolidworksPRO/FLOW                                                                        3         32,322,50     Texas         No      4/29/2020                                                        (7,182.78)       25,139.72       (897.85)        (897.85)   (897.85)



Subtotal     Computer            Software                                                                                                                                             98,745.67                                              (66,423.16)           32,322.50                                                (897.85)    .
                                                                                                                                                                                                                                                                                                                                            (897.85)   (897.35)
Total   Computer              Software-Sold
Adjustment         to   Global      Shop
Total   Written         Off
Torni
                                                                                                                                                                                                                                                                                                                                                         Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 6 of 52




        Computer          Software                                                                                                                                                     98.745.67                                             (66,423.16)           32,322.50                                                (897.85)        (897.85)   (897.85)
                                                                                                                                                                                  INrersGL12/3I


Furniture&Fixturcs                                          4/15/2003             SECURITYSYSTEM                                                                            7           3,737.00    Texas         No      4/13/2010              (3,737,00)                                (3,737.00)
                                                                                                               -
Furniture    &     Fixtures                                      8/9/2008         5   ton    AC    System          Model        #   Y4ANB06000                              7           9,998.79    Texas         No          8/8/2015           (9,998.79)                                (9,998.79)              (0.00)
Furniture&Fixtures                                          2/22/2011             Conferencetable                                                                           7           2,197,48    Texas         No      2/20/2018              (1,838.28)              359.20            (2,152.21)              45.27     (26.16)         (19.11)
Fumiture&Fixtures                                                4/1/2011         DisplayBanner                                                                             7           5,675.00    Texas         No      3/30/2018              (4,664.03)          1,010.97              (5,474.74)          200.26        (67.56)         (67.56)    (65.14)
Furniture&Fixtures                                          11/12/20!4            RemodelMercedesBenzpackagc(gulfcoastconversions)                                          7         21,517.29     Texas         No     11/10/2021              (6,403.99)         15,113.30              (9,477.89)       12,039.40       (256.16)        (256.16)   (256.16)
Fumiture&Fixtures                                           2/12/2015             Custombuildoutofvan(coastconversionsinvoice#2029)                                         7          16.995.60    Texas         No      2/10/2022              (4,451.23)         12,544.37              (6,879.17)       10,116.43       (202,33)        (202.33)   (202,33)
                                                                                                                                                                             Asset                                                         Fully

                Category          Description   Date Acquired                                                     Asset Description                                                                                                      Deprec
                                                                                                                                                                                                           Cost         State    Sold
Total    Furniture           &    Fixtures                                                                                                                                                                60,121.16                                                  -
                                                                                                                                                                                                                                                                            60,121.16
Less    Total        Furnitures       Sold
Adjustment            to   Global     Shop
Total    Written           Off
Net Furnitures              and    Fixtures                                                                                                                                                               60.121.16                                         (31,093.33)     29,027.84                                                  (552.21)      (545.16)     (523.63)
                                                                                                                                                                                                 Agrees    GL12/31



Machinew&Equipment                                12/31/1996                                                                                                                       7         F                                                                                            -
                                                                        DOWNRACEWAYDIE(Vico)                                                                                                                7,290.00   Texas    No      12/30/2003            (7,290.00)                              (7,290.00)
Machinery        &     Equipment                   1/31/1997            CHI MODEL                                                                                                  7         F             2,400.00    Texas                                                              -
                                                                                                                                                                                                                                No       1/30/2004            (2,400.00)                              (2,400.00)
Machinery        &     Equipment                  4/30/1997             STEEL       PALLET                     RACKS                                                               7     \V                6,890.00    Texas    No       4/28/2004                                        -
                                                                                                                                                                                                                                                              (6,890.00)                              (6,890.00)
Machinery        &     Equipment                   9/4/1997             30X24-38X24                  WIDE             CONVEYOR                                                     7     A                 3,400.00    Texas                                                              -
                                                                                                                                                                                                                                No        9/2/2004            (3,400.00)                              (3,400.00)
Machinery        &     Equipment                  3/27/1998             AMADA            8'-     I
                                                                                                                                                                                   7         F            82,300.00    Texas                                                              -
                                                                                                                                                                                                                                No       3/25/2005          (82,300.00)                             (82,300.00)
Machinely&Equipment                                8/3/1998             PROGRESSIVEDIE(Vico)                                                                                       7         F             3,500.00    Texas    No        8/1/2005                                        -
                                                                                                                                                                                                                                                              (3,500.00)                              (3,500.00)
Machinery        &     Equipment                  8/13/1998             WELDING   MACHINE                                                                                          7         F             2,875.00    Texas    No       8/I1/2005                                        -
                                                                                                                                                                                                                                                              (2,875.00)                              (2,875.00)
Machinew&Equipment                                8/31/2000             RoussellcPress                                                                                            7          F            66,266.00                                                                   -
                                                                                                                                                                                                                       Texas    No       8/30/2007          (66,266.00)                             (66,266.00)
Machinew&Equipment                                1/19/2001             FHBDic                                                                                                    7          F            11,500.00    Texas             1/18/2003                                    -
                                                                                                                                                                                                                                No                          (11,500.00)                             (11,500,00)
Machinery&Equipment                               2/12/2001             CameraPowerSupply                                                                                          7         ?             3,414.00    Tcxas    No       2/11/2008            (3,414.00)                  -
                                                                                                                                                                                                                                                                                                      (3,414.00)
Machinery        &     Equipment                  3/19/2002             Pallet Wrap Machine                                                                                        7     W                 7,400.00    Texas    No       3/17/2009                                    -
                                                                                                                                                                                                                                                              (7,400.00)                              (7,400.00)
Machinew         &     Equipment                  10/21/2002            Amada       8'-2       Hydraulic               Press        Brake     I                                   7          F            52,200.00    Texas    No      10/19/2009          (52,200.00)               -
                                                                                                                                                                                                                                                                                                    (52,200.00)
Machinew&Equipment                                12/31/2003            AMADAPRESSBRAKES4'-!                                                                                      7          F            32,400.00                                                                   -
                                                                                                                                                                                                                       Texas    No      12/29/2010          (32,400.00)                             (32,400.00)
Machinery        &     Equipment                   8/4/2005             Portable        Building               (#390        &     391)                                            5          ?             3,400.00                                                                   -
                                                                                                                                                                                                                       Texas    No        8/3/20     10       (3,400.00)                              (3,400.00)
Machinery&Equipment                                9/1/2005             Baler                                                                                                  5         A                11,350.00                                                                   -
                                                                                                                                                                                                                       Texas    No       8/31/2010          (11,350.00)                             (11,350.00)
Machinew&Equipment                                9/20/2001             CenterEndDic                                                                                              7          F             7,816.00                                                                   -
                                                                                                                                                                                                                       Texas    No       9/18/2003            (7,816.00)                              (7,816.00)
Machinery        &     Equipment                  4/30/2001             Warchouse          Racks                                                                                  7      W                 8,121.00    Texas    No       4/28/2003                                    -
                                                                                                                                                                                                                                                              (8,12LDO)                               (8,121.00)
Machinew&Equipment                                7/11/2002             FHBDic                                                                                                    7          F             3,000.00    Texas    No        7/9/2009                                    -
                                                                                                                                                                                                                                                              (3,000.00)                              (3,000,00)
Machinery        &     Equipment                  12/30/2002            Center     End     Die           (at    Vico)                                                             7          F             5,575.00    Texas    No      12/28/2009                                    -
                                                                                                                                                                                                                                                              (5,575.00)                              (5,575.00)
Machinciv        &     Equipment                  9/18/2007             Baileigh        SR-5016                Slip    Roll                                                       7          F             4,785.00                      9/16/2014
                                                                                                                                                                                                                       Texas    No                            (4,785.00)          0.00                (4,785.00)             0.00
Machinery&Equipment                               I1/13/2008            ToyotaForklift                                                                                            7          F            33,026.29    Tcxas    No      I1/12/2015          (33,026.29)           000               (33,026.29)              0.00
Machinerv&Equipment                               12/1/2008             BigAssFans                                                                                             7         A                14,597.52    Texas            11/30/2015
                                                                                                                                                                                                                                No                          (14,597.52)          (0.00)             (14,597.52)             (0.00)
Machinery&Equipment                               12/2/2008             Aircompressor                                                                                          7        F/A               28,656.81    Texas             12/1/20l5
                                                                                                                                                                                                                                No                          (28,656.81)           0.00              (28,656,81)              0.00
Machinery&Equipment                               12/15/2008            Cincinnatiprofomipress                                                                                    7          F        102,500.00       Texas            12/14/2015         (102,500.00)
                                                                                                                                                                                                                                No                                                0.00             (102,500.00)              0.00
Machinery&Equipment                               12/15/2008            CincinnatiFormPress                                                                                       7          F        102,500.00       Texas            12/14/2015
                                                                                                                                                                                                                                No                         (102,500.00)           0.00             (102,500.00)              0.00
Machinery        &     Equipment                   3/5/2009             Four    Fool Angle                 Brackets                                                               5          F             5,680.00    Texas    No        3/4/2014            (5,680.00)          0           00      (5,680.00)             0.00
Machinery&Equipment                               4/30/2009             PROGRESSIVEDIE(Vico)                                                                                      7          F            16,500.00    Texas             4/28/2016          (16,500.00)
                                                                                                                                                                                                                                No                                                000               (16,500,00)              0.00
Machinery&Equipment                               4/30/2009             FHBDic                                                                                                     7         F            29,000.00    Texas             4/28/2016
                                                                                                                                                                                                                                No                          (28,999.99)           00I               (29,000.00)             (0.00)
Machinery&Equipment                               8/16/2010             ToyotaForklift                                                                                         5         F                20,065.16    Texas    No       8/15/2015          (20,065.16)          (000)              (20,065.16)             (0.00)
Machinery&Equipment                               8/\6/2010             SheildMagnclics                                                                                           7          ?             4,375.00    Texas             8/14/2017
                                                                                                                                                                                                                                No                           (3,985.98)        38902                  (4,376.01)            (1.01)         101
Machinery&Equipment                               9/22/2010             ExeclStamping                                                                                             7          F            16,450.00    Texas    No       9/20/2017          (14,749.17)      1,70083                (16,450.00)              0.00
Machinery&Equipment                               1/27/2011             WeldingBooth                                                                                              7          F            10,054.00    Texas    No       1/25/2018           (8,514.74)      1,53926                  (9,951.03)           102.97      (102.97)
Machinery&EquipmenL                               4/21/2011             TelephoneSystems                                                                                          7    F/A/W              26,7]\.00    Texas    No       4/19/2018          (21,743.44)      4,96756                (25,559.29)          1,151.71      (31799)       (317.99)     (317.99)
Machinery&Equipment                                6/9/2011             TDKPowerSupply                                                                                         7             ?             1,330.00    Texas    No        6/7/2018           (1,060.70)        26930                  (1,250,70)            79.30       (15.83)       (15.83)      (15.83)
Machinery        &     Equipment                  6/30/2011             Excel Stamping                                                                                            7          F            15,401.00    Texas    No       6/28/2018          (12,114.90)      3,286            10                         1,085.96
                                                                                                                                                                                                                                                                                                    (14,315.04)                        (183.35)      (183.35)     (183.35)
Machinery&Equipment                               8/29/2011             GracoThermOFlow                                                                                                                                                                                                                            '
                                                                                                                                                                               7         A                26,180.00    Texas    No       8/27/20\8          (19,979.15)      6,20085                (23,719.15)         2,460.85       (311.67)      (311.67)     (311.67)
Machinery&Equipment                               10/25/20\!StretchMachine                                                                                                     7         W                14,990.00TexasNo10/23/2018(11,105.09)                              3,884.91               (13,246.52)          1,743.48      (178.45)      (178.45)     (178.45)
Machinery&Equipment                               11/8/2011             ToyotaForklifl                                                                                         7         F                31,182.00    Texas    No       11/6/2018          (22,929,81)      8,252.19               (27,384.38)         3,797.62       (371.21)      (371.21)     (371.21)
Machinery&Equipment                               11/8/2011             TitalCNCRoller                                                                                         7         F            102,500.00       Texas             11/6/2018
                                                                                                                                                                                                                                No                          (75,373,96)    27,126.04                (90,016.82)        12,483.18     (1,220.24)    (1,220.24)   (1,220.24)
Machinery&Equipment                               11/8/201]             PncumaticCutterandStripper                                                                             7         A                12,257.00    Texas    No       11/6/2018           (9,013.29)      3,243.71               (10,764.29)          1,492.71      (145.92)      (145.92)     (145.92)
Machinery&Equipment                               12/1/2011             CincinattiShear                                                                                        7         F            116,000.00       Texas    No      11/29/2018                         31,743.01
                                                                                                                                                                                                                                                            (84,256.99)                            (100,828.42)        15,171.58     (1,380.95)    (1,380.95)   (1,380.95)
Machinery&Equipment                               12/19/2011            Trumpf3000                                                                                             7         F           356,900.00        Texas    No      12/17/2018        (256,721.22)     100,178.78              (307,706.94)        49,193.06     (4,248.81)    (4,248.81)   (4,248.81)
Machinery&Equipment                               12/19/2011            Trumpf3000                                                                                             7         F           346,500.00        Texas    No      12/17/2018        .(249,240,41)    97,259.59               (298,740.41)        47,759.59     (4,125.00)    (4,125.00)   (4,125.00)
Machinery&Equipment                               12/19/2011            TrumlifTooling                                                                                         7         F                37,744.00    Tcxas    No      12/17/2018          (27,149.55)     10,594.45               (32,541.55)         5,202.45       (449.33)      (449.33)     (449.33)
Machinery        &     Equipment                  12/20/2011            Boldt Security               System                                                                    7             ?            26,832.00    Tcxas    No      12/18/2018          (19,290.00)      7,542.00               (23,123.14)         3,708.86       (319.43)      (319.43)     (319.43)
Machinery&Equipment                               12/30/2011            HVAC(WayServices)FinalRemittanceonO4/30/20ll                                                           7       F/A/W              83,292.53    Texas    No      12/28/2018          (59,554.45)    23,738.08                (71,453.39)        11,839.14       (991.58)      (991,58)     (991.58)
Machinery&Equipment                               12/30/2011            CincinnattiFillerBlock                                                                                 7         F                22,580.00    Texas    No      12/28/2018          (16,144.78)      6,435..22              (19,370.49)         3,209.51       (268.81)      (268.81)     (268.81)
Machinery&Equipment                               1/24/2012             MetalFinish(Freighl)                                                                                   7             ?             2,199.00    Texas    No       1/22/2019           (1,550.79)        648.21                 (1,864.93)          334.07        (26.18)       (26.18)      (26.18)
Machinery&Equipment                               2/29/2012             Trumpf,1nc                                                                                                7          F              1,820,00   Texas    No       2/27/2019            (1,257.89)       562.11                 (1,517.89)          302.11         (21.67)      (21.67)      (21.67)
Machinery&Equipment                               4/30/2012             HVAC(WayServices)Fina1Remittance                                                                       7       F/A/W               9,254.73    Texas    No       4/29/2019           (6,175.30)      3,079.43                 (7,497.40)        1,757.33       (110.18)      (110,l8)     (110.18)
Machinely&Equipment                               5/10/2012             AMEX-PhotoLabs                                                                                         7             ?             9,520.00    Texas    No        5/9/2019           (6,314.96)      3,205.04                 (7,674.96)        1,845.04       (113.33)      (113.33)     (113.33)
                                                                                                     -
Machinery        &     Equipment                  5/16/2012             Welding         Booth              5000       Scrics         (Avani       Environmental)               7         F                 5,735,41    Texas    No       5/15/2019           (3,791.07)      1,944.34                 (4,610.41)        1,125.00        (68.28)       (68.28)      (68.28)
Machinery        &     Equipment                  6/12/2012         .   Newark/Elementl4                                                                                       7             ?             3,145.00    Texas    No       6/11/2019           (2,045.58)      1,099.42                 (2,494.86)          650.14        (37.44)       (37.44)      (37.44)
Machinery&Equipment                               7/13/20\2             DataVox                                                                                                7             ?             2,315.00    Texas    No       7/12/2019                             837.35
                                                                                                                                                                                                                                                             (1,477.65)                               (1,808.36)          506.64        (27.56)       (27.56)      (27.56)
Machincy         &     Equipment                  8/29/20      12       Back     door     latche           bar    &     4       adjustable    feet   (Avani   Environmente     7         F                 6,300.00    Texas    No       8/28/2019           (3,905.34)      2,394.66                 (4,805.34)        1,494.66        (75.00)       (75.00)      (75.00)
                                                                                                                                                                                                                                                                                                                                                                     Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 7 of 52




Machinew&Equipment                                11/6/2012             Camera(SecuroVigil)50%(Whercistheremaining50%)                                                         7             ?             5,618.72    Texas    No       11/5/2019           (3,331.29)      2,287.43                 (4,133.96)        1.484.76        (66.89)       (66.89)      (66.89)
Machinerv&Equipment                              11/14/2012             AvaniEnvironmental                                                                                     7         F                 4,793.00    Texas    No      11/13/2019           (2,826.72)      1,966.28                (3,5]\.43)         1,281.57        (57.06)       (57.06)      (57.06)
Machinery        &     Equipment                 12/\0/2012             SunBelt     Stud Welding,                      lne                                                    7          F                 2,721.00    Texas    No       12/9/2019           (1,577.02)      1,143.98                (1,965.73)           755.27        (32.39)       (32.39)      (32.39)
Machinely&Equipment                              12/17/2012             Trumpf                                                                                                7          F                 1,407.00    Texas    No      12/16/2019             (811.62)        595.38                (1,012.62)           394.38        (16.75)       (16.75)      (16.75)
Machinery        &     Equipment                  10/25/2013            Conncclor         from LedLinX                                                                         6       BEN                 9,425.00    CAL      No      10/24/2019                           4,424.90
                                                                                                                                                                                                                                                             (5,000.10)                              (6,570.93)         2,854.07       (130,90)      (130.90)     (130.90)
Machinery&Equipment                               10/25/20l3            ConnectorfromLedLinX                                                                                   6       BEN                 9,963.57    CAL      No      10/24/2019                           4,677.75
                                                                                                                                                                                                                                                             (5,285.82)                              (6,946.41)         3,017.16       (138.38)      (138.38)     (138.38)
Machinery&Equipment                               10/\0/20l4            TitanwithCrowningBar(frommetallinishivoice#l4-10-10-1                                                  7         F                30,000.00    Texas    No       10/8/2021           (9,285.71)    20,714.29                (13,571.43)        16,428.57       (357.14)      (357.14)     (357.14)
Machinely&Equipment                               12/30/2014            TitanwithCrowningBar(frommetalfinishinvoicc#l4-12-30                                                   7         F                12,100.00    Texas    No      12/28/2021           (3,457.14)      8,64186                 (5,185.71)         6,914.29       (144.05)      (144,05)     (144,05)
Machinery        &     Equipment                 12/18/2014             Mental     Finish invoicc#14-12-16-14                                                                  7             ?            57,900.00    Texas    No      12/16/2021          (16,875.00)    41.025.00                (25,146.43)        32,753.57       (689.29)      (689.29)     (689.29)
                                                                                                                                                                                                               Asset                                                                       Fully
                                                                                                                                                                                                                                                                                          Deprec
               Category                 Description                        Date Acquired                                                       Asset Description                                                                            Cost                  State           Sold

Machinery&Equipment                                                             12/22/2014                ToyotaForkliftservice                                                                                  7            F                   250.00          Texas                                             (71.43)          178.57           (107.14)
                                                                                                                                                                                                                                                                                  No     12/20/202]                                                                       142.86          (2.98)             (2.98)             (2.98)
Machinery&Equ¡pment                                                             12/31/2014                LargcTablcSaw                                                                                          7            F              5,185.09             Texas                  12/29/2021             (1,481.45)         3,703,64
                                                                                                                                                                                                                                                                                  No                                                                (2,222.18)          2,962.91        (6L73)             (61.73)            (6L73)
Machinery&Equipment                                                             1/27/2015                 Transfomier-forrollcrsandinstallnewA/Cmaterialandlabor                                                 7            F              8,740,00             Texas                   1/25/2022             (2,809.29)         5,930.71
                                                                                                                                                                                                                                                                                  No                                                                (4,057.86)          4,682.14       (104.05)           (104.05)           (104.05)
Machinery&Equipment                                                              6/3/2015                 FinalhighTypcViens                                                                                     7           BEN             7,590,50                                      6/1/2022             (1,626.52)         5,963.98
                                                                                                                                                                                                                                                            Outofstate            No                                                                (2,7\0.87)          4,879.63        (90.36)            (90.36)            (90.36)
Machinery&Equipment                                                             7/10/2015                 Toolingviento                                                                                          7           BEN            41,374.50             China           No       7/8/2022             (8,373.39)       33,001.11         (14,284.03)
                                                       ,                                                                                                                                                                                                                                                                                                               27,090.47       (492.55)           (492.55)           (492.55)
Machinery&Equipment                                                             8/25/2015                 ToolingVibroMedVersionHousing                                                                          7           BEN            33,500.00             China           No      8/23/2022             (5,982.14)       27,517.86         (10,767.86)         22,732,14       (398.81)           (398.81)           (398.81)
Machinery       &    Equipment                                                  9/15/2015                 Finalhigh          Type     V3     Iens                                                                7           BEN             7,455.00       Out     of    state   No      9/13/2022             (1,331.25)         6,123.75         (2,396.25)          5,058.75        (88.75)            (88.75)            (88.75)
Machinery&Equipment                                                             9/30/2015                 AisIcLensArray                                                                                         7           BEN             8,715.00       Outofstate            No      9/28/2022             (1,556.25)         7,158.75         (2,801.25)          5,913.75       (103.75)           (103.75)           (103.75)
Machinery       &    Equipment                                                  10/16/2015                Canopy           Lens                                                                                  7           BEN             6,923.08             China           No     10/14/2022             (1,153.85)         5,769.23         (2,142.86)          4,780.22        (82.42)            (82.42)            (82.42)
Machinery&Equipment                                                             11/25/2015                ToolingVientolargeversion                                                                              7           BEN            43,625.50             China           No     11/23/2022             (6,751.57)       36,873.93                             30,641.72
                                                                                                                                                                                                                                                                                                                                                   (12,983.78)                         (519.35)           (519.35)           (519.35)
Machincy        &    Equipment                                                  2/25/2016                 Tooling          for    hardware      and     siliconc      gasketing       for   viento   fixture     7                           5,930.00             China           No      2/23/2023                (705.95)        5,224.05         (1,553.10)          4,376.90        (70.60)            (70.60)            (70.60)
Machinery&Equipment                                                             2/29/2016                 Toolingforslipfltterforviento                                                                          7                          11,250.00             China           No      2/27/2023             (1,339.29)         9,910.71         (2,946.43)          8,303.57       (133.93)           (133.93)           (133.93)
Machinery&Equipment                                                              3/2/2016                 VientoReviseddoortooling                                                                               7                           8,300.00             China           No       3/1/2023                (889.29)        7,410.71         (2,075.00)          6,225.00        (98.81)            (98.81)            (98.81)
Machinery&Equipment                                                             3/31/2016                 DepositeforopticsouthecilysaverstrecLlight                                                             7                          17,000.00             China           No      3/30/2023             (1,821.43)        15,178.57                            12,750.00       (202.38)
                                                                                                                                                                                                                                                                                                                                                    (4,250.00)                                            (202.38)           (202.38)
Machinery       &    Equipment                                                   4/5/2016                 Xtralighl         Tool Mod(Fracn               invoicc#       310280)                                  7                           2,180.00             China           No       4/4/2023                (207.62)        !,972.38                             1,660.95
                                                                                                                                                                                                                                                                                                                                                      (519.05)                          (25.95)            (25.95)            (25.95)
Machinery       &    Equipment                                                   4/5/2016                 Xtralight          32    Chip array(fraen                                                              7                                                                                                                             I
                                                                                                                                                             invoicc#310558)                                                                30,862.50             China           No       4/4/2023             (2,939.29)       27,923.2           (7,348.2     l)    23,514.29       (367.4     I)      (367.4     I)      (367.4                                I)




Machinerv       &    Equipment                                                   4/5/2016                 Xtralight         Modify         tool(fracn      invoicc#307756)                                       7                           3,900,00             China           No       4/4/2023                (371.43)        3,528.57           (928.57)          2,971.43        (46.43)            (46.43)            (46.43)
Machinery&Equipment                                                              4/5/2016                 Xtralight32Chiparray(fraeninvoicc#307457)                                                              7                          30,862.50             China           No       4/4/2023             (2,939.29)       27,923.21          (7,348.2I)         23,514.29                          (367.4I)
                                                                                                                                                                                                                                                                                                                                                                                       (367.41)                              (367.4I)
Machinery        &   Equipment                                                   4/5/2016                 32    Chip       array    tooling(fraen          invoicc#304340)                                       7                          16,975.00             China           No       4/4/2023             (1,616.67)        15,358.33         (4,041.67)         12,933.33       (202.08)           (202.08)           (202.08)
Machinery&Equipment                                                              5/5/2016                 Toolingforslipfitterforviento                                                                          7                          11,250.00             China           No       5/4/2023                (937.50)       10,312.50         (2,544.64)          8,705.36       (133.93)           (133.93)           (133.93)
Machinery        &    Equipment                                                  5/5/2016                 12"     lovw profilc         DLC canopy             lense                                              7                           6,923.00                                                              (576.92)        6,346.08         (1,565.92)
                                                                                                                                                                                                                                                                  China           No       5/4/2023                                                                     5,357.08        (82.42)             (82.42)            (82.42)
Machinery&Equipment                                                             5/31/2016                 Citysavertoolingcharge                                                                                 7                          71,767.00             China           No      5/30/2023             (5,980.58)       65,786.42         (16,233.01)         55,533.99       (854.37)           (854.37)           (854.37)
Machinery&Equipment                                                             6/24/2016                 Xtratypellmed                                                                                          7                          22,000.00             China           No      6/23/2023             (1,571.43)       20,428.57          (4,714.29)         17,285.71       (261.90)           (261.90)           (261.90)
Machinery        &    Equipment                                                 7/13/2016                 Optics       V     Mold-Citysaver                                                                      7                          17,000.00       ,     China                                         (1,011.90)        15,988.10
                                                                                                                                                                                                                                                                                  No      7/12/2023                                                 (3,440.48)         13,559.52       (202.38)           (202.38)           (202.38)
Machinery&Equipment                                                             7/13/2016                 Citysavertools                                                                                             7                      72,35LO0              China                   7/12/2023             (4,306.61)       68,044.39         (14,642.46)         57,708.54
                                                                                                                                                                                                                                                                                  No                                                                                                   (861.32)           (86132)            (861,32)
Machinery&Equipment                                                             8/22/2016                 Citysavertoolingcharge                                                                                     7                      10,372.00             China                   8/21/2023                (493.90)        9,878.10                             8,396.38
                                                                                                                                                                                                                                                                                  No                                                                (1,975,62)                         (123.48)           (123.48)           (123.48)
Machinety&Equipment                                                             11/10/2016                Tooling(corporalcunicom-40%deposit)                                                                        7                      10,848.00             China                   11/9/2023                (258.29)       10,589.71         (1,808.00)          9,040.00
                                                                                                                                                                                                                                                                                  No                                                                                                   (129.14)           (129.14)           (129.14)
Machinerv&Eauipment                                                             11/11/2016                Tooling(CorporatcUnicom15000+14400+1872)                                                                   7                      31,272.00             China                  11/10/2023                (372.29)      30,899.71          (4,839.71)         26,432.29
                                                                                                                                                                                                                                                                                  No                                                                                                   (372.29)           (372.29)           (372.29)
Mach.inert&Eqtilpment                                                           Wl7/1017                  Tooting-Viento                                                                                             7                      23.400.00                                                                   -                -
                                                                                                                                                                                                                                                                  China           No      8/15/2024                                                 (1,114.29)         22,285.71       (278.57)           (278.57)           (278.57)
Machinen         &    Equipment                                                 12/31/20\7                Tooling-Viento                                                                                             7                      19,600.00                                                                                                       -
                                                                                                                                                                                                                                                                  China                                                                                                19,600.00       (233.33)           (233.33)           (233.33)
Machinerv        &    Equipment                                                 9/1   1/20   17           Tooling          from corporate             Unicom                                                         7                                                                                                  -                -
                                                                                                                                                                                                                                             5.400.00             China           No       9/9/2024                                                   (192.86)          5,207.14         (64.29)            (64.29)            (64.29)
Machmen&Equipmem                                                                9/291017                  LascrCulter(Deposit+installation)                                                                          7                                                                                                  -                -                  -
                                                                                                                                                                                                                                            62,377.00             Texas           No      9/27/2024                                                                    62,377.00       (742.58)           (742.58)           (742.58)
\lachinerv&Eqtiipment                                                           12/31/2017                Laserculter(BalancedtietoAmada-Compressor)                                                                 7                  479,Wl4.00                                                                      -                -                  -
                                                                                                                                                                                                                                                                  Texas           No     12/29/2024                                                                   479,814,00     (5,712.07)         (5,712.07)         (5,712.07)
Vr.chir.en&Eqi:ipn:nt                                                            2/H20]5                  Despiiardnianufacti:renco.stoml4-tiplansa-re                                          Tractiinic           7       BEN            14.75000              China                                        (11.720.24)        33.029.76
                                                                                                                                                                                                                                                                                  No       2/9/2022                                                (18,113.10)         26,636,90       (532.74)           (532.74)           (532.74)
Subtotal       Machinery                     &     Equipment                                                                                                                                                                         3,283,646.41                                                           (1,737,501.40)      955,554.01                                          (30,787.57)        (30,685.61)        (30.685.61)
Total    Machinery                  &        Equipment-Sold
Adjustment           to       Tie       to       Dec       2012 Global   Shop
Total    Written              Off
Total    Machinery                  &        Equipment                                                                                                                                                                               3.283,646.41                                                           (1.737,501.40)      955,554.01                                          (30.787.57)        (30,685.61)        (30.685.61)
                                                                                                                                                                                                                                   Agrees    GL     12/31




                                                                                                                                                                                                                                                                                                                                         -
Trucks     &    Automobiles                                                     12/31/2006                2007 GMC                 Savana Van lGTGG292671l52976                                                      5                      33,000.00             Texas           No     12/30/2011            (33,000.00)                         (33,000.00)
Trucks&Automobiles                                                               5/10/2013                2011CadillacLimousinclGE9K9C67BU550384                                                                     3                      80,000.00           Arkansas          No        5/9/2016           (80,000.00)              0.00       (80,000.00)               0.00
Trucks&Automobiles                                                               9/15/2016                MercededBenzvanWD4PG2EESG3085680                                                                           5                      37,552.02             Texas                   9/14/2021              (1,877.60)       35,674.42         (9,388.01)         28,164.02       (625.87)           (625.87)           (625.87)
SubtotalTrucks&Automobiles                                                                                                                                                                                                              150,552.02                                                            (I14,877,60)        35,674.42                                            (625.87)           (625.87)           (625.87)
Total    Trucks           &     Automobiles-Sold
Adiustment           to       Global              Shop
Total    Written              Off
Total    Trucks           &     Automobiles                                                                                                                                                                                             150,552.02                                                            (114,877.60)        35,674.42                                            (625.87)           (625.87)           (625.87)
                                                                                                                                                                                                                                   .igreerGLI3'il


                                                                                                                                                                                                                                     3,823,370.25                                                           (2,151,794.79)     1,080.984.46                                         (33,255.24)        (33,146.23)        (33,124.70)




LeasholdImprovement                                                              3/15/2011                 LightingFixtures                                                                                              7                    4,757.00            Texas                   3/13/2018              (3,941.19)           815.81         (4,620.77)            136.23        (56.63)            (56.63)            (22.97)

                                                                                                                                                                                  -
                                                                                                                                                                                                                                                                  Texas
Leashold       improvemenL                                                       3/\8/20l3                 4    Dok    Guardians           (Johnson       Equipment          Co       Tim Spellman)                      7                  10,662.63                                     3/16/2020              (5,770.94)        4,891.69          (7,294.17)          3,368.46      (126.94)            (126.94)           (126.94)

                                                                                                                                                                                                                                                                   Texas
LeasholdImprovement                                                               4/4/20\3                 JohnsonEquipmentCo-DokLoks&MountinxPosts                                                                      7                  23,971.96                                       4/2/2020            (12,814.75)       11.157.21        (16,239.32)           7,732.64       (285.38)           (285.38)           (285.38)
Leasholdimprovement                                                              4/10/2013                 CenterpointEnergy-FeeforPowertoNewBldg.(Lab)                                                                  7                   12,524.96             Texas                    4/8/2020             (6,666.12)        5,858.84          (8,455.40)          4.069.56       (149.11)           (149.11)           (149.11)
LeasholdImprovement                                                              9/23/2013                 Universalluterior-Constructionof2AdditionalOflices                                                            7                    6,140.00             Texas                  9/21/2020              (2,868.99)        3,27LGI           (3,746.13)          2,393,87        (73.10)            (73.10)            (73.10)
 LeasholdImprovement                                                             3/24/2011                 CiscoEagic                                                                                                    7                   16,483.00             Texas                  3/22/2018             (13,598.24)         2,884.76       (15,952.96)             530.04       (196.23)           (196.23)           (137.59)
 LeasholdImprovement                                                             6/23/2011                 Paintfortheinterior                                                                                           7                  22,870.00              Texas                  6/21/2018             (18,052.81)        4,817.19        (21,319.95)           1,550.05       (272.26)           (272.26)           (272.26)
                                                                                                                                                                                                                                                                                                                                                                                                                                  Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 8 of 52




Leasholdimprovement                                                              6/23/201]                 RogersEnterprise                                                                                              7                    4,200.00             Texas                  6/21/2018               (3,315.34)         884.66          (3,915.34)            284.66        (50.00)            (50.00)            (50.00)
LeasholdImprovement                                                              7/27/2011                 MorrisonSupplyCo                                                                                              7                    1,162.00             Texas                   7/25/2018                (901.75)          260.25         (1,067.75)             94.25        (13.83)            (13.83)            (13.83)
LeasholdImprovement                                                              11/1/2011                 ElectricalUpgrade                                                                                             7                  20,732.30              Texas                 10/30/2018             (15,302.38)         5,429.92       (18,264.14)           2,468.16       (246.81)           (246,81)           (246.81)
 Leasholdimprovement                                                             11/1/2011                 Electrica1Upgrade                                                                                             7                    9,067.00             Texas                 10/30/2018              (6,692.31)         2,374.69         (7,987,59)          1,079.41       (107.94)           (107.94)           (107.94)
 LeasholdImprovemenL                                                             11/16/2011                Roofing                                                                                                       7                  31,969.00              Texas                 11/14/2018             (23,408.45)         8,560.55       (27,975.45)           3,993.55       (380.58)           (380.58)           (380.58)
 Leasholdimprovement                                                             11/22/2011                ElectricupgradethroughCenterpoinlEnergy                                                                       7                    4,504.00             Texas                 11/20/2018              (3,287,37)         1,216.63         (3,930.80)            573.20        (53.62)            (53.62)            (53.62)
 Leashold       Improvement                                                      12/20/20         1   1    Electric        upgrade through              Strictly      Electric                                           7                    4,790.00             Texas                  12/18/20     18        (3,411.04)         1,378.96         (4,095.32)            694.68        (57.02)            (57.02)            (57.02)
 LeasholdImprovement                                                             12/20/2011                SuperiorBuilding                                                                                              7                  24,923.49              Texas                  12/18/2018            (17,917,94)         7,005.55       (21,478.44)           3,445.05       (296.71)           (296.71)           (296.71)
                                                                                                                                                              Asset                                         Fully

             Category           Description               Date Acquired                                Asset Description                                                                                   Deprec
                                                                                                                                                                           Cost            State   Sold

Leasholdlmprovement                                          1/20/2012     SuperiorBuilding                                                                     7         26,596.00        Texas           1/18/2019      (18,797.64)         7,798.36      (22,597.07)         3,998.93            (316.62)           (316.62)           (316.62)
LeasholdImprovement                                          2/6/2012      BoldlSecurity                                                                        7           2,227.00       Tcxas            2/4/2019        (1,559.17)         667.83         (1,877.31)           349.69             (26.51)            (26.51)            (26.51)
LeasholdImprovement                                         2/20/2012      SuperiorBuilding                                                                     7           2,118.00       Texas           2/18/2019        (1,471.23)         646.77         (1,773.80)           344,20             (25.21)            (25.21)
LeasholdImprovement                                                                                                                                                                                                                                                                                                                         (25.21)
                                                            2/22/2012      PorterGlass&Mirror                                                                   7           5,323.00       Texas           2/20/2019        (3,693.47)        1,629.53        (4,453.00)           869.10            (63.37)             (63.37)            (63.37)
Leashold     improvement                                    4/18/2012      Superior    Building                                                                 7           3,177.00       Texas           4/17/2019        (2,134.77)        1,042.23        (2,588.63)          588.37             (37.82)             (37.82)            (37,82)
Leasholdimprovement                                          11/7/2012     ActionCommunication                                                                  7           3,560,00      .Texas           11/6/2019        (2,109.28)        1,450.72        (2,617.86)          942.14             (42.38)             (42.38)
Leashold     Improvement                                                                                                                                                                                                                                                                                                                    (42.38)
                                                            12/31/2012     InstalI   New   l200 AMP          Scrvice (Strictly      Electrical   Solutions)     7         65,511.00        Texas          12/30/2019      (37,430.56)       28,080.44       (46,789.27)        18,721.73            (779.89)           (779.89)           (779.89)
LcasholdImprovement                                         11/11/2014     NGNConsultant(programmingforlighting&AV)                              .              7           6,917.75       Texas           11/9/2021        (2,141.21)       4,776.54         (3,129.46)        3,788.29             (82.35)            (82.35)            (82.35)
LeasholdImprovement                                         12/29/2014     HuntonServicc(airconditoncrforassemblydepartment)                                    7         71,621.45        Texas          12/27/2021      (20,463.27)       51,158.18       (30,694.91)        40,926.54            (852.64)           (852.64)           (852.64)
Lcasholdimprovement                                         2/18/2015      AssemblyLights                                                                       7          7,816.62        Texas           2/16/2022        (2,047.21)       5,769.41         (3,163.87)        4,652.75             (93.06)            (93.06)            (93,06)
Leashold1mprovement                                         4/22/2015      Addnervroomandeircuits                                                               7          12,960.00       Texas           4/20/2022        (3,085.71)       9,874.29         (4,937.14)        8,022.86            (154.29)           (154.29)           (154.29)
LeasholdlmprovemenL                                         8/12/2015      interiorremodel(superbuildingsystemsinvoice#293)                                     7         21,643,51        Texas           8/10/2022        (4,122.57)      17,520.94         (7,214.50)       14,429.01            (257.66)           (257.66)           (257.66)
LeasholdImprovement                                         8/12/2015      WindTurbineFoundation(superbuildingsystemsinvoicc#29                                 7          4,831.00        Texas           8/10/2022          (920.19)       3,910.8i         (1,610.33)        3,220.67             (57.51)             (57.5I)            (57.5I)
LeasholdImprovement                                         7/21/2016      Newollice                                                                            7           3,700.00       Texas           7/20/2023          (220.24)       3,479.76           (748.81)        2,951.19             (44.05)            (44.05)            (44.05)
LeasholdImprovement                                         8/15/2016      Remodelinteriorfinishes                                                              7          10,570.61       Texas           8/\4/2023          (503.36)      10,067.25         (2,013.45)        8,557,16            (125.84)           (125.84)           (125,84)
Leashadlmprádient                                                    Ïlj   1                      IGiëlíÏg                                                      7                          Texas                                                                     -
                                                                               &Ìgdji                                                                                      6,769.31                       12/13/2024                                                            6,769.31                0.00                1.00                2.00
Lcashold     Improvement                                    5/11/2015      Air Cpmpressor         Canopy,      Fencc&gate        rclocation                     7         11,613.00        Texas            5/9/2022        (3,456.25)       8,156.75         (5,115.25)        6,497.75            (138.25)           (138.25)           (138.25)
Subtotal     Leasehold            lmprovements                                                                                                                           465,712.59                                      (242,105.77)     216,831.51                                              (5,463.61)         (5,462.61)         (5,369.31)
Total   Lensehold             Improvements-Sold
Adjustment         to   Global      Shop
Total   Written         Off
Total   Leasehold             Improvements                                                                                                                               465,712.59                                       (41,659.08)      194.983.07                                             (5,463.61)         (5.462.61)         (5.369.31)
                                                                                                                                                                      AgreerGL12m      +4831CIP




                                                                                                                                                                                                                                                         (2,794,629.98)     1,494,452.86
TOTAL        FlXED        ASSETS                                                                                                                                       4.289,082.84                                    (2.393.900.56)    1.297.821.97    (2.794,629.98)     1,494.452.86        (38,718.85)        (38,608.84)        (38,494.01)




MFG     Depreciation           COGS
                                                                                                                                                                                                                                                                                                (30,787.57)        (30,685.61)        (30,685.61)
MFG     Depreciation           SG&A
                                                                                                                                                                                                                                                                                                  (7.931.28)         (7.923.23)         (7,808.40)
Totalperioddepreciation
                                                                                                                                                                                                                                                                                                (38.718,85)        (38.608.84)        (38.494.01)
Depreciation       on    assets    sold   during   year

Cumulative        Depreciation
                                                                                                                                                                                                                                                                                             (2,833,348.78)     (2,871,957.62)     (2,910,451.63)
NBV
                                                                                                                                                                                                                                                          1,494,452.91      1,494,452.91      1,455,734.06       1,417,125.22        1,378.631.21
GLNBV                                                                                                                                                                                                                                                     1,494,452.97      1,494,452.97      1,455,734.12       1.417,125.28
Gap
                                                                                                                                                                                                                                                                   (0.06)           (0.06)             (0.06)             (0.06)    L378,631.21
                                                                                                                                                                                                                                                                                                                                              Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 9 of 52
ATAL Fixed                                            Asset Register

                                                                                                                                                                                                                                                                                                   2016                  2016              2017           2017

                                                                                                                                                                                                                                                                                               Acc    Depr               NBV            Ace Depr         NBV            Janua.Œ        February           y
                                                                                                                                                                                                                         Asset

                Category              Description
                                                                           DSepreciatioen
                                                                                     DeEprdeciation
                                                                                                                                                     Asset           Description                                       Life       (yrs)     Method                Cost       Sold   State
                                                             Ac   u   ed




Fumiture        &       Fixtures                             4/30/2013      5/1/2013    4/29/2020                -
                                                                                                     AMEX             McCoy              Workplace              Solutions                                                     7           Straight   Line         5,541.23   No     Texas          (2,902.55)            2,638.68                        1,847.08
                                                                                                                                                                                                                                                                                                                                          (3,694.15)                      (65.97)         (65,97)         (65.97)
Fumiture        &       Fixtures                             6/30/2013      7/1/2013    6/29/2020                -
                                                                                                     AMEX             McCoy              Workplace              Solutions                                                     7           Straight   Line         5,54L22    No     Texas          (2,770.61)            2,770.61                        1,979.01
                                                                                                                                                                                                                                                                                                                                          (3,562.21)                      (65.97)         (65.97)         (65.97)




Total      Furniture          &       Fixtures
                                                                                                                                                                                                                                                                 11,082.45                         (5,673.16)            5,409.29                                        (131.93)        (131.93)        (131.93)
Less    Total           Furnitures        Sold

Net     Furnitures           and       Fixtures
                                                                                                                                                                                                                                                                 11,082.45                         (5,673.16)            5,409.29                                        (131.93)        (131.93)        (131.93)




Machinery           &     Equipment                      l    1/18/2014     12/1/2014   11/30/2019   Chroma          Systems             Solutions         (6460-2          Programmable        AC source)                    5           Straight   Line        14,205.00   No     Texas          (5,918.75)            8,286.25         (8,759.75)     5,445.25        (236.75)        (236.75)        (236.75)
Machinery&Equipment                                           8/1/2013      8/1/20]3    7/31/2018    Goniophotometer(fromMfg)                                                                                                 5           StraightLine         177,lSL00     No     Texas      (121,053.18)             56,097.82      (156,483.38)     20,667.62     (2,952.52)      (2,952.52)      (2,952.52)
Machinery           &     Equipment                                                                  Goniophotometer                     (from     Mfg)                                                                                   Straight   Line        51,783.00   No     Texas        (51,783.00)                            (51,783.00)
Machinery           &    Equipment                           10/14/2014     1/1/2015    12/31/2019   Hastest     Solution              (settling        dust chamber)                                                         5           Straight   Line        77,100.60   No     Texas        (30,840.24)            46,260.36                       30,840.24
                                                                                                                                                                                                                                                                                                                                        (46,260,36)                   (1,285.01)      (1,285.01)      (1,285.01)
Machinery           &    Equipment                       12/30/2014         1/1/2015    12/31/2019   Hastest     Solution(walk-in                       rain    test    chamber)                                              5           Straight   Line      116,104.00    No     Texas                               69,662.40
                                                                                                                                                                                                                                                                                                 (46,441.60)                            (69,662.40)    46,441.60      (1,935.07)      (1,935.07)      (1,935.07)
Machinery           &    Equipment                       10/31/2016         11/1/2016   10/31/2021   Hastest     Solution(Finalize                      rain     test    chamber)                                             5           Straight   Line        11,250.00          Texas            (375.00)           10,875.00         (2,625.00)     8,625.00        (187.50)        (187.50)        (187.50)
Machinery           &    Equipment                            3/2/2015      4/1/20l5    3/30/2020    Installation          for    Dust      Chamber              &Compressor           Electrical   Service                   5           Straight   Line         8,080.00   No     Texas          (2,828.00)            5,252.00         (4,444.00)     3,636.00        (134,67)        (134.67)        (134.67)
Machinery           & Equipment                               8/1/2013                                                      -
                                                                            8/1/2013    7/31/2018    Labsphere                   Sphere          test      equipment                                                          5           Straight   Line        58,580.00   No     Texas        (40,029.67)            18,550.33       (51,745.67)      6,834.33        (976.33)        (976.33)        (976.33)
Machinery           &    Equipment                                                                                          -
                                                                                                     Labsphere                   Sphere          test      equipment                                                                      Straight   Line        17,124.00   No     Texas        (17,124.00)                            (17,124.00)
Machinely           &     Equipment                      12/31/2014         1/1/2015    12/31/2019   the   Sphere          Retrofit                                                                                           5
                                                                                                                                           for    LM-82           testing     purposes                                                    Straight   Line        79,373.54   No     Texas        (31,749.42)           47,624.12        (47,624.12)     31,749.42     (1,322.89)      (1,322.89)      (1,322.89)
Machinery&Equipment                                           8/1/2013      8/1/2013    7/31/2017    SCS-Environmental Testchamber                                                                                            4           StraightLine           27,073.37   No     Texas        (23,125.17)             3,948.20       (27,073.37)
Machinery           & Equipment                                                                             -
                                                                                                     SCS        Environmental                    Test Chamber                                                                             Straight   Line        20.680.00   No     Texas        (20,680.00)                            (20,680.00)
Machinery           &    Equipment                           7/30/2012.     8/1/2012    7/31/2019    Voltech         instruments                                                                                              7           Straight   Line         5,829.44   No     Texas          (3,678.10)            2,151.34                        1,318.56
                                                                                                                                                                                                                                                                                                                                          (4,510.88)                      (69.40)         (69.40)         (69.40)
Machinery           &    Equipment                            8/1/2013      8/1/2013    7/31/2016    Water Meter                  Test       Equipment                                                                        3           Straight   Line        72,335.21   No     Texas        (72,335.21)                       -
                                                                                                                                                                                                                                                                                                                                        (72,335.21)
Machinery           &     Equipment                                                                  Water Meter                  Test       Equipment                                                                                    Straight   Line        33,521.19   No     Texas        (33,521.19)                            (33,521.19)
Machinery           &     Equipment                          3/16/2015      4/1/2015    3/30/2020    Air   Compressor                    material              and      installation                                          5                                  11,381.47          Texas          (3,983.51)            7,397.96                        5,121.66        (189.69)
                                                                                                                                                                                                                                                                                                                                          (6,259.81)                                     (189.69)        (189.69)
Machinery           & Equipment                               7/3/2015      8/1/2015    7/30/2020    deposit         for         Mod                                                                                          5                                  10,750.00          Texas          (3,045.83)            7,704.17         (5,195.83)     5,554.17        (179.17)        (179.17)        (179.17)
Machinery           &    Equipment                           3/17/2015      4/1/20]S    3/30/2020    Set   up    outles            for     tack     machine,               install   125 A3 phase       service,   e          5                                   6,823.00          Texas          (2,388    05)         4,434.95         (3,752.65)     3,070.35        (113.72)        (I13.72)        (113.72)
Subtotal        Machinery               & Equipment                                                                                                                                                                                                            799,144.82                      (510,899.92)           288,244.90                                       (9,582.71)      (9,582.71)     (9,582.71)
Tota!    Machinery                &    Equipment-Sold
Total      Machinery               & Equipment                                                                                                                                                                                                                 799,144.82                      (510,899.92)           288,244.90                                       (9,582.71)     (9,582.71)      (9,582.71)




TOTAL FIXED                    ASSETS                                                                                                                                                                                                                          810,227.27                       (516,573.08)          293,654.19                                       (9,714.64)      (9.714.64)      (9,714.64)
                                                                                                                                                                                                                                                            Agre<sTBdeeBSR                  Asse<aTBderssR         Agre<sTBdeeBM

Accumulated               Depriciation
                                                                                                                                                                                                                                                                                                (516,573.08)                           (637,096.99)    173,130.28   (646,811.63)    (656,526.27)    (666,240.91)
NBV
                                                                                                                                                                                                                                                                                                                                                                     163,415.64      153,70100      (493,110.63)
GL
                                                                                                                                                                                                                                                                                                                                                                     163,415.65      153,701.01      153,702.01
Gap
                                                                                                                                                                                                                                                                                                                                                                             0.01            0.01    646,812.64
                                                                                                                                                                                                                                                                                                                                                                                                             Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 10 of 52
Utility                 Metering           Solutions                    Fixed              Asset        Register




                                                                                                                                                                                                                                                                                                             Total                             2016                   2016                                                        2018
                                                                                                                                                                                                                                                                                                           12/31/2016               AccumDepr                      NBV                         2017             201Ì        January              FebruarvI
                                                                                                                                                                                                                                                     c
                                                                                                                                                                                                                                                DSepation      Deprdec
                                                                                                                                                                                                                                                                   aate"
                                                                                                          Category          Description                                                                                    Date   Acquired                                     Cost                 Sold
                                                                                                                                                                                                                                                                                                                                                                                       Accum   Depr             NBV
    huumdiles
                                                                                                                                                                                                                 5
TiusmaybcaSIERRACl5003GTPlUEA7HG304591                                                                                                                                                                                             6/22/2011       7/1/2011      6/29/2016     26,000.00           No         (2,600.00)|           (26,000.00)                       -
                                                                                                                                                                                                                                                                                                                                                                                       (26,000.00)
Two               Ford     Trucks          (Bill         Hood Ford)                         2011        Ford       F150          IFTFWICR8BFB9557l                   &    lFTFWlCF9BFB75362                      5                  1/4/20\2       2/1/2012      1/30/2017     64,'l60.42          No        (12,952.08)            (63,681.08)               1,079.34                 (64,760.42)
Titie             for    Automobilc            (2002                    Ford          Sl    lK     and         Trailer     SDG      Sales S6,590 l/6:nd    on             l/20/12)      (Chad   Davis)           5                 3/16/2012       4/1/2012      3/31/2017        1,l72.50         No           (234.50)              (1,l l3.88)l               58,63                  (l,172,50)
2013ChevroletSilveradoTrucklGCRCREAODZl35484                                                                                                                                                                     5                  9/5/2013      10/1/2013      9/30/2018     27,233.52           No         (5.446.70)            (17.701,79)               9,531.73                 (23,148.49)         4,085.03        (453.89)               (453.89)                (45389)
                                                                                                                                                                                                                 5
2013ChevroletSilveradoTrucklGCRCREAXDZll2407                                                                                                                                                                                        9/5/2013      10/1/2013      9/30/2018     27,233.52           No         (5.446.70)            (17.701.79)               9,531.73                 (23,148.49)         4,085.03        (453.89)               (4             .89)                           I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          (

20l4GMCSierra3GTU2VEC3EGl71193                                                                                                                                                                                   5                 9/23/20\3      10/1/2013      9/30/2018     49,821.50           No         (9,964.30)            (32,383.98)              17.437.53                 (42,348.28)         7,473.22        (830.36)               (830.36)                (83036)
                                                               -
20l4              Chevrolet           Silverado                         Ron       Carter           Automotive               lGC4KZC84EF140879                                                                    5                 1/20/2014       2/1/2014      1/31/2019     46,492.30           No         (9,298.46)            (27,120.51)              19,371.79                 (36,418.97)        10,073.33        (774.87)               (774.87)                (774                     87)
20l4Chevrolet15003GCPCRECOEG510803                                                                                                                                                                               5                11/15/20\4      12/1/2014     11/30/2019     39,234.00           No         (7,846.80)            (16.347.50)              22.886.50                 (24,194.30)        15,039.70        (653.90)               (653.90)                (653.90)
20l4ChevroletSilverado3GCPCREC2EG500483                                                                                                                                                                          5                11/10/2014      12/1/20\2     11/30/2017     39,234.00           No         (7,846.80)            (16,347.50)              22,886.50                 (24,194.30)        15,039.70        (653,990)              (653.901                (653.90)
                                                                                                                                                                                                                 5
20l5GEM(52CG6SGA3F0012766)                                                                                                                                                                                                          7/6/2015       8/1/2015      7/30/2020     19,589.12           No         (3.917.82)              (5.876.74)             13,712.38                  (9,794.56)         9,794.56        (326.49)               (326.49)                (326.49)
                                                                                                                                                                                                                 5
2015MercedesBenzs1550WDDJK7DASFF033209                                                                                                                                                                                              3/2/2015       4/1/2015      3/30/2020    121,248.33           No        (24,249.67)            (44.457.72)              76,790.61                 (68,707.39)        52,540.94      (2,020.81)             (2,020.81)              (2,020.81)
FordpickuptruckVIN1FT7W2BTXFEC98388                                                                                                                                                                              5                 2/14/2016       3/1/2016      2/28/2021     44,618.00           No         (7.436.33)              (7,436.33)             37,181.67                 (16,359.93)        28,258.07        (743.63)               (743.63)                (743.63)
Catalinc321BHDS2017                                                SZT2CAXB8HT009423                                                                                                                             5                  6/6/2016       7/1/2016      6/30/2021     25,000.00           No         (2,916.67)              (2,916.67)             22,083.33                  (7,916.67)        17,083.33        (416.67)               (416.67)                (416.67)
                                                                                                                                                                                                                 5
Airconditionertrailer(AdministrativcHammondoffice)                                                                                                                                                                                 7/l4/20\6       8/1/2016      7/31/2021            852.50       No             (56.83)                (56.83)                795.67                     (227.33)          625.17         (14.21)                    (14.21)                (14.21)
20I5FordtruckVIN#lFT7W2BT6FEB75283                                                                                           .                                                                                   5                 8/18/2015       9/1/2015      8/30/2020     47,000.00           No         (9,400.00)            (13.316.67)              33,683.33                 (22,716.67)        24,283.33        (783.33)               (783.33)                (783.33)
2017              Chevy           Silverado             15    (Ross                Downing                Chevrolet)                                                                                             5                 12/2/2016        l/l/20\7    12/31/2021                                                                     -
                                                                                                                                                                                                                                                                               36,243.30                                                                     36,243.30                  (7,248.66)        28,994.64        (604           06)     (604.06)                (604.06)
                                                                                                                                                                                                                         Total                                                615,733.01



TrembleUnit                                                                                                                                                                                                      5|                5/17/2010       6/1/2010      5/31/2015      9,957.60           No                   -                                             -
                                                                                                                                                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                                                     (9,957.60)                                         (9,957.60}
TrembleUnit                                                                                                                                                                                                      5                 6/30/2010       7/1/2010      6/30/2015      7.861.32           No                   -                                             -
                                                                                                                                                                                                                                                                                                                                      (7,861.32)                                        (7,861.32)
TrembleUnit                                                                                                                                                                                                      5                 9/30/2010      10/1/2010      9/30/2015      2,582.22           No                   -                                             -
                                                                                                                                                                                                                                                                                                                                      (2,582.22)                                        (2,582.22)
TrimbleUnits(NavigationElectronics)                                                                                                                                                                              5                 5/27/2011       6/1/2011      5/30/2016      7,734.08           No           (644.51)              (7,734.08)                      -
                                                                                                                                                                                                                                                                                                                                                                                        (7,734.08)
                                                                                                                                                                                                                 5                                                                                                                                                    -
ThreenewtrimbleunitwithUSBboot                                                                                                                                                                                                      9/1/2011       9/1/2011      8/30/2016      3.809.03           No         (1,174.54)              (8,809.03)                                        (8,809.03)
10NomadHandheids                                                                                                                                                                                                 5                 1/24/2012       2/1/2012      1/30/2017     27,680.40           No         (5.536.08)            (27,219.06)                 461.34                 (27,680.40)
TrimbleUnits(HDSupplv)                                                                                                                                                                                           5                10/25/2012      11/1/2012     10/31/2017      7,200.00           No         (1,440.00)              (6,000.00)              1,200.00                  (7,200.00)
Trimble                  Units (HD           Supply)                                                                                                                                                             5                10/30/2012      11/1/2012     10/31/2017      2,400.00           No           (480.00)              (2,000.00)                                                                 -                 -
                                                                                                                                                                                                                                                                                                                                                                400.00                  (2,400.00)
                                                                                                                                                                                                                 5
TrimbleUnits(HDSupply)                                                                                                                                                                                                             11/9/2012       12/1/2012    11/30/2017      4,800.00           No           (960.00)              (3.920.00)                880.00                   (4,800.00)
Trimbic                  Units      (HD      Supply)                                                                                                                                                             5                 11/9/2012      12/1/2012     11/30/2017      4,800.00           No           (960.00)              (3,920.00)                880.00                  (4,800.00)
                                                                                                                                                                                                                 5
TrimbleUnits(HDSupply)                                                                                                                                                                                                             11/9/2012      12/1/20L2     11/30/2017      2,400.00           No           (480.00)              (1,960.00)                440.00                  (2,400.00)
Trimble                  Units      (HD      Supply)                                                                                                                                                             5                 11/9/2012      12/1/2012     11/30/2017      2,400.00           No           (480.00)              (1,960,00)                440.00                  (2,400.00)
                                                                         -                                 -
Trimble                  Nomad         unit (Qty                   2)            HD        Supply              Water      Works       Model     900LE           SENSUS                                           5                 1/18/2013       2/1/2013      1/31/2018      4,985.50           No           (997.10)              (3,905.31)              1.080.19                  (4,902.41)             83.09        (83.09)
                                                   -
Trimble                  Nomad         Unit             Pittsburg                     Water         and        Scwer Authority                                                                                   5                 2/l3/20l4       3/1/2014      2/28/2019     32,250.00           No         (6.450.00)            (18,275.00)              13,975,00                 (24,725.00)         7,525.00        (537.50)               (537           50)      (537.50)
TrimbleNomadUnit                                                                                                                                                                                                 5                  5/9/2014       6/1/2014      5/31/2019      7.350.00           No         (1,470.00)              (3.797.50)              3,552.50                  (5,267.50)         2,082.50        (122.50)               (12250)                 (122.50)
                                                                                                                                                                                                                 5
TrimbleNomadUnit(HDSupplyinvoiccgE240696)                                                                                                                                                                                          7/24/20l5       8/1/20L5      7/30/2020     41,900.00           No         (8,380.00)            (16.760.00)              25,140,00                 (25,140.00)        16,760.00        (698.33)               (69833)                 (698.33)
                                                                                                                                                                                                                 5
TrimbleNomadUnit(HDSupplyinvoice#271959)                                                                                                                                                                                           7/30/20l5       8/1/2015      7/30/2020     20.950.00           No         (4,190.00)              (8,380.00)             12,570.00                 (12,570.00)         8,380.00        (349.17)               (34917)                 (349.17)
Trimble                  Nomad         Unit (reclass                         sales         tax     on     asset     purchase)                                                                                    5                 7/31/2015       8/2/2015      7/31/2020      5,656.50           No         (1,131.30)             (2,262.60)               3,393.90                  (3,393.90)         2,262.60         (94.28)                    (94       28)[         (94.28)
Command                     link     for    Installation                                                                                                                                                         5                10/23/2015      11/1/2015     10/30/2020       1.350.00          No           (270.00)                (472.50)                877.50                     (742.50)          607.50         (22.50)                    (22       50)          (22.50)
                                                                                                                                                                                                                 5
TrimbleNomadunit(HDsupplyinvoice#F414873)                                                                                                                                                                                          4/21/2016       5/1/2016      4/30/2021     34,567.50           No         (4,609.00)              (4,609.00)             29.958.50                 (11,522.50)        23,045.00        (576.13)               (57613)                 (576.13)
TrimbleNomadUnit(HDSuppiv)                                                                                                                                                                                       5                  4/1/2015       5/1/2015      4/29/2020     68,506.50           No        (13,701.30)            (22,835.50)              45,671.00                 (36,536.80)        31,969.70      (1,141.78)             (1.14178)               (1,141.78)
TB500                   touchbook           unit &Shoulder                                 Strap                                                                                                                 5                 8/\8/2016      10/1/2016      9/30/2021     18,485.00           No           (924.25)               1924.25)              17,560           75        (4,621.25)        13,863.75        (308.08)               (308           08)      (308.08)
T8500touÃbookunit&ShoulderStrap                                                                                                                                                                                  5                 9/30/2016      10/1/2016      9/30/2021      2,772.75                                                                      2,63411                      (693.19)        2,079.56         (46.21)                    (4621)                 (46.21)
22TrimbIcNomadUnit**900LE**                                                                                                                                                                                  I   5                10/13/2016|     11/1/2016     10/31/2021     32,065.00                      (1.068.83)              (1.068.83)             30.996.17                  (7,481.83)        24,583.17        (534.42)               (534.42)                (534.42)
    12       x                     Units
                  Trimbic                     (Mobile                     Demand)                                                                                                                                5                 1/24/2017       2/1/2017                    18,672.00                                    -                                         -
                                                                                                                                                                                                                                                                 1/31/2022                                                                                                              (3,423.20)        15,248.80        (311.20)               (311.20)                (311.20)
9        x       XT1540           Touchbook                  unitd               (Mobile           Demand)                                                                                                       §
                                                                                                                         with shoulder        straps                                                                               2/27/2017       3/1/2017      2/28/2022      9,058.00                                                                                                (1,509.67)         7,548.33        (150.97)               (150.¶)                 (150.97)
50           x    T8650           Tablets     (8"            Displays                                             and
                                                                                       with batte                         adaptor)                                                                               5                  7/7/2017       8/1/2017      7/31/2022     86.762.38                                                                                                (7,230,20)        79,532.18      (1,446.04)             (1,446.04)              (1,446.04)
9•TM650Tablet(8"display)                                                                                                                                                                                         5                 2/15/2018       3/f/201K      2/28/2023     11,749.50                                                                                                        -                                 -                          -
                                                                                                                                                                                                                                                                                                                                                                                                          11,749.50                                                       (195.83)
15           TB500         Touchbook                                                                      staps                                                                                                  5
                                                       umts with shoulder                                           (from        Mobile      Demand)                                                                              10/31/2016      11/1/2016     10/31/2021]    13,863.75                        (462.13)                (462       13)       13,401.63                  (3,234.88)        10,628.88        (231.06)               (231.06)                (231.06)


                                                                                                                                                                                                                                                                                                                                I                        I                         I
                                                                                                                                                                                                                                                                                                                                                                                                      I



                                                                                                                                                                                                                         Total                                                508.261.95


Trailers                                                                                                                                                                                                             5            11/13/2009                                                                                -                                             -
                                                                                                                                                                                                                                                   12/1/2009    11/30/2014       6,773.00          No                                 (6.773.00)                                         (6,773.00)                  -




Titicandnotarvfee                                                                                                                                                                                                5                12/16/2009        1/1/2010                                                                -
                                                                                                                                                                                                                                                                12/31/2014       1,027.47          No                                 (1,027.47)                  (0.00)                (1,027.47)             (0.00)
Trailers                                                                                                                                                                                                         5                  2/3/2010                                                                                -                                         -
                                                                                                                                                                                                                                                   3/1/2010      2/28/2015      4,600.00           No                                 (4,600.00)                                        (4,600.00)
                                                                                                                                                                                                                 5                 3/31/2011                     3/30/2016      3,743.00                                                                                  -
                                                                                                                                                                                                                                                   4/l/20ll                                        No           (187.15)              (3,743.00)                                        (3,743.00)
                                                                                                                                                                                                                 5                   1/6/2012      2/1/2012      1/30/2017      6,416.25           No         (1,283.25)              (6,309.31)                 106.94                 (6,416.25)
                                                                             -                                                                         -
Generator                   for     Plasma Trailer                               Valentine              Mechanical               Services.    LLC          Model   5735    17   5    Portable                    5                 4/15/2013       5/1/2013      4/30/2018      2.901.92       |No              (580.38)              (2,128       07)          773,85                  (2,708.46)            193.46         (48.37)                   (48.37)                (48.37)
Plasmatrailer(Wagonmastertruckandtrailer)                                                                                                                                                                        5                  3/9/2017                                                                                -                                                                   -
                                                                                                                                                                                                                                                   4/1/2017      3/31/2022      5,250.00       |                                                                                                           5,250.00        (787.50)               (787.50)                (787.50)
Vac-TronVaccumExcavator                                                                                                                                                                                          5                10/26/2016       5/2/2013       5/1/2018     49,180.96                      (1,63937)               (1,63937)              47,541.59                 (11,47556)         37,705.40        (819.68)               (819.68)                (819.68)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 11 of 52




                                                                                                                                                                                                                         Total                                                 79,892.60


Equipment
Generatorfortrailer                                                                                                                                                                                              5                 3/12/2010       4/1/2010                                                                 -                                             -
                                                                                                                                                                                                                                                                 3/31/2015      2,832.91           No                                 (2,83291)                                         (2,832.91)
Generator                   for     plasma             trailer                                                                                                                                                   5                 5/26/2010       6/1/2010                                                                 -                                             -
                                                                                                                                                                                                                                                                 5/31/2015      2,307.38           No                                 (2,307       38)                                  (2,307.38)
Powermax45plasmatorch                                                                                                                                                                                            5                  6/3/2010                                                                                -                                             -
                                                                                                                                                                                                                                                   7/1/2010      6/30/2015       1,393.74          No                                 (1,393.74)                                        (1,393.74)
Grainger                                                                                                                                                                                                             5            10/21/20\0                                                                                -                                             -
                                                                                                                                                                                                                                                   11/1/2010    10/31/20\5       1,337.23          No                                 (1.337.23)                                         (1,337.23)
Plasma,prowermax45system                                                                                                                                                                                         5                 7/15/2011       8/1/2011                     3,995.77                                                                                  -
                                                                                                                                                                                                                                                                 7/30/20\6                         No           (466.17)              (3,995.77)                                         (3.995.77)
SensusW-12501argemeterfieldtester                                                                                                                                                                                5                 7/29/2011       8/1/2011      7/30/2016      5,500.00           No                                                                     -
                                                                                                                                                                                                                                                                                                                (641.67)              (5.500.00)                                        (5,500.00)
                                                                                                                                                                                                                 5                10/20/2011      11/1/2011     10/30/2016      2.760.97           No                                                                     -
                                                                                                                                                                                                                                                                                                                (460.16)              (2,760.97)                                        (2,760.97)
                                                                                                                                                                                                                 5                 1/30/2012       2/1/2012      1/30/2017      6,736.20           No         (1,347.24)              (6,623.93)                 112.27                 (6,736.20)
Plasmacutter                                                                                                                                                                                                     5                 2/29/2012       3/1/2012      2/28/2017      2.032.93           No           (406.59)              (1,965.17)                 67.76                  (2,032.93)
                                                                                                                                                                                                                 5
Generatorforplasmatrailer                                                                                                                                                                                i
                                                                                                                                                                                                                                    3/1/2012       3/l/20l2      2/28/2017      2,428.23           No           (485.65)              (2,347.29)                 80.94                  (2,428.23)
towhandheÏJdevices                                                                                                                                                                                           |   5                  3/7/2012\      4/1/2012      3/31/2017      9.263.57           No         (1,852.71)              (8.800.39)|               463.18                                               -                -
                                                                                                                                                                                                                                                                                                                                                                                        (9.263.57)
                                                                                     Category    Description                                                            Date
                                                                                                                                                                                            DSepreciation   oon
                                                                                                                                                                                                      Depreciaa
                                                                                                                                                                               Acquired                                 Cost             Sold
                                                                                                                                                                                                                                                                                                           Accum   Depr        NBV
                                                                                                                                                                    5           8/23/2012      9/1/2012    8/31/2017     3,386.93       No        (677.39)    (2,935.34)                451.59              (3,274.03)       112.90     (112.90)
Plasmacutter                                                                                                                                                        5           9/24/2012     10/1/2012    9/30/2017     1,838.26       No        (367.65)    (1,562.52)                275.74              (1,838.26)
                                                                                                                                                                    5           9/15/2012     10/1/2012    9/30/2017      1.920.00      No        (384.00)    (1.632.00)                288.00               (1,920.00)
Plasmacutterandtrailer                                                                                                                                              5          11/13/2012     [2/1/2012   11/30/2017     5,246.91       No      (1,049.38)    (4,284.98)                961.93               (5,246.91)
Plasmaunit                                                                                                                                                          5          11/30/2012     12/1/2012   11/30/2017                    No
                                                                                                                                                                                                                          1,817.36                (363.47)    (1,484.18)                333.18               (1,817.36)             -


                     -
Generator                    HD     Supplv             Waterworks,             Ltd                                                                                  5           2/19/2013      3/1/2013    2/28/2018     2,699.99       No        (540.00)    (2,069.99)                630.00               (2,609.99)       90.00      (45.00)    (45.00)
New      Kubota                                                 -
                               L39TLB                 Tractor            Star Equipment      Company                                                                5           6/13/2013      7/1/2013    6/30/2018   43,335.00        No      (8,667.00)   (30,334.50)             13,000.50             (39,001.50)    4,333.50      (722.25)   (722.25)    (722.25)
                                                                    -
New      27     Kw Generac                         Generato              Pan   American    Power Corp                                                               5           7/29/2013      8/1/2013    7/31/2018    15,021.25       No      (3,004.25)   (10,264.52)i            4,756.73              (13,268.77)     1,752.48     (250.35)   (250.35)    (250.35)
1    Kubota      4           whccl drive tractor                    model#                           i
                                                                                 MX5100DT        ;       Kubota   Front Loader   Model   LAS44   with Quick   att   5          12/27/20!3      1/1/2014   12/31/2018   26,300,00        No      (5.260.00)   (15,780.00)             10,520.00             (21,040.00)     5,260.00     (438.33)   (438.33)    (438.3
Hood      rack           kit      and        BBB       Recoil       IS                                                                                              5          10/29/2014     11/1/2014   10/31/2019    15.213.80       No      (3,042.76)    (6.592.65)              8,621.15               (9,635.41)    5,578.39     (253.56)   (253.56)    (253.56)

Subtotal         Machinerv                     &      Equipment                                                                                                                                                        157,368.43
Total     Machinery                      &     Equipment-Sold                                                                                                                                                                                          -               -




Total     Machinery                      &     Equipment                                                                                                                                                               157,368.43


Fumitures                &     Fixtures                                                                                                                                                                                                                                                                             -



Office        fumitures                  for    Danicia                                                                                                             5           3/12/2010      4/1/2010    3/31/2015      1,929.15                     -                                       -
                                                                                                                                                                                                                                        No                    (1,929.15)                                    (1,929.15)
Fumiture                                                                                                                                                            5           4/12/2010      5/1/2010    4/30/2015     4,966.00                      -                                       -
                                                                                                                                                                                                                                        No                    (4.966.00)                                    (4,966.00)
Grainger                                                                                                                                                            5          11/10/2010     12/1/2010   11/30/2015      1,958.54      No             -                         .             -
                                                                                                                                                                                                                                                              (1,958.54)                                    (1,958.54)
Office        fumitures                                                                                                                                             5          11/10/2010     12/1/2010   11/30/2015      1.100.87      No             -                                       -
                                                                                                                                                                                                                                                              (1,100       87)                     .         (1,100.87)
                                                                                                                                                                    5
officefumituresfornewdowntownoffice                                                                                                                                              5/5/2016      6/1/2016    5/31/2021   22,164.50        No      (2,21646)     (2,21646)                ,948.04               (6,649.36)   15,515.14     (369.41)   (369.41)    (369.41)

                                                                                                                                                                                                                                                                                               -

                                                                                                                                                                                                                                                                                                       I



                                                                                                                                                                                                                        32,119.06


Computer             and          Office           Equip
Commercialmetertester                                                                                                                                               5           6/\6/2009      7/1/2009    6/30/2014     2,871.24       No             -
                                                                                                                                                                                                                                                              (2.871.24)                    -
                                                                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                            (2,871.24)
Dennislavergnecomputer                                                                                                                                              5          11/13/2009     12/1/2009   11/30/2014           630.63   No             -
                                                                                                                                                                                                                                                                (630.63)                    -
                                                                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                               (630.63)
                                                                                                                                                                                                                                                       -
Officeprintr5550N                                                                                                                                                   5            5/3/2010      6/1/2010    5/31/2015     4,457.16       No                    (4.457.16)                    -
                                                                                                                                                                                                                                                                                                            (4,457.16)
10    sensus         command                   lick     with updated            version   of flexpro                                                                5            6/7/2010      7/1/2010                                                -                                    -
                                                                                                                                                                                                           6/30/2015     4,000.00       No                    (4,000.00)                                    (4,000.00)
                                                                                                                                                                    5           12/9/2010                                                              -                                    -
                                                                                                                                                                                               !/1/2011   12/31/2015     2,038.35       No                    (2.038.35)                                                         -
                                                                                                                                                                                                                                                                                                            (2,038.35)
                                                                                                                                                                    5            4/7/2011      5/1/2011    4/29/2016      1,629,55      No        (108.64)    (1,629.55)                                                         -
                                                                                                                                                                                                                                                                                                            (1,629.55)
VideoConference                                                                                                                                                     5          12/30/2011      1/1/2012   12/30/2016     3.314.98       No        (663.00)    (3,314.98)                    -
                                                                                                                                                                                                                                                                                                            (3,314.98)
Firewallasset                                                                                                                                                       5          12/30/2011      1/1/2012   12/30/2016      1,591.28      No        (318.26)    (1,591.28)                    -
                                                                                                                                                                                                                                                                                 .                          (1,591.28)
                                                                                                                                                                    5           9/14/2012     10/1/2012    9/30/2017     1,611.91       No        (322.38)    (1,370.12)               241.79               (1,611.91)
Canon         Printer                                                                                                                                               5           1/12/2015      2/1/2015    1/31/2020     5,447.82       No      (1,089.56)    (2.088.33)             3,359.49               (3,177,90)    2,269.93       (90.80)    (90.80)     (90.80)

Total     Computer                      and    Office       Equip                                                                                                                                                      27,592.92


Software
Riversoft                                                                                                                                                           5          01/19/2010      2/1/2010    1/31/2015     15.000.00                     -                                    -
                                                                                                                                                                                                                                        No                   (15,000.00)                                   (15,000.00)
Riversoft                                                                                                                                                           5          03/01/2010      3/1/2010    2/28/2015     10,000.00                     -                                    -
                                                                                                                                                                                                                                        No                   (10.000.00)                                   (10,000.00)
Riversoft                                                                                                                                                           5            3/2/2010      4/1/2010    3/31/2015     7,985.50       No             -
                                                                                                                                                                                                                                                              (7,985.50)                   -
                                                                                                                                                                                                                                                                                                            (7,985.50)
Riversoft                                                                                                                                                           5          06/24/2010      7/1/2010    6/30/2015     10,000.00      No             -                                    -
                                                                                                                                                                                                                                                             (10,000.00)                                   (10,000.00)
Riversoft                                                                                                                                                           5          08/20/2010      9/1/2010    8/31/2015      4,809.00      No             -
                                                                                                                                                                                                                                                              (4,809.00)                    -
                                                                                                                                                                                                                                                                                                            (4,809.00)
Riversoft                                                                                                                                                           5          10/04/2010     11/1/2010   10/31/2015      7,500.00      No             -
                                                                                                                                                                                                                                                              (7.500.00)                    -
                                                                                                                                                                                                                                                                                                            (7,500,00)
Riversoft                                                                                                                                                           5           10/7/2010     11/1/2010   10/31/2015    15,000.00       No             -                                    -
                                                                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                             (15.000.00)                                   (15,000,00)
Riversoft                                                                                                                                                           5          11/29/2010     12/1/2010   11/30/2015      7,500.00      No             -
                                                                                                                                                                                                                                                                                                            (7,500.00)
Rivemoft                                                                                                                                                            5          11/29/2010     12/1/2010   11/30/2015   20,000,00        No             -                                    -
                                                                                                                                                                                                                                                             (20,000.00)         .                         (20,000.00)
Riversoft                                                                                                                                                           5          11/30/2010     12/1/2010   11/30/2015      7,500.00      No             -
                                                                                                                                                                                                                                                              (7,500.00)                    -
                                                                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                            (7,500.00)
Riversoft                                                                                                                                                           5          12/31/2010      1/1/2011   12/31/2015      7.500.00      No             -
                                                                                                                                                                                                                                                              (7,500.00)                    -
                                                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                            (7,500.00)
Riversoft                                                                                                                                                           5          02/01/2011      2/1/2011    1/31/2016      7,500,00      No        (125.00)    (7,500.00)                    -
                                                                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                            (7,500.00)
Riversoft                                                                                                                                                           5          03/09/2011                  3/30/2016     37,528.75      No      (1,876.44)   (37,528.75)                    -                                    -
                                                                                                                                                                                                                                                                                                           (37,528.75)
Riversoft                                                                                                                                                           5          04/04/2011      5/1/2011    4/29/2016     20,992.50      No      (1,399.50)   (20.992.50)                    -
                                                                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                           (20,992,50)
Riversoft                                                                                                                                                           5          04/12/2011                  4/29/2016      7,500.00      No        (500.00)    (7.500.00)                    -                                    -
                                                                                                                                                                                                                                                                                                            (7,500.00)
Riversoft                                                                                                                                                           5           5/19/2011      6/1/2011    5/30/2016     7.500.00       No        (625.00)    (7.500.00)                                                         -
                                                                                                                                                                                                                                                                                                            (7,500.00)
Riversoft                                                                                                                                                           5            6/7/20\l      7/1/2011    6/29/2016   21,060,00        No      (2.106.00)   (21.060.00)                    -
                                                                                                                                                                                                                                                                                                           (21,060.00)           -




Riversoft                                                                                                                                                           5           7/22/2011      8/l/20ll    7/30/2016    21.600.00       No      (2,520.00)   (21,600.00)                       -
                                                                                                                                                                                                                                                                                                           (21,600.00)
Riversoll                                                                                                                                                           5           7/28/2011      8/1/2011    7/30/2016    21,937.50       No      (2,559.38)   (21,937.50)                       -
                                                                                                                                                                                                                                                                                                           (21,937.50)
Riversoft                                                                                                                                                           5           7/28/20\l      8/1/2011    7/30/2016   49,303.33        No      (5,752.06)   (49.303.33)                       -
                                                                                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                                           (49,303.33)
Riversoft                                                                                                                                                           5           7/28/2011      8/1/2011    7/30/2016     7,500.00       No        (875.00)    (7,500.00)                       -
                                                                                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                                            (7,500.00)
Riversoft                                                                                                                                                           5            9/8/201]     10/1/2011    9/29/2016   49.303.33        No      (7.395.50)   (49,303.33)                    -                                    -
                                                                                                                                                                                                                                                                                                           (49,303.33)
Riversoft                                                                                                                                                           5            9/8/2011     10/1/2011    9/29/2016     7,500.00       No      (1,125.00)    (7.500.00)                    -                                    -
                                                                                                                                                                                                                                                                                                            (7,500.00)
Riversoft                                                                                                                                                           5           9/30/2011     10/1/2011    9/29/2016     7,500.00       No      (1,125.00)    (7.500.00)                    -
                                                                                                                                                                                                                                                                                                            (7,500.00)           -




Riversoft                                                                                                                                                           5          10/20/2011     11/1/2011   10/30/2016     7,500.00       No      (1.250.00)    (7,500.00)                       -
                                                                                                                                                                                                                                                                                                            (7,500.00)
Riversoll                                                                                                                                                           5          10/31/2011     11/1/2011   10/30/2016   49,303.33        No      (8,217.22)   (49.303.33)                       -
                                                                                                                                                                                                                                                                                                           (49,303.33)
Riversoft                                                                                                                                                           5          10/31/2011     11/1/2011                                                                                        -
                                                                                                                                                                                                          10/30/2016     5.000.00       No        (833.33)    (5,000.00)                                    (5,000.00)
Riversoft                                                                                                                                                           5          11/30/201]     12/1/2011   11/29/2016     7.500.00       No      (1,375.00)    (7,500,00}                    -
                                                                                                                                                                                                                                                                                                            (7,500.00)
                                                                                                                                                                                                                                                                                                                                                                   Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 12 of 52




IÙ      rsoft                                                                                                                                                       5          11/30/201]     [2/1/2011                                                                                     -
                                                                                                                                                                                                          11/29/2016     7,500.00       No      (1.375.00)    (7,500.00)                                    (7,500.00)
Riversoft                                                                                                                                                           5          12/30/2011      1/1/2012                  7,500.00                                                           -
                                                                                                                                                                                                          12/30/2016                    No      (1.500.00)    (7,500.00)                                    (7,500.00)
Riversoft                                                                                                                                                           5          12/30/2011      1/1/2012                                                                                     -                                    -
                                                                                                                                                                                                          12/30/2016     5,000.00       No      (1,000.00)    (5,000.00)                                    (5,000.00)
Riversoft                                                                                                                                                           5          12/30/2011      1/1/2012   12/30/2016     7.500.00       No      (1,500.00)    (7.500.00)                       -
                                                                                                                                                                                                                                                                                                             (7,500.00)
Riversoft                                                                                                                                                           5          12/30/2011      1/1/2012   12/30/2016     6,500,00       No      (1,300.00)    (6,500.00)                       -
                                                                                                                                                                                                                                                                                                             (6,500.00)
Riversoft                                                                                                                                                           5           2/14/2012      3/1/2012    2/28/2017    17.500.00       No      (3,500.00)   (16,916.67)                583.33             (17,500.00)
                                                                                                                                                                    5                                                                                                                                                                        -
iiirsoft                                                                                                                                                                        3/19/2012      4/1/2012    3/31/2017    19,000.00       No      (3,800.00)   (18,050.00)                950.00             (19,000.00)              -                   -




DoubletakeTechnologies                                                                                                                                              5           6/21/2012      7/l/20l2    6/30/2017    10.000.00       No                                                                                       -           -          -
                                                                                                                                                                                                                                                (2,000.00)    (9.000.00)              1,000.00             (10,000.00)
DoubletakcTechnologies                                                                                                                                              5           9/17/2012     10/1/2012    9/30/2017    11.000.00       No      (2.200.00)    (9,350.00)              1,650.00                                   -           -          -
                                                                                                                                                                                                                                                                                                           (11,000.00)
Onetimefeeforinstalloforaclesofhvare(TierlSWSolutions)                                                                                                              5          10/18/2012     11/1/2012   10/31/2017     6,162.50       No      (1.232.50)                            1,027.08                                   -           -          -
                                                                                                                                                                                                                                                              (5,l35.42)                                    (6,162.50)
MeterXSofhvarcUpgrade(DoubIctakcTechnologies)                                                                                                                       5           1/12/2015      2/1/2015    1/31/2020   23.000.00        No      (4,600.00)    (8,816,67)             14,183.33             (13,416,67)    9,583.33      (383.33)   (383.33)    (383.33)
MeterX          Software                                                                                                                                            5            3/2/20\5      4/1/2015    3/30/2020    11,666.00       No      (2.333.20)    (4,083.10)         .
                                                                                                                                                                                                                                                                                     7,582.90               (6,416.30)    5,249./0      (194.43)   (194.43)    (194.43)
MeterX          Software                                                                                                                                            5            7/1/2015      8/1/2015    7/30/2020    11,666.00       No      (2.333.20)    (3,305.37)             8,360.63               (5,638.57)    6,027.43      (194.43)   (194.43)    (194.43)
MeterX          Development                                                                                                                                         5            4/8/2015      S/l/20IS    4/29/2020    11.666.00       No      (2.333,20)    (3.888.67)             7.777.33               (6.221.87)    5.444.13      (194.43)   (194.43)\   (194.43)
                                                                                                     De
                                                                                           DSepreciation ciaation
                                         Category   Description       Date Acquired                                      Cost         Sold
                                                                                                                                                                                                  Accum    Depr          NBV
Doublclake     technologics   software                            5          9/1/2015        10/1/2015   9/29/2020        5,833.00   No           (1,166.60)        (1,458   25)     4,374.75
Meter   X   form   RDX   Innovations                                                                                                                                                                 (2,624.85)     3,208.15        (97   22)        (97.22)            (97.22)
                                                                  5          7/1/20   16      8/1/2016   7/31/2021       19.200.00   No           (1.600.00)        (1,600   00)    17.600.00
Meter   X
                                                                                                                                                                                                     (5,440.00)    13,760.00       (320   00)       (320.00)           (320                                         00)
                                                                  5          5/4/2015         6/1/2015   5/30/2020       11,666.00   No           (2,333.20)        (3,694   23)     7.971.77        (6,027.43)     5,638.57       (194   43)       (194.g             (194                                       43)

TotalIncludingSoftware
                                                                                                                     2          0
                                                                                                                                               (278.752.20)    (1.216.276.40)      714,382.43   (1,459,852.58)    602,298.13

AccumulatedDepreciation
                                                                                                                                             (1,2|6,276.40)                                                                    (20,899.69)      (41,603.38)        (62,457.90)

NBV
                                                                                                                                                                                                                               581,398.45       560,694.75         539,840.23
GL
Gap                                                                                                                                                                                                                                             560,694.75
                                                                                                                                                                                                                                                       0.00    |   539.840.23
                                                                                                                                                                                                                                                                         Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 13 of 52
                                             Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 14 of 52

  Debtor                         XtraLight Manufacturing, Ltd.                                                                                                                  Case number    (Ifknown)     18-31857-H1-11
                                  Name



  43.           Total of Part                          7.                                                                                                                                                                       $505,144.00
                Add lines 39 through 42.                                       Copy      the total               to    line 86.


  44.               Is       a     depreciation schedule available for                                                any    of the property           listed    in    Part 7?
                    E            No
                    O Yes

  45.           Has any                     of the property                    listed            in   Part       7    been appraised by            a    professional within the last year?
                    E            No
                O Yes

                                 Machinery, equipment, and vehicles
46. Does the                     debtor own or lease any machinery, equipment, or vehicles?

        O No.            Go         to    Part    9.


        E   Yes Fill               in    the information                 below.

                General description                                                                                                            Net book value of                       Valuation method used           Current value of
                Include year, make, model, and identification                                                               numbers            debtor's interest                       for current   value             debtor's interest
                (i.e., VIN, HIN, or N-number)                                                                                                  (Where available)

 47.            Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

                47.1.                     Automobiles  See Fixed Asset Schedule
                                                                         -




                                          attached   Exhibit B39.as
                                          Manufacturing Division: $26,912
                                          UMS Divison: $199,916                                                                                                 $226,828.00                                                      $226,828.00




 48.            Watercraft, trailers, motors, and related accessories Examples:                                                                              Boats,     trailers, motors,
                floating homes, personal watercraft, and fishing vessels
                48.1-                     Trailers           -
                                                                 See Fixed Asset Schedule
                                          attached as Exhibit                            B39.
                                          UMS Division                                                                                                               $39,838.00                                                      $39,838.00




 49.            Aircraft                   and accessories



 50.            Other machinery, fixtures, and equipment (excluding farm
                machinery and equipment)
                Machinery and Equipment See Fixed Asset                                      -




                Schedule attached as Exhibit B39.
                Manufacturing Division: $1,346,118
                UMS Division: $13,595                                                                                                                        $1,359,713.00                                                    $1,359,713.00




 51.           Total                    of Part    8.                                                                                                                                                                     $1,626,379.00
               Add lines 47 through 50.                                       Copy       the total           to       line 87.


 52            Is        a       depreciation schedule available for                                                  any    of the property           listed   in    Part 8?
                E            No
                O Yes

 53.           Has               any       of the           property listed              in           Part   8       been appraised by         a       professional within the last year?
                E            No
               O Yes

                                 Real property

Official Form 206A/B                                                                                                 Schedule A/B Assets                 -
                                                                                                                                                             Real and Personal Property                                                     page    5


Software Copyright                (c)    1996-2018 Best          Case,       LLC   -
                                                                                       www       bestcase.com                                                                                                                 Best   Case   Bankruptcy
                                         Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 15 of 52

   Debtor                 XtraLight Manufacturing, Ltd.                                         .                                 Case number (itknown)               18-31857-H1-11
                          Name


 54. Does the              debtor own               or lease any           real property?

        E   No.    Go           to    Part   10.
        O Yes      Fill     in       the information          below.



                          Intangibles and intellectual property
 59. Does the             debtor have any interests in intangibles or intellectual property?

        O No.      Go           to    Part   11.

        E Yes      Fill     in       the information          below.

                  General               description                                                         Net book value of              Valuation method used                Current value of
                                                                                                            debtor's interest              for current        value             debtor's interest
                                                                                                            (Where available)

  60.             Patents,              copyrights, trademarks, and trade secrets
                  Versatile Lighting Units U.S. Patent No.
                  8,764,236, filed July 25, 2012, and issued July
                  1, 2014. Versatile Lighting Units U.S. Patent
                  No. 8,322,906, filed August 8, 2011, and issued
                  December                   4,    2012.
                  Fluorescent Light Fixture U.S. Patent No.
                  6,428,183, issued August 6, 2002. Systems and
                  Methods for Providing a Field Repairable Light
                  Fixture with a Housing that Dissipates Heat
                  U.S. Patent No. 9,644,829,                               issued          May 9, 2017.                         $0.00                                                          Unknown



  61.             Internet domain names and websites
                xim.com
                unswater.com                                                                                                    $0.00                                                          Uriknown



 62.            Licenses, franchises, and royalties
                See business licenses attached as                                            Exhibit
                B62.                                                                                                            $0.00                                                          Unknown




 63.          Customer lists, mailing lists,                               or other        compilations

 64.          Other intangibles, or intellectual property
              Trademarks:
              Serial No. Reg. No Word Mark
              85196762 4055255 XTRALIGHT
              MANUFACTURING
              85196743 4055254                             XTRALIGHT
              MANUFACTURING
              85196501 4048120                             XTRALIGHT
              85196470 4048119                             XTRALIGHT                                                     Unknown                                                                       $0.00




 65.          Goodwill

 66.          Total of Part 10-                                                                                                                                                                      $0.00
              Add lines 60 through 65. Copy the total                                 to    line 89.


 67.          Do your                  lists or records         include personally identifiable information              of   customers   (as defined    in   11   U.S.C.§§ 101(41A) and 107?
              E      No
              O Yes
Official Form 206A/B                                                                       Schedule A/B Assets   -
                                                                                                                     Real and Personal Property                                                       page     6


Software Copyright        (c)        1996-2018 Best   Case,    LLC   -
                                                                         www   bestcase.com                                                                                            Best   Case    Bankruptcy
  State    License Number       Name on License                                                                  State Registration                                           Classification                                                          Expiration
  AL       03802                XtraUght Manufacturing, Ltd.                                                     Xtratight Manufacturing, Ltd.                                Electrical                   Contractor                                   6/30/2018
  AL       47871                XTRALIGHT MANUFACTURING,                 LTD                                     XtraLight Manufacturing, Ltd.                                General                  Contractor                                      7/31/2018
                                XtraLight Manufacturing, Ltd., d/b/a Utility Metering                            XtraLight Manufacturing, Ltd., d/b/a Utility Metering
  AR       0204330518           Solutions                                                                        Solutions                                                    Electrical,                  Building (C&R), Specialty                   5/31/2018
  CA       996220               XTRALIGHT MANUFACTURING              LP                                          XTRALIGHT MANUFACTURING           LP                         C-36 Plumbing/C-10 Electrical                                            8/31/2018
                                                                                                                                                                              Underground Utility and Excavation
  FL       CUC1224402           Utility       Metering Solutions (UMS)                                           XTRALIGHT MANUFACTURING,          LTD                        Contractor                                                               8/31/2018
  FL       EC13008119           XTRALIGHT MANUFACTURING,                 LTD.                                    XTRALIGHT MANUFACTURING,          LTD                        Electrical                   Contractor                                  8/31/2018
  GA       EN215950             Allen Ray Kirk
                                                                                                                                                                              Electrical                   Contractor                                  6/30/2018
  GA       UC302282             X-Tra Manufacturing Partnership            Ltd
                                                                                                                                                                              Utility                                                                  4/30/2017
  KY       CE64478,   ME64370   Allen     R       KirkXTRALIGHT MANUFACTURING             LTD                    XTRAUGHT MANUFACTURING            LTD                        Electrical                                                               8/19/2019

                                                                                                                                                                              Electrical,                  Installation, Test,
  LA       54781                XTRAUGHT MANUFACTURING               PARTNERSHIP,                LTD             XTRALIGHT MANUFACTURING,          LTD                        Recalibration, and Repairof Meters                                       5/19/2019

                                XTRALIGHT MANUFACTURING              LTD,        A    TEXAS LIMITED              XtraLight Manufacturing,   LTD   DBA    Utility   Metering   Electrical,
                                                                                                                                                                                       installation of Equipment,
  MS       18941-MC             PARTNERSHIP DBA UTILITY METERING SOLUTIONS                                       Solutions                                                    Machinery, and Engines                                                    4/8/2018
                                XTRALight Manufacturing, Ltd., T/A XTRALight                                                                                                                                                -
                                                                                                                                                                              General Contractor                                 PU    (Water Lines
  NC       74004                Manufacturing Limited Partnership                                                XtraLight Manufacturing Limited Partnership                  and Sewer Lines)                                                        12/31/2017
  NC       11856-U              XtraLight Manufacturing Limited Partnership                                      XtraLight Manufacturing Limited Partnership                  Electrical                                                              11/30/2018
  ND       49528                                                     LP                                                                                                                            -
                                XTRALIGHT MANUFACTURING                                                          XTRALIGHT MANUFACTURING          LP                          Class           A        General     Contractor                           3/1/2018
  NM       382032               XTRALIGHT MANUFACTURING              LTD,        LP                              XTRALIGHT MANUFACTURING          LTD,    LP                  GS-29 Meter Replacement                                                  5/31/2020
  OH       46595                XTRALIGHT MANUFACTURING              LTD                                         XTRALIGHT MANUFACTURING,          LTD                        Electrical                                                              12/15/2019
  SC       M111746              XTRA                                 PTN         LTD                                                                                                  -
                                          LIGHT MANUFACTURING
                                                                                                                                                                              EL5             Electrical                                              10/31/2017
  SC       G118361              XTRA      UGHT MANUFACTURING         PTN         LTD                                                                                                      -
                                                                                                                                                                              WL5                 General Contractor                                  10/31/2018

                                                                                                                                                                                                       -
                                                                                                                                                                              Specialty                    Water Meter Installation
  TN       00062568             XTRA      LIGHT MANUFACTURING,           LTD                                     XTRALIGHT MANUFACTURING,          LTD                        and Lighting                   Retrofit           and Replacement        7/31/2019
  TX       28555                XTRA      LIGHT MANUFACTURING        LTD                                         XtraLight Manufacturing, Ltd.                                Electrical                                                               2/20/2018
  UT       9360566-5502         ALLEN         KIRK
                                                                                                                                                                              Master Electrician                                                      11/30/2018
                                XTRALIGHT MANUFACTURING              PARTNERSHIP                LTD    UTILITY
  VA       2705136244           METERING SOLUTIONS                                                                                                                                                                      -
                                                                                                                                                                              ClassA Contractor                                 ELE,   H/H             9/30/2018
  WI       1312564              AIIen Ray Kirk
                                                                                                                                                                              Master Electrician                                                       6/30/2018
  WV       MO82799RENCO711      ALLEN         R   KIRK
                                                                                                                                                                              Master Electrician                                                       6/30/2018




tabbles•
                                                                                                                                                                                                                                                                    Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 16 of 52
                                           Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 17 of 52

  Debtor                    XtraLight Manufacturing, Ltd.                                                                                                  Case number (irknown) 18-31857-H1-11
                            Name



  68.           Is     there an amortization or other similar schedule available for any of the property                                                            listed   in   Part 10?
                E           No
                O Yes

  69.           Has any               of the property               listed      in   Part 10 been appraised by                        a       professional within the last year?
                E           No
                O Yes


-".
 70. Does the
                            AII other

                            debtor own
                                             assets
                                                     any other assets that have not yet been reported on this form?
        Include       all    interests        in    executory contracts and unexpired leases not previously reported on this form.

        O No.        Go       to    Part    12.

        E Yes        Fill    in    the information            below.

                                                                                                                                                                                             Current value of
                                                                                                                                                                                             debtor's interest


  71.           Notes receivable
                Description (include name of obligor)

 72.            Tax refunds and unused net operating losses                                                      (NOLs)
                Description (for example, federal, state local)

 73.            Interests              in   insurance policies or annuities
                Zurich American Insurance Company, Policy Number
                CPP008628503, Building and Content Property
                Insurance                                                                                                                                                                                   Unknown



                Regions Ins. Inc Fort Smith:           -




                General Liability Insurance, Policy No. xxxxx2526;
                Automobile Liability Insurance, Policy     No. xxxx2526;
                Umbrella    Liability Insurance, Policy No. xxxx379A;
                Workers Compensation Insurance, Policy No. xxxx0136;
                Installation FIT and Leased/Rent Equipment, Policy No.
                xxxx8503                                                                                                                                                                                    Unknown




 74.            Causes of action                     against third parties (whether                               or not   a   lawsuit
                has been filed)

 75.            Other contingent and unliquidated claims or causes of action of
                every nature, including counterclaims of the debtor and rights to
                set off claims

 76.         Trusts,               equitable or future interests                            in        property

 77.         Other property of any kind not already                                                   listed Examples: Season tickets,
             country club membership

             Affiliate Receivable                             -
                                                                   Cay Capital                   LLC                                                                                                       $33,347.30




 78.         Total of Part 11.                                                                                                                                                                       $33,347.30
             Add lines                71    through 77. Copy the total                       to       line 90.


 79.         Has any                 of the        property listed             in    Part        11    been appraised by          a       professional within the last year?
                E      No
             O Yes

Official Form 206A/B                                                                              Schedule A/B Assets                     -
                                                                                                                                               Real and Personal Property                                         page    7


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                               Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 18 of 52

  Debtor             XtraLight Manufacturing, Ltd.                                                           Case number   (Ifknown)   18-31857-H1-11
                     Name




Official Form 206A/B                                                    Schedule A/B Assets   -
                                                                                                  Real and Personal Property                                          page    8


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                                Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 19 of 52

      Debtor         XtraLight Manufacturing, Ltd.                                                                                              Case number               (Ifknown)         18-31857-H1-11
                     Name



                     Summary

 In    Part 12 copy all of the totals from the earlier parts of the form
          Type of property                                                                                                  Current value           of                           Current value    of real
                                                                                                                            personal      property                               property

  80.     Cash, cash equivalents, and financial assets.
          Copy line 5, Part           1
                                                                                                                                           $118,837.95

  81.     Deposits and prepayments.                             Copy            line   9,   Part    2                                      $199,603.91

  82.     Accounts receivable.                    Copy     line           12,    Part3.                                                $4,085,686.92

  83.     Investments. CopyIine                    17, Part              4.                                                                $217,953.00

  84.     Inventory.         Copy     line 23, Part             5.                                                                     $2,376,113.00

  85.     Farming and fishing-related assets.                                      Copy       line 33, Part   6                                               $0.00

  86.     Office furniture, fixtures,                    and equipment; and collectibles.
          Copy line 43, Part 7.                                                                                                            $505,144.00

  87.     Machinery, equipment, and vehicles.                                          Copy     line 51, Part8.                        $1,626,379.00


  88.     Real property.          Copy       line 56, Part 9.........................                                             ........................>                                                   $0.00


  89.     Intangibles and intellectual property. Copy                                           line 66, Part 10                                              $0.00

 90.     AII other         assets.        Copy    line 78, Part 11.                                                 +
                                                                                                                                              $33,347.30


 91.     Total. Add lines            80 through 90 for each column                                                                $9,163,065.08                       +   91b.                               $0.00



 92.     Total   of all      property        on    Schedule AIB. Add lines 91a+91b=92                                                                                                                       $9,163,065.08




Official Form 206A/B                                                                          Schedule A/B Assets       -
                                                                                                                            Real and Personal Property                                                                       page    9



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                                                            Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 20 of 52


      Debtor name                                    XtraLight Manufacturing, Ltd.
      United States Bankruptcy                                                  Court for the:                 SOUTHERN DISTRICT OF TEXAS

      Case number                         (if        known)                    18-31857-H1-11
                                                                                                                                                                                                                                                                 O         Check    if   this    is    an

                                                                                                                                                                                                                                                                           amended filing


 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured                                                                                                                                                                          by Property                                                                    12/15

 Be     as   complete and accurate                                                as     possible.
 1.    Do    any creditors have claims                                                  secured by debtor's property?
             O No. Check this box and submit page                                                                     1    of this form                  to   the court with debtor's other schedules.                           Debtor has nothing else              to   report   on      this form.

             E      Yes.          Fill          in        all    of the information                       below.

 B                               List Creditors Who Have Secured                                                               Claims
                                                                                                                                                                                                                                      Column     A                           Column        B
  2. List         in    alphabetical order                                      all    creditors who have secured claims.                                         If   a    creditor has more than one secured
  claim,         list   the       creditor separately                                  for    each claim.                                                                          .                                              -
                                                                                                                                                                                                                                      Amount     of   claim                  Value of collateral
                                                                                                                                                                                                                                                                             that supports this
                                                                                                                                                                                                                                      Do    not deduct the value             claim
                                                                                                                                                                                                                                      of   collateral.
              ALIEF ISD TAX
  2.1
              ASSESSORICOLLECTOR                                                                                 Describe debtor's property that                                        is   subjectto       a   lien                                         $0.00                                   $0.00
              creditor's            Name
                                                                                                                 Inventory maintained                                            at GI       Circuits, 10850              W
              14051 BELLAIRE BLVD                                                                                Wilcrest                    Dr., Houston,                        Texas
              #100
              HOUSTON, TX 77083
              Creditors            mailing                 address                                               Describe the                     lien

                                                                                                                 2018 Accrued Personal                                                 Property Taxes
                                                                                                                 Is       the creditor              an        insideror          related      party?

                                                                                                                 E         No

              Creditors            email             address,             if   known                                       Yes
                                                                                                                Is        anyone           else liable on this claim?

              Date debt was incurred                                                                             A         No

                                                                                                                 O         Yes.     Fill    out      Schedule              H:   Codebtors       (Official Form 206H)
              Last           4   digits              of         account number

              Do multiple creditors have an                                                                     As         of   the petition filing                    date, the claim           is:

              interest in the same property?                                                                    Check            all that apply


              A         No                                                                                      A Contingent
              O        Specify each creditor,
                        Yes.                                                                                    E          Unliquidated
             including this creditor and its relative
             priority.                                                                                                     Disputed




             AMADA AMERICA                                                            INC                       Describe debtor's property that                                        is    subjectto   a       lien                                         $0.00                                   $0.00
             Creditor'sName                                                                                     One Amada NC Laser Cutting Machine,
                                                                                                                Model LCG3015AJ-3K Paid in Full. Lien has
             7025 FIRESTONE BLVD                                                                                not been terminated.
             BUENA PARK, CA 90621
             Creditofs             mailing                address                                               Describe the                      lien

                                                                                                                UCC LIEN
                                                                                                                Is        the creditor             an         insider or related party?
                                                                                                                E          No

             creditofs            email              address,        if        known                                      Yes
                                                                                                                Is        anyone           else liable on this claim?

             Date debt was incurred                                                                             i          No

             10/03/2017                                                                                         O         Yes.     Fill     out     Schedule               H:   Codebtors       (Official Form 206H)
             Last        4       digits              of         account number

             Do  multiple creditors have an                                                                    As         of    the petition filing                    date, the claim           is:

             interest in the same property?                                                                    Check             all that apply




Official         Form            206D                                                                     Schedule                D:       Creditors Who                         Have        Claims Secured              by   Property                                                                page   1   of   4



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                                                  Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 21 of 52

   Debtor                       XtraLight Manufacturing,                                    Ltd.                                                                                                      Case number   (if   know)       18-31857-Hi-11
                                Name



               i    No                                                                                  Contingent

               O    Yes.           Specify each creditor,                                               Unliquidated
            including               this creditor and its relative                                i     Disputed
            priority.




            BBVA COMPASS BANK                                                                    Describe debtor's property that                                     is   subject     to       a    lien                          $250,000.00                    $0.00
            Creditofs              Name
                                                                                                 Manufacturing Equipment
            2200 POST OAK BLVD
            20TH FL
            HOUSTON, TX 77056
            Creditors              mailing        address                                        Describe the                  lien

                                                                                                 Equipment Note                             D

                                                                                              Is      the creditor               an    insider        or    related party?
                                                                                                        No

            creditors             email       address,           if   known                            Yes
                                                                                             is       anyone            else liable on this claim?

            Date debt was incurred                                                               E      No

                                                                                              O        Yes.      Fill    out      Schedule       H:        Codebtors         (Official Form 206H)
            Last            4   digits       of    account number

           Do multiple creditors have an                                                     As        of    the petition filing                date, the claim                is:

           interest in the same property?                                                    Check            all that apply

            i      No                                                                                  Contingent

            O        Specify each creditor,
                   Yes.                                                                                Unliquidated
           including this creditor and its relative                                                    Disputed
           priority.




           BBVA COMPASS BANK                                                                 Describe debtor's property that                                     is       subject    to        a   lien                           $481,412.00                    $0.00
           Creditors              Name
                                                                                             Laser Cutter
           2200 POST OAK BLVD
           20TH FL
           HOUSTON, TX 77056
           Creditors              mailing         address                                    Describe the                      lien

                                                                                             Equipment Note                                 E

                                                                                             Is       the creditor               an    insider    or        related party?
                                                                                                       No

           Creditors              email      address,       if        known                            Yes
                                                                                             Is       anyone            else liable on this claim?

           Date debt was incurred                                                            E         No

                                                                                             O         Yes.     Fill     out     Schedule        H:        Codebtors         (Official Form 206H)
           Last         4       digits       of    account number

           Do  multiple creditors have an                                                   As         of    the petition filing                date, the claim               is:

           interest in the same property?                                                   Check             all that apply


           i       No
                                                                                                       Contingent

           O         Specify each creditor,
                   Yes.                                                                                Unliquidated
           including this creditor and its relative                                         O Disputed
           priority.




           BBVA COMPASS BANK                                                                Describe debtor's property that                                     is        subjectto        a       lien                      $4,300,000.00                       $0.00
           Creditofs             Name
                                                                                            Assets                 of      Debtor
           2200 POST OAK BLVD
           20TH FLOOR
           HOUSTON, TX 77056
           Creditofs             mailing      address                                       Describe the                   lien

                                                                                            Cross               Collateralized Loan
                                                                                            is        the creditor              an    insider     or       related party?
                                                                                            E          No




Official    Form                206D                                     Additional      Page of Schedule                             D:   Creditors Who                     Have         Claims Secured            by    Property                              page   2   of   4




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                                                Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 22 of 52

   Debtor                     XtraLight Manufacturing, Ltd.                                                                                                                                 Case number (ifknow)         18-31857-H1-11
                              Name


            Creditor's           email     address,                if    known                      O yes
                                                                                                is      anyone            else liable on this claim?
            Date debt was incurred                                                                  O     No

            4/23/2010                                                                               -    Yes.      Fill    out      Schedule       H:    Codebtors      (Official Form 206H)
            Last          4    digits      of    account number

            Do  multiple creditors have an                                                      As       of    the petition filing                date, the claim        is:
            interest in the same property?                                                      Check           all that apply

            i     No                                                        .
                                                                                                O contingent
            O     Yes.Specify each creditor,                                                             Unliquidated
            including this creditor and its relative                                                     Disputed
            priority.




           CRESTRON                              ELECTRONICS
  2.6
            INC                                                                                 Describe debtor's property that                                is   subjectto         a   lien                             $0.00                    $0.00
           Creditor's            Name
                                                                                                Electronic goods and merchandise bearing
                                                                                                Crestron trademark
            15VOLVO DRIVE
            ROCKLEIGH, NJ 07647
           Creditor's           mailing        address                                          Describe the                     lien

                                                                                                UCC Lien
                                                                                                Is      the creditor               an    insider or related party?
                                                                                                E        No

           Creditors            email     address,            if        known                   O yes
                                                                                                Is      anyone            else liable on this claim?

           Date debt was incurred                                                               A        No

           7/5/2013                                                                             O        Yes.     Fill     out     Schedule        H:    Codebtors     (Official Form 206H)
           Last        4      digits      of    account number

           Do  multiple creditors have an                                                       As       of    the petition filing                date, the claim        is:

           interest in the same property?                                                       Check           all that apply


           E      No                                                                            A Contingent
           O         Specify each creditor,
                  Yes.                                                                          E        Unliquidated
           including this creditor and its relative
           priority.                                                                                     Disputed




           HARRIS COUNTY, ET AL                                                                 Describe debtor's property that                                is   subject     to   a    lien                     $22,000.00                       $0.00
           Creditor's           Name                                                            Real and personal property located at 8812
           clo TARA GRUNDEMEIER                                                                 Frey Road, Houston, Texas. *All local taxes
           LINEBARGER GOGGAN                                                                   combined
           BLAIR & SAMPSON LLP
           PO BOX 3064
           HOUSTON, TX 77253-3064
           Creditofs            mailing        address                                         Describe the                     lien

                                                                                               2018 Accrued Real (Leasehold)                                                   and Personal
                                                                                               Property Taxes
                                                                                               Is       the creditor              an    insider     or    related    party?

                                                                                               E         No

           Creditor's           email     address,       if             known                  O ves
                                                                                                anyone else liable
                                                                                               is                                            on   this claim?

           Date debt was incurred                                                              i         No

                                                                                               O        Yes.     Fill     out     Schedule        H:     Codebtors     (Official Form 206H)
           Last       4       digits      of    account number

           Do multiple creditors have an                                                       As       of    the petition filing                 date, the claim       is:

           interest in the same property?                                                      Check           all that apply


           A     No                                                                            A Contingent
           O     Yes.Specify each creditor,                                                    E         Unliquidated
           including this creditor and its relative
           priority.                                                                                     Disputed




Official    Form               206D                                         Additional      Page of Schedule                            D:   Creditors Who             Have          Claims Secured      by   Property                             page   3   of4

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                                                     Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 23 of 52

      Debtor                    XtraLight Manufacturing,                                                  Ltd.                                                                                                                     Case number            (if   know)      18-31857-H1-11
                                Name




               ORBIAN FINANCIAL
      2.8
               SERVICES                             II   LLC                                                Describe debtor's property that                                              is   subjectto                 a        lien                                   Unknown                                       $0.00
               Creditors           Name
                                                                                                            Accounts or A/R owed                                                        to Debtor                  by             Siemens
                                                                                                            Industry Inc.
               200 CONNECTICUT                                                   AVE
               NORWALK, CT 06854
              Creditofs            mailing          address                                                 Describe the                        lien

                                                                                                            UCC LIEN
                                                                                                            Is        the creditor                an    insider            or    related       party?

                                                                                                            E          No

              creditofs           email         address,           if   known                               O ves
                                                                                                            Is        anyone             else liable on this claim?

              Date debt was incurred                                                                        E          No

              6/11/2010                                                                                     O         Yes.        Fill    out      Schedule           H:        Codebtors            (Official Form 206H)
              Last          4    digits        of    account number

              Do multiple creditors have an                                                                As         of    the petition filing                       date, the claim                  is:

              interest in the same property?                                                 .
                                                                                                            Check            all that apply

              E      No                                                                                     A Contingent
              O yes. Specify each creditor,                                                                 E         Unliquidated
              including            this        creditor and                its   relative
              priority.                                                                                               Disputed




              PASADENA ISD TAX
  2.9                                                                                                                                                                                                                                                                                                                 $0.00
              ASSESSOR/COLLECTOR                                                                           Describe debtor's property that                                               is   subject         to        a        lien                                           $0.00
              Creditofs           Name
                                                                                                            Real and personal property located at 8812
                                                                                                            Frey Road, Houston, Texas.
                                                                                                                                        *See Item 2.7
              2223 STRAWBERRY ROAD
              PASADENA, TX 77502
              Creditor's          mailing           address                                                Describe the                         lien

                                                                                                           2018 Accrued Real (Leasehold)                                                                     and Personal
                                                                                                           Property Taxes
                                                                                                           is     the creditor                    an    insider        or        related       party?

                                                                                                                      No

              Creditor's          email        address,       if        known                                         Yes
                                                                                                           Is     anyone                 else liable on this claim?

              Date debt was incurred                                                                       Ë          No

                                                                                                           O          Yes.        Fill    out     Schedule            H:        Codebtors        (Official Form 206H)
              Last      4       digits         of    account number

              Do  multiple creditors have an                                                               As         of    the petition filing                   date, the claim                     is:

              interest in the same property?                                                               Check             all that apply


              A    No                                                                                      A Contingent
              O    Yes.           Specify each creditor,                                                   E          Unliquidated
             including             this creditor and its relative
                                                                                                                      Disputed
             priority.




                                                                                                                                                                                                                                                                    $5,053,412.0
 3.         Total of the dollar amounts from                                         Part        1,       Column             A,     including the amounts from the Additional Page,                                                            if   any
                                                                                                                                                                                                                                                                                         0



                     List Others to Be Notified for                                                   a    Debt Already                           Listed         in    Part         1




 List in alphabetical order any others who must be notified for debt already listed                                                                a                                            in     Part        1.       Examples      of        entities that may      be   listed       are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If    no   others need                   to    notified for the debts listed                                    in    Part        1,    do      not    fill   out or submit this page.                                     If    additional pages are needed, copy this page.
               Name              and address                                                                                                                                                                                              On which line in Part   did      1Last 4 digits of
                                                                                                                                                                                                                                          you enter the related creditor?   account number for
                                                                                                                                                                                                                                                                                                  this   entity




Official       Form              206D                                       Additional                Page of Schedule                                 D:      Creditors Who                     Have              Claims Secured                      by       Property                                             page   4   of   4




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                                                       Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 24 of 52


  Debtor name                                   XtraLight Manufacturing, Ltd.
  United States Bankruptcy                                          Court for the:                SOUTHERN DISTRICT OF TEXAS

  Case number                            (if    known)              18-31857-H1-11
                                                                                                                                                                                                                                                                         O    Check   if   this       is       an

                                                                                                                                                                                                                                                                              amended filing


 Official Form 206E/F
 Schedule EIF: Creditors Who Have Unsecured Claims                                                                                                                                                                                                                                                             12/15
 Be     complete and accurate as possible. Use Part for creditors with PRIORITY unsecured claims and Part for creditors with NONPRIORITY unsecured claims.
       as                                                                                                 1                                                                                                                       2




List the other party to any executory contracts or unexpired leases that could result in      claim. Also list executory contracts on Schedule A/B: Assets Real and                 a
                                                                                                                                                                                                                                                                                                           -




Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts           and                                                                                                                                                  i




2 in the boxes  on the left. If more space is needed for Part or Part 2, fill out and attach the Additional Page of that Part included in this form.
                                                                                                                  1




B                        List AII Creditors with PRIORITY Unsecured Claims

        1.       Do     any creditors have priority unsecured claims? (See                                                       11    U.S.C.        §
                                                                                                                                                              507).

                 O     No.           Go         to    Part     2.



                 E     Yes.              Go      to    line    2.



            2.   List        in        alphabetical order                     all    creditors who have unsecured claims that are entitled                                                      to   priority        in       whole or        in   part.   If   the   debtor has more than        3    creditors
                 with        priority unsecured                      claims,         fill   out and   attach the Additional                 Page         of        Part   1.




                                                                                                                                                                                                                                                                Total claim                Priority amount

 2.1              Priority creditor's                          name and mailing address                               As    of    the       petition filing               date, the claim            is:                                                                Unknown               $0.00
                  Texas                        Comptroller of                        Public                           Checkallthatapply
                  Accounts                                                                                            E contingent
                  Revenue                             Accounting Division                                             g     Unliquidated
                  Bankruptcy Section
                                                                                                                      O Disputed
                  POBox12548
                  Austin,                        TX 78711-2548
                  Date            or      dates debt was incurred                                                     Basis for the claim:
                  March/April 2018 Sales Tax
                  Last       4         digits         of   account number                                             Is   the        claim subject                  to   offset?

                  Specify Code subsection of PRIORITY                                                                 H     No
                  unsecured claim: 11 U.S.C.  507(a) (8)                       §




                                                                                                                      O yes



                        List All Creditors with NONPRIORITY Unsecured Claims
            3.   List    in alphabetical order all of the creditors with nonpriority unsecured claims.                                                                                  If    the    debtor        has        more than       6    creditors with nonpriority unsecured                    claims,        fill

                 out    and attach the Additional Page of Part 2.
                                                                                                                                                                                                                                                                                   Amount             of       claim


 3.1             Nonpriority creditor's name and mailing address                                                                                As            of    the petition filing              date, the claim                  is:   Checkallthatappe                                           $5,642.00
                 A &   PLASTICS  C                                                                                                              O contingent
                 6135 NORTHDALE                                                                                                                 O Unliquidated
                 HOUSTON, TX 77087-5034                                                                                                         O Disputed
                 Date(s)                 debt was incurred
                                                                                                                                                Basis for the claim:
                 Last        4     digits of account number
                                                                                                                                                Is   the            claim subject        to    offset?        A          No             Yes


 3.2             Nonpriority creditor's name and mailing address                                                                                As        of        the petition filing              date, the claim                  is:   Checkallthatappy                                           $1,770.00
                 A.A.G. STUCCHI NORTH AMERICA                                                                                                   O contingent
                 5080 NORTH ROYAL ATLANTA DRIVE                                                                                                 O Unliquidated
                 TUCKER, GA 30084                                                                                                       :
                                                                                                                                                O Disputed
                 Date(s)                 debt was incurred -
                                                                                                                                                Basis forthe                   claim:
                 Last        4     digits             of      account number
                                                                                                                                                is       the        claim subject        to    offset?        A          No             Yes




Official Form 206E/F                                                                                          Schedule EIF: Creditors Who Have Unsecured Claims                                                                                                                                            page       1   of     19


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                                        Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 25 of 52
  Debtor           XtraLight Manufacturing,                                  Ltd.                                                                  Case number        (if     known)          18-31857-H1-11
                   Name


  3.3        Nonpriority creditor's name and mailing address                                            As        of   the petition filing          date, the claim         is:    Checkallthatapply                   Unknown
            AARON DANIEL GADD
            clo ADAM J SHAFRAN                                                                              E contingent
            RUDOLPH FRIEDMANN LLP                                                                           E     Unliquidated
            92 STATE STREET                                                                                 g     Disputed
            BOSTON, MA 02109
                                                                                                        Basis for the claim:                     WAGE CLAIM LITIGATION
            Date(s)                debt was incurred
            Last         4     digits of account number _                                               is      the    claim subject    to       offset?   E   No             Yes



  3.4       Nonpriority creditor's name and mailing address                                             As        of   the petition filing          date, the claim         iS:    Checkallthstapply                         $297.73
            ABATIX CORP.                                                                                    O contingent
            PO BOX 671202                                                                                   O Unliquidated
            DALLAS, TX 75267-1202                                                                                 Disputed
            Date(s)                debt was incurred -
                                                                                                        Basis for the claim:
            Last         4     digits    of    account number
                                                                                                        is      the    claim subject    to       offset?   E   No            Yes


  3.5       Nonpriority creditor's name and mailing address                                             As       of    the petition filing          date, the claim     is:       Checkallthstapply                          $648.00
            ALKOTE INC.                                                                                 O contingent
            13 FARRELL                             ST.                                                  O Unliquidated
            HOUSTON, TX 77022                                                                                    Disputed
            Date(s)                debt was incurred -
                                                                                                        Basis for the claim:                 ¯
            Last       4      digits     of    account number
                                                                                                        Is      the    claim subject   to       offset?    E   No            Yes


 3.6        Nonpriority creditor's name and mailing address                                            As        of    the petition filing          date, the claim     is:       Checkallthstapply                    $1,843.79
            ALL AMERICAN GASKET                                                                         O contingent
            291 HOWARD                              STREET                                              O Unliquidated
            BROCKTON,                              MA 02302                                             O Disputed
            Date(s)                debt was incurred -
                                                                                                        Basis for the claim: ¯
            Last     4        digits    of    account number
                                                                                                        Is      the    claim subject   to       offset?    E   No            Yes


 3.7        Nonpriority creditor's name and mailing address                                            As        of    the petition filing          date, the claim     is:       Checkallthatapply                          $166.37
            ALLIED ELECTRONICS INC.                                                                     O contingent
            7151 JACK NEWELL BLVD.                                          S                           O Unliquidated
            FORT WORTH, TX 76118                                                                                 Disputed
            Date(s)                debt was incurred
                                                                                                       Basis for the claim:
            Last     4       digits     of    account number
                                                                                                       is       the    claim subject   to       offset?    E   No            Yes



 3.8        Nonpriority creditor's name and mailing address                                            As        of    the petition filing         date, the claim     is:        Checkallthatapply                   $42,448.70
           ALMECO USA                                                                                  O contingent
            1610 SPECTRUM                                DR-                                           O Unliquidated
            LAWRENCEVILLE,                                GA 30043                                               Disputed
           Date(s)                 debt was incurred -
                                                                                                       Basis forthe claim:                  ¯
           Last      4       digits of account number ¯
                                                                                                       Is    the       claim subject   to    offset?       E   No           Yes
                                                                                                                                                                                    ^




 3.9       Nonpriority creditor's name and mailing address                                             As        of the petition filing date, the claim                is:        Checkallthatapply                          $617.76
           ALP                                                                                         O contingent
           PO BOX 95023                                                                                O Unliquidated
           PALATINE,                          IL   60095-0023                                          O Disputed
           Date(s) debt was incurred -
                                                                                                       Basis for the claim:
           Last    4         digits of account number
                                                                                                       Is    the       claim subject   to    offset?       E   No           Yes




Official Form 206 E/F                                                                  Schedule EIF: Creditors Who Have Unsecured Claims                                                                               Page     2   of   19


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                                        Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 26 of 52

  Debtor           XtraLight Manufacturing, Ltd.                                                                                              Case number (ifknown)                     18-31857-H1-11
                   Name


  3.10      Nonpriority creditor's name and mailing address                                            As        ofthe petition filing date, the claim               is:    Checkellthatapply                    Unknown
            ANTHONY NORMAN
                                                                                                           E contingent
            clo ADAM J SHAFRAN
            RUDOLPH FRIEDMANN LLP                                                                          E     Unliquidated
            92 STATE STREET                                                                                -     Disputed
            BOSTON, MA 02109
                                                                                                       Basisfortheclaim: WAGE CLAIM LITIGATION
            Date(s)                debt was incurred

            Last              digits     of   account number _                                         Is      the    claim subject    to   offset?   E   No              Yes
                         4




  3.11      Nonpriority creditor's name and mailing address                                            As        of   the petition filing      date, the claim       is:    Checkallthstapply                   $14,920.00
            ARROW ELECTRONICS                                                                          O contingent
            2901 WILCREST, SUITE                                       120                             O Unliquidated
            HOUSTON, TX 77042                                                                          O Disputed
            Date(s)                debt was incurred -
                                                                                                       Basis for the claim:
            Last        4     digits     of   account number
                                                                                                       Is      the    claim subject   to    offset?   E   No              Yes



            Nonpriority creditor's name and mailing address                                           As         of   the petition filing      date, the claim      is:     Checkallthatapply                    $2,652.87
            BADGER METER                                                                               O contingent
            BOX 88223                                                                                  O Unliquidated
            MILWAUKEE,                          WI   53288-0223                                        O Disputed
            Date(s)                debt was incurred -
                                                                                                       Basis for the claim:
            Last        4     digits    of    account number
                                                                                                       Is      the    claim subject   to    offset?   E   No          Yes



 3.13       Nonpriority creditor's name and mailing address                                           As        of    the petition filing      date, the claim      is:     Checkallthatapply                    $7,052.64
            BEST LIGHTING PRODUCTS                                                                     O contingent
            1213 ETNA PARKWAY                                                                          O Unliquidated
            PATASKALA, OH 43062                                                                                  Disputed
            Date(s)                debt was incurred -
                                                                                                      Basis for the claim:
            Last     4        digits    of    account number                                                                                          -        -
                                                                                                      Is       the    claim subject   to    offset?   -   No   LJ     Yes



 3.14       Nonpriority creditor's name and mailing address                                           As        of    the petition filing      date, the claim      is:     Checkallthatapply                          $596.89
            BLACKLAND PRECISION HARDWARE                                                              O contingent
            1700 BRYANT DR., SUITE 208                                                                O Unliquidated
            ROUND ROCK, TX 78664-3899                                                                           Disputed
            Date(s)                debt was incurred -
                                                                                                      Basis for the claim:
            Last     4       digits     of    account number
                                                                                                      Is       the    claim subject   to    offset?   E   No   O      Yes



           Nonpriority creditor's name and mailing address                                            As        of    the petition filing      date, the claim      is:     Checkallthatapply                          $177.27
            BR WELDING SUPPLY, LLC                                                                    O contingent
            125 THRUWAY PARK                                                                          O Unliquidated
            BROUSSARD, LA 70518-3602                                                                  O Disputed
           Date(s)                 debt was incurred _
                                                                                                      Basis for the claim:
           Last      4       digits     of    account number
                                                                                                      Is       the    claim subject   to    offset?   E   No          Yes


           Nonpriority creditor's name and mailing address                                            As        of    the petition filing      date, the claim      is:     Checkallthatapply                   $10,000.00
           BRIOS MEDIA                                                                                O contingent
           715 WILDFLOWER RIDGE                                         RD                            O Unliquidated
           WAKE FOREST, NC 27587                                                                      O Disputed
           Date(s)                 debt was incurred -
                                                                                                      Basis for the claim:
           Last     4        digits     of    account number
                                                                                                      Is       the    claim subject   to    offset?   E   No   O yes




Official Form 206 E/F                                                                 Schedule ElF: Creditors Who Have Unsecured Claims                                                                          Page     3   of   19


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                                                Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 27 of 52

  Debtor           XtraLight Manufacturing,                                      Ltd.                                                                  Case number (ifknown)                     18-31857-H1-11
                   Name


  3.17       Nonpriority creditor's name and mailing address                                                  As     of    the petition filing          date, the claim    ÍS:        Checkallthatapply                  $59,143.02
             CASNER & EDWARDS                                                                                 O contingent
             303 CONGRESS STREET                                                                              O Unliquidated
             BOSTON, MA 02210                                                                                            Disputed
             Date(s)                   debt was incurred -
                                                                                                              Basis for the claim:
             Last           4         digits    of       account number ¯
                                                                                                              Is    the    claim subject       to    offset?   E    No          Yes


  3.18       Nonpriority creditor's name and mailing address                                                  As     of    the petition filing          date, the claim    is:    Checkallthatapply                       Unknown
            CHERYL ROBINSON
                                                                                                              M contingent
            clo ADAM J SHAFRAN
            RUDOLPH FRIEDMANN LLP                                                                             E      Unliquidated
            92 STATE STREET                                                                                   g      Disputed
            BOSTON, MA 02109
                                                                                                          Basisfortheclaim: WAGE CLAIM LITIGATION
            Date(s)                    debt was incurred

            Last         4        digits        of       account number _                                     Is    the claim       subject    to   offset?    E   No           Yes



  3.19      Nonpriority creditor's name and mailing address                                               As         of    the petition filing          date, the claim    is:    Checkallthstappy                        Unknown
            CHRISTIAN HOWELL
            clo ADAM J SHAFRAN                                                                                E contingent
            RUDOLPH FRIEDMANN LLP                                                                             E      Unliquidated
            92 STATE STREET                                                                                   -      Disputed
            BOSTON, MA 02109
                                                                                                          Basis forthe claim:                       WAGE CLAIM LITIGATION
            Date(s)                   debt was incurred _

            Last         4       digits         of   account number _                                     Is       the     claim subject       to   offset?    E   No           Yes



  3.20      Nonpriority creditor's name and mailing address                                               As         of    the petition filing          date, the claim   iS:     Checkallthatappy                              $695.80
            COBURN'S WHOLESALE DISTRIBUTORS                                                               O contingent
            PO BOX 99001                                                                                             Unliquidated
            DENHAM SPRINGS, LA 70727                                                                                 Disputed
            Date(s)                   debt was incurred _
                                                                                                          Basis for the claim:
            Last        4        digits        of    account number
                                                                                                          is       the     claim subject      to    offset?    E   No       Yes


 3.21       Nonpriority creditor's name and mailing address                                              As          of    the petition filing         date, the claim    is:     Checkallthatappo                        $1,000.00
            CONSOLIDATED METAL PRODUCTS                                                                   O contingent
            FLACK GLOBAL METALS                                                                           O Unliquidated
            PO BOX 71785
                                                                                                                     Disputed
            CHICAGO,                                IL    60694-1785
                                                                                                         Basis for the claim:
            Date(s)                   debt was incurred

            Last     4          digits         of    account number _                                    Is        the    claim subject       to    offset?    E   No       Yes



 3.22       Nonpriority creditor's name and mailing address                                              As         of    the petition filing          date, the claim    is:     Checkallthatapp¥                        $2,326.06
            CONSOLIDATED PIPE AND SUPPLY                                                                 O contingent
            DEPT. 3147                                                                                              Unliquidated
            PO BOX 2153
                                                                                                                    Disputed
            BIRMINGHAM,                                    AL 35287-3147
                                                                                                         Basis for the claim:
           Date(s)                    debt was incurred

           Last      4          digits         of    account number _                                    Is        the    claim subject       to    offset?    E   No       Yes



 3.23      Nonpriority creditor's name and mailing address                                               As         of    the petition filing          date, the claim    is:     Checkallthatapply.                     $89,828.80
           CORPORATE UNICORN LIMITED                                                                     O contingent
           EDF. COMERCIAL SI TOl J8                                                                      O Unliquidated
           AVENIDA DA PRAIA GRANDE NO.619                                                                           Disputed
           MACAU
                                                                                                         Basis for the claim:
           Date(s)                    debt was incurred _

           Last     4           digits         of    account number _                                    Is        the    claim subject       to    offset?    E   No      Yes




Official Form 206 E/F                                                                    Schedule EIF: Creditors Who Have Unsecured Claims                                                                                Page     4   of   19


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                                        Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 28 of 52

  Debtor           XtraLight Manufacturing,                             Ltd.                                                                Case number (ifknown)                      18-31857-H1-11
                   Name


  3.24       Nonpriority creditor's name and mailing address                                          As     of   the petition filing         date, the claim       is:    Checkallthatapply                     $8,699.87
            CUSTOM ALUMINUM PRODUCTS,INC.                                                             O contingent
            500 DIVISION STREET                                                                       O Unliquidated
            SOUTH ELGIN, IL 60177                                                                            Disputed
            Date(s)                debt was incurred
                                                                                                      Basis for the claim:
            Last         4     digits    of   account number
                                                                                                      Is    the   claim subject      to    offset?   E    No             Yes


  3.25      Nonpriority creditor's name and mailing address                                       As         of   the petition filing         date, the claim       is:    Checkallthatapply                          $203.46
            D.  ROBERTS
                   B.                                                                                 O contingent
            PO BOX 840019                                                                             O Unliquidated
            DALLAS, TX 75284-0019                                                                            Disputed
            Date(s)                debt was incurred _
                                                                                                  Basis forthe              claim:
            Last         4     digits    of   account number
                                                                                                  Is       the    claim subject      to   offset?    E   No              Yes


  3.26      Nonpriority creditor's name and mailing address                                       As         of   the petition filing         date, the claim       is:    Checkallthatapply                    Unknown
            DAVID M WENDOWSKI
                                                                                                      E contingent
            clo ADAM J SHAFRAN
            RUDOLPH FRIEDMANN LLP                                                                     E      Unliquidated
            92 STATE STREET                                                                       g          Disputed
            BOSTON, MA 02109
                                                                                                  Basisfortheclaim: WAGE CLAIM LITIGATION
            Date(s)                debt was incurred

            Last         4    digits    of    account number _                                    Is       the    claim subject      to   offset?    E   No    O yes


  3.27      Nonpriority creditor's name and mailing address                                       As         of   the petition filing        date, the claim       is:     Checkallthatapply                          $264.50
            DAYLIGHT TRANSPORT, LLC.                                                              O contingent
            PO BOX 93155                                                                          O Unliquidated
            LONG BEACH, CA 90809                                                                  O Disputed
            Date(s)                debt was incurred -
                                                                                                  Basis for the claim:
            Last       4      digits    of    account number
                                                                                                  is       the    claim subject      to   offset?    E   No              Yes


 3.28       Nonpriority creditor's name and mailing address                                      As          of   the petition filing        date, the claim       is:     Checkallthatapply                          $112.00
            DEL'S PLATING WORKS                                                                   O contingent
            8736 SCHUMACHER LANE                                                                  O Unliquidated
            HOUSTON, TX 77063                                                                     O Disputed
            Date(s)                debt was incurred -
                                                                                                 Basis for the claim:
            Last     4       digits     of    account number
                                                                                                 is        the    claim subject   to      offset?    E   No          Yes


 3.29       Nonpriority creditor's name and mailing address                                      As         of    the petition filing        date, the claim       is:     Checkallthatapply                    Unknown
           DERRICK DAVIES
                                                                                                 E contingent
           clo ADAM J SHAFRAN
           RUDOLPH FRIEDMANN LLP                                                                 E          Unliquidated
           92 STATE STREET                                                                       -          Disputed
           BOSTON, MA 02109
                                                                                                 Basis for the claim:                     WAGE CLAIM LITIGATION
           Date(s)                 debt was incurred

           Last      4       digits     of    account number _                                   is        the    claim subject   to      offset?    E   No    Ü     Yes



 3.30      Nonpriority creditor's name and mailing address                                       As         of    the petition filing        date, the claim       is:     Checkallthatapply                   Unknown
           DIANN STAFFORD
                                                                                                 A contingent
           clo ADAM J SHAFRAN
           RUDOLPH FRIEDMANN LLP                                                                 A Unliquidated
           92 STATE STREET                                                                       g          Disputed
           BOSTON, MA 02109
                                                                                                 Basis forthe claim:                      WAGE CLAIM LITIGATION
           Date(s)                 debt was incurred

           Last    4         digits     of    account number _                                   Is        the    claim subject   to      offset?    E   No         Yes




Official Form 206 E/F                                                            Schedule EIF: Creditors Who Have Unsecured Claims                                                                              Page     5   of   19


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                                        Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 29 of 52

  Debtor           XtraLight Manufacturing,                             Ltd.                                                               Case number        (if     known)          18-31857-H1-11
                   Name


  3.31       Nonpriority creditor's name and mailing address                                          As     of   the petition filing       date, the claim         is:    Checkallthatapply                    $3,289.58
             DIGI-KEY CORPORATION                                                                     O contingent
             701 BROOKS AVENUE SOUTH                                                                         Unliquidated
             THIEF RIVER FALLS, MN 56701                                                                     Disputed
             Date(s)               debt was incurred _
                                                                                                      Basis for the claim:
             Last        4     digits    of   account number
                                                                                                      Is    the   claim subject    to    offset?   A   No             Yes


  3.32      Nonpriority creditor's name and mailing address                                       As         of   the petition filing       date, the claim         is:    Checkallthatapply                   Unknown
            DREW TAYLOR FRENETTE
            clo ADAM J SHAFRAN                                                                        E contingent
            RUDOLPH FRIEDMANN LLP                                                                     M Unliquidated
            92 STATE STREET                                                                           g      Disputed
            BOSTON, MA 02109
                                                                                                  Basis for the claim:                  WAGE CLAIM LITIGATION
            Date(s)                debt was incurred _

            Last         4     digits    of   account number _                                    Is       the    claim subject    to   offset?    E   No    O ves


  3.33      Nonpriority creditor's name and mailing address                                       As         of   the petition filing       date, the claim     is:       Checka/Ithstapply                          $271.00
            ENCAPSULITE                                                                           O contingent
            PO BOX 1086                                                                           O Unliquidated
            ROSENBERG, TX                              77471                                      O Disputed
            Date(s)                debt was incurred _
                                                                                                  Basis for the claim:
            Last         4    digits     of   account number
                                                                                                  is       the    claim subject   to    offset?    E   No    O ves

  3.34      Nonpriority creditor's name and mailing address                                      As          of   the petition filing      date, the claim      is:       Checkallthatapply                           $21.58
            ENGINEERED PRODUCTS CO.                                                               O contingent
            5401 SMETANA DRIVE                                                                    O Unliquidated
            MINNETONKA, MN 55343                                                                             Disputed
            Date(s)                debt was incurred _
                                                                                                  Basis forthe claim:
            Last     4        digits    of    account number
                                                                                                  is       the    claim subject   to    offset?    A   No            Yes


 3.35       Nonpriority creditor's name and mailing address                                      As         of    the petition filing      date, the claim      is:       Checkallthatapply                    $6,011.50
            ESPEN TECHNOLOGY                                                                      O contingent
            12257 FLORENCE AVENUE                                                                 O Unliquidated
            SANTA FE SPRINGS, CA 90670                                                            O Disputed
            Date(s)                debt was incurred -
                                                                                                 Basis forthe claim:
            Last     4       digits     of    account number
                                                                                                 is        the    claim subject   to    offset?    A   No            Yes


 3.36       Nonpriority creditor's name and mailing address                                      As         of    the petition filing      date, the claim     is:        Checkallthatapply                          $874.02
            ESQUIRE WIRE INC.                                                                    O contingent
            2624 MADISON STREET                                                                  O Unliquidated
            CLARKSVILLE, TN 37043                                                                           Disputed
            Date(s)                debt was incurred _
                                                                                                 Basis forthe claim:
            Last     4       digits     of    account number
                                                                                                 Is        the    claim subject   to    offset?    E   No           Yes



 3.37      Nonpriority creditor's name and mailing address                                       As         of    the petition filing      date, the claim     is:        Checkallthatapply                    $8,750.00
            EXCERGY                                                                              O contingent
           3773 CHERRY CREEK NORTH DRIVE                                                         O Unliquidated
           SUITE 575                                                                             O          Disputed
           DENVER, CO 80209
                                                                                                 Basis for the claim:
           Date(s)                 debt was incurred
                                                                                                           the    claim subject   to    offset?    E   No           Yes
           Last      4       digits     of    account number _                                   Is




Official Form 206 E/F                                                            Schedule EIF: Creditors Who Have Unsecured Claims                                                                             Page     6   of   19


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                                        Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 30 of 52

  Debtor           XtraLight Manufacturing,                                   Ltd.                                                                Case number        (if     known)                  18-31857-H1-11
                   Name


  3.38       Nonpriority creditor's name and mailing address                                                 As     of    the petition filing      date, the claim         is:    Checkallthatapply                                 $321.13
            FEDEX FREIGHT                                                                                    O contingent
            DEPT CH                                                                                          O Unliquidated
            PO BOX 10306
                                                                                                                    Disputed
            PALATINE, IL 60055-0306
                                                                                                             Basis for the claim:
            Date(s)                debt was incurred _

            Last         4     digits    of   account number _                                               is    the   claim subject    to    offset?   E    No            Yes


  3.39      Nonpriority creditor's name and mailing address                                              As         of   the petition filing       date, the claim         is:    Checkallthatapply                                  $74.10
            FERGUSON ENTERPRISES                                                                             O contingent
            PO BOX 100286                                                                                    O Unliquidated
            ATLANTA, GA 30384-0286                                                                                  Disputed
            Date(s)                debt was incurred _
                                                                                                             Basis for the claim:
            Last         4     digits    of   account number
                                                                                                         is       the    claim subject    to   offset?    E   No             Yes


    40      Nonpriority creditor's name and mailing address                                              As         of   the petition filing       date, the claim         is:    Check   all that    apply                   $1,253.05
            FULHAM CO.,                          INC.                                                        O contingent
            PO BOX 845686                                                                                    O Unliquidated
            LOS ANGELES, CA 90084-5686                                                                              Disputed
            Date(s)                debt was incurred -
                                                                                                         Basis for the claim:
            Last         4    digits    of    account number ¯
                                                                                                         Is       the    claim subject    to   offset?    E   No            Yes


  3.41      Nonpriority creditor's name and mailing address                                              As         of   the petition filing      date, the claim      is:       Checkallthatapply                       $229,064.97
            FUTURE ELECTRONICS                                                                           O contingent
            11451 KATY FRWY                                                                              O Unliquidated
            SUITE 201                                                                                    O Disputed
            HOUSTON, TX 77079
                                                                                                         Basis for the claim:
            Date(s)                debt was incurred

            Last     4        digits    of    account number _                                           Is       the    claim subject   to    offset?    E   No            Yes



    42      Nonpriority creditor's name and mailing address                                             As         of    the petition filing      date, the claim      is:       Checkallthatapply                           $10,306.90
            GE LIGHTING                                                                                  O contingent
            PO BOX 846298                                                                                O Unliquidated
            DALLAS, TX 75284-6298                                                                                   Disputed
            Date(s)                debt was incurred -
                                                                                                        Basis for the claim:
            Last     4       digits     of    account number 5800
                                                                                                        Is        the    claim subject   to    offset?    E   No    O yes

    43      Nonpriority creditor's name and mailing address                                             As         of    the petition filing      date, the claim     is:        Checkallthatapply                                  $57.60
           GE LIGHTING SOLUTIONS LLC                                                                    O contingent
           PO BOX 406085                                                                                O Unliquidated
           ATLANTA, GA 30384-2084                                                                                  Disputed
           Date(s)                 debt was incurred -
                                                                                                        Basis for the claim:
           Last      4       digits     of    account number
                                                                                                        Is        the    claim subject   to    offset?    E   No            Yes


 3.44      Nonpriority creditor's name and mailing address                                              As         of    the petition filing      date, the claim     is:        Checkallthstapply                           $46,727.30
           GI CIRCUITS, INC-                                                                            O contingent
           10850 S. WILCREST DRIVE                                                                      O Unliquidated
           SUITE 100
                                                                                                                   Disputed
           HOUSTON, TX 77099
                                                                                                        Basis for the claim:
           Date(s)                 debt was incurred

           Last      4       digits     of    account number _                                          Is        the    claim subject   to    offset?    E   No           Yes




Official Form 206 E/F                                                                   Schedule ElF: Creditors Who Have Unsecured Claims                                                                                     Page    7   of   19

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                                        Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 31 of 52

  Debtor           XtraLight Manufacturing,                              Ltd.                                                             Case number (ifknown)                        18-31857-H1-11
                   Name


            Nonpriority creditor's name and mailing address                                         As     of   the petition filing         date, the claim       is:    Checkallthatapply                              $56.00
            GRAINGER                                                                                    O contingent
            DEPT. 804222032                                                                             O Unliquidated
            PO BOX 419267                                                                               O Disputed
            KANSAS CITY, MO 64141-6267
                                                                                                    Basis for the claim:
            Date(s)                debt was incurred

            Last         4     digits    of   account number _                                      is    the   claim subject      to   offset?   E   No               Yes



  3.46      Nonpriority creditor's name and mailing address                                         As     of   the petition filing         date, the claim       is:    Checkallthatapply                             $108.28
            GREEN'S BLUE FLAME GAS CO, INC                                                          O contingent
            PO BOX 40423                                                                            O Unliquidated
            HOUSTON, TX 77240-0423                                                                  O Disputed
            Date(s)                debt was incurred -
                                                                                                    Basis for the claim:
            Last         4     digits    of   account number
                                                                                                    Is   the    claim subject      to   offset?   E   No     O         Yes



  3.47      Nonpriority creditor's name and mailing address                                         As     of   the petition filing        date, the claim       is:     Checkallthatapply                       $1,097.42
            GRIPPLE                                                                                 O contingent
            1611 EMILY LANE                                                                         O Unliquidated
            AURORA, IL 60502                                                                        O Disputed
            Date(s)                debt was incurred -
                                                                                                    Basis for the claim:
            Last       4      digits    of    account number
                                                                                                    is   the    claim subject     to    offset?   E   No     O     Yes



 3.48       Nonpriority creditor's name and mailing address                                        As      of   the petition filing        date, the claim       is:     Checkallthatapply                       Unknown
            HERBERT WILKINSON
                                                                                                    M contingent
            clo ADAM J SHAFRAN
            RUDOLPH FRIEDMANN LLP                                                                   E      Unliquidated
            92 STATE STREET                                                                         g      Disputed
            BOSTON, MA 02109
                                                                                                   Basisfortheclaim:                    WAGE CLAIM LITIGATION
            Date(s)                debt was incurred

            Last     4        digits    of    account number _                                     is    the    claim subject     to    offset?   E   No           Yes



 3.49       Nonpriority creditor's name and mailing address                                        As     of    the petition filing        date, the claim       is:     Checkallthstapply                       $2,120.50
            IDEAL INDUSTRIES, INC.                                                                 O contingent
            PO BOX 92803                                                                            O Unliquidated
            CHICAGO, IL 60675-2803                                                                         Disputed
            Date(s)                debt was incurred
                                                                                                   Basis for the claim:
            Last     4       digits     of    account number
                                                                                                   is    the    claim subject     to    offset?   E   No           Yes



 3.50      Nonpriority creditor's name and mailing address                                         As     of    the petition filing        date, the claim       is:     Checkallthatapply                      $94,350.00
            ILLUMINATION CASUALTY CORP                                                             O contingent
           8812 FREY ROAD                                                                          O Unliquidated
            HOUSTON, TX 77034                                                                             Disputed
           Date(s)                 debt was incurred -
                                                                                                   Basis forthe          claim:         Pro rata premiums                    for   3   months   (estimate)
           Last      4       digits     of    account number
                                                                                                   Is    the    claim subject     to    offset?   E   No           Yes



           Nonpriority creditor's name and mailing address                                         As     of    the petition filing        date, the claim       is:     Checkallthatapply               $1,650,000.00
           ILLUMINATION CASUALTY CORP                                                              O contingent
           8812 FREY ROAD                                                                          O Unliquidated
           HOUSTON, TX 77034                                                                              Disputed
           Date(s)                 debt was incurred -
                                                                                                   Basis forthe          claim:         Loan
           Last    4         digits     of    account number
                                                                                                   Is    the    claim subject     to    offset?   E   No           Yes




Official Form 206 E/F                                                              Schedule EIF: Creditors Who Have Unsecured Claims                                                                             Page     8   of   19


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                                        Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 32 of 52

  Debtor           XtraLight Manufacturing, Ltd.                                                                                            Case number         (if     known)          18-31857-H1-11
                   Name


  3.52      Nonpriority creditor's name and mailing address                                             As     of   the petition filing       date, the claim         is:    Checkallthatappy             $1,200,000.00
            ILLUMINATION CASUALTY CORP                                                                  O contingent
            8812 FREY ROAD                                                                              O Unliquidated
            HOUSTON, TX 77034                                                                           O Disputed
            Date(s)                debt was incurred -
                                                                                                        Basis for the claim:               Loan
            Last         4     digits    of   account number
                                                                                                    Is       the    claim subject    to   offset?   E   No     O yes

  3.53      Nonpriority creditor's name and mailing address                                         As         of   the petition filing       date, the claim         is:    Checkallthstappe                    $18,620.00
            INTEGRITY PLUMBING                                                                          O contingent
            12018 REATA                                                                             O Unliquidated
            RICHMOND,                          TX 77469                                                 O Disputed
            Date(s)                debt was incurred -
                                                                                                    Basis for the claim:
            Last         4    digits of account number
                                                                                                    is       the    claim subject   to    offset?   E   No              Yes


  3.54      Nonpriority creditor's name and mailing address                                         As         of   the petition filing       date, the claim         is:    Checkallthatappy                     $3,400.00
            INTERTEK TESTING SERVICES                                                               O contingent
            P.O. BOX 405176                                                                         O Unliquidated
            ATLANTA,  GA 30384-5176                                                                 O Disputed
            Date(s)                debt was incurred -
                                                                                                    Basis for the claim:
            Last       4      digits    of    account number -
                                                                                                    Is       the claim subject      to    offset?   E   No              Yes


 3.55       Nonpriority creditor's name and mailing address                                        As         of    the petition filing      date, the claim      is:        Checkallthatappy                     $8,346.87
            INVENTRONICS USA, INC.                                                                  O contingent
            2825 S. TULSA AVENUE                                                                    O Unliquidated
            OKLAHOMA CITY, OK 73108                                                                 O Disputed
            Date(s)                debt was incurred -
                                                                                                   Basis forthe claim:
            Last     4        digits    of    account number
                                                                                                    is       the    claim subject   to    offset?   E   No             Yes


 3.56       Nonpriority creditor's name and mailing address                                        As         of    the petition filing      date, the claim      is:       Checkallthatapply                           $48.00
            IOTA ENGINEERING                                 CO.                                    O contingent
            PO BOX 11846                                                                            O Unliquidated
            TUCSON, AZ 85734                                                                        O Disputed
            Date(s)                debt was incurred
                                                                                                   Basis for the claim: ¯
            Last     4       digits     of    account number
                                                                                                   Is        the    claim subject   to    offset?   E   No             Yes


 3.57       Nonpriority creditor's name and mailing address                                        As         of    the petition filing      date, the claim      is:       Checkallthstapply            $12,000,000.00
           ISRAEL APONTE                                                                            -         contingent
           clo ADAM J SHAFRAN
                                                                                                   E          Unliquidated
           RUDOLPH FRIEDMANN LLP
           92 STATE STREET                                                                         E          Disputed

            BOSTON, MA 02109                                                                       Basis forthe claim:                    WAGE CLAIM LITIGATION CLAIM AMOUNT IS             -




           Date(s)                 debt was incurred _                                             INCLUSIVE OF ALL CLAIMANTS                           IN THE LITIGATION.

           Last      4       digits     of    account number-                                      Is        the    claim subject   to    offset?   E   No             Yes



 3.58      Nonpriority creditor's name and mailing address                                         As         of    the petition filing      date, the claim     is:        Checkallthatapply                    Unknown
           JACK ROSE
                                                                                                   E contingent
           clo ADAM J SHAFRAN
           RUDOLPH FRIEDMANN LLP                                                                   E Unliquidated
           92 STATE STREET                                                                         E          Disputed
           BOSTON, MA 02109
                                                                                                   Basis forthe claim:                    WAGE CLAIM LITIGATION
           Date(s)                 debt was incurred

                             digits                                                                      the claim subject          to    offset?   E   No             Yes
           Last    4                    of    account number _                                     is




Official Form 206 E/F                                                              Schedule ElF: Creditors Who Have Unsecured Claims                                                                              Page    9   of   19


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                                        Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 33 of 52

  Debtor           XtraLight Manufacturing, Ltd.                                                                                            Case number         (if     known)          18-31857-H1-11
                   Name


  3.59      Nonpriority creditor's name and mailing address                                         As       of   the petition filing         date, the claim         is:    Checkallthatappe                    Unknown
            JACYN NORFLEET
                                                                                                        E contingent
            clo ADAM J SHAFRAN
            RUDOLPH FRIEDMANN LLP                                                                       E     Unliquidated
            92 STATE STREET                                                                         g         Disputed
            BOSTON, MA 02109
                                                                                                    Basis for the claim:                  WAGE CLAIM LITIGATION
            Date(s)                debt was incurred
                                                                                                            the   claim subject      to   offset?   E   No              Yes
            Last         4    digits     of   account number _                                      Is




  3.60      Nonpriority creditor's name and mailing address                                         As       of   the petition filing        date, the claim          is:    Checkallthatappo                    Unknown
            JAMIL GIMENEZ
                                                                                                    E contingent
            clo ADAM J SHAFRAN
            RUDOLPH FRIEDMANN LLP                                                                   -        Unliquidated
            92 STATE STREET                                                                                  Disputed
            BOSTON, MA 02109
                                                                                                    Basis forthe            claim:        WAGE CLAIM LITIGATION
            Date(s)                debt was incurred

            Last        4     digits     of   account number                                        Is      the   claim subject      to   offset?   E   No              Yes



 3.61       Nonpriority creditor's name and mailing address                                        As        of   the petition filing        date, the claim          is:   Checkallthatappo                     Unknown
            JAY LEVEY
                                                                                                    E contingent
            clo ADAM J SHAFRAN
            RUDOLPH FRIEDMANN LLP                                                                   E Unliquidated
            92 STATE STREET                                                                         g        Disputed
            BOSTON, MA 02109
                                                                                                   Basis for the claim:                   WAGE CLAIM LITIGATION
            Date(s)                debt was incurred
                                                                                                            the   claim subject      to   offset?   A   No              Yes
            Last     4        digits    of    account number                                       Is




 3.62       Nonpriority creditor's name and mailing address                                        As        ofthe petition filing date, the claim                is:       Checkallthatappy                     Unknown
            JEREMY A GONSALVES
                                                                                                    E contingent
            clo ADAM J SHAFRAN
            RUDOLPH FRIEDMANN LLP                                                                   E        Unliquidated
            92 STATE STREET                                                                         E        Disputed
            BOSTON, MA 02109
                                                                                                   Basis for the claim:                   WAGE CLAIM LITIGATION
            Date(s)                debt was incurred
                                                                                                         the      claim subject      to   offset?   E   No             Yes
            Last     4       digits     of    account number _                                     Is




 3.63       Nonpriority creditor's name and mailing address                                        As        of   the petition filing        date, the claim      is:       Checka/Ithatapps                            $0.00
           JERRY CAROOM                                                                            N contingent
           8812 FREY ROAD
                                                                                                   E unliquidated
           HOUSTON, TX 77034
                                                                                                   O Disputed
           Date(s)                 debt was incurred
                                                                                                   Basis for the claim:                   Equipment Lease                      -
                                                                                                                                                                                   2015 Bentley, 2013 Bentley, 2017
           Last      4       digits     of    account number
                                                                                                   MB E300
                                                                                                   Is    the      claim subject      to   offset?   E   No             Yes



 3.64      Nonpriority creditor's name and mailing address                                         As        of   the petition filing        date, the claim      is:       Checkallthstapply               $893,930.45
           JERRY CAROOM                                                                            O contingent
           DIBIA XTRALIGHTSERVICES                                                                 O Unliquidated
           8812 FREY ROAD
                                                                                                             Disputed
           HOUSTON, TX 77034
                                                                                                   Basis for the claim:                   AffilÍate
           Date(s)                 debt was incurred _

                                              account number _                                           the      claim subject      to   offset?   E   No             Yes
           Last     4        digits     of
                                                                                                   Is




Official Form 206 E/F                                                              Schedule E/F: Creditors Who Have Unsecured Claims                                                                             Page   10   of   19


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                                        Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 34 of 52

  Debtor           XtraLight Manufacturing,                             Ltd.                                                              Case number         (if     known)          18-31857-H1-11
                   Name


  3.65       Nonpriority creditor's name and mailing address                                          As     of   the petition filing       date, the claim         is:    Checkallthatappy                    Unknown
            JOHN MARCO RAMOS
            clo ADAM J SHAFRAN                                                                        E contingent
            RUDOLPH FRIEDMANN LLP                                                                     E Unliquidated
            92 STATE STREET                                                                           E      Disputed
            BOSTON, MA 02109
                                                                                                      Basis for the claim:              WAGE CLAIM LITIGATION
            Date(s)                debt was incurred

            Last         4     digits    of   account number                                          is    the   claim subject    to   offset?   E   No              Yes



  3.66      Nonpriority creditor's name and mailing address                                       As         ofthe petition filing date, the claim                  is:    Checkallthatapply                   Unknown
            JOSEPH MANUEL AZEVEDO
                                                                                                      A contingent
            clo ADAM J SHAFRAN
            RUDOLPH FRIEDMANN LLP                                                                     E Unliquidated
            92 STATE STREET                                                                           E      Disputed
            BOSTON, MA 02109
                                                                                                  Basisfortheclaim: WAGE CLAIM LITIGATION
            Date(s)                debt was incurred
                                                                                                           the    claim subject    to   offset?   A   No     O yes
            Last         4    digits     of   account number                                      Is




  3.67      Nonpriority creditor's name and mailing address                                       As         of   the petition filing       date, the claim         is:    Checkallthatappy                    Unknown
            JULIAN JOSEPH AZEVEDO
                                                                                                  E contingent
            clo ADAM J SHAFRAN
            RUDOLPH FRIEDMANN LLP                                                                 E          Unliquidated
            92 STATE STREET                                                                       E Disputed
            BOSTON, MA 02109
                                                                                                  Basis forthe claim:                   _WAGE CLAIM LITIGATION
            Date(s)                debt was incurred

                              digits          account number _                                    Is       the    claim subject   to    offset?   A   No              Yes
            Last       4                 of


 3.68       Nonpriority creditor's name and mailing address                                      As          of   the petition filing      date, the claim      is:       Checkallthatappy                     Unknown
            JULIAN P AZEVEDO
                                                                                                  E contingent
            clo ADAM J SHAFRAN
            RUDOLPH FRIEDMANN LLP                                                                 A Unliquidated
            92 STATE STREET                                                                       A Disputed
            BOSTON, MA 02109
                                                                                                  Basis for the claim:                  WAGE CLAIM LITIGATION
            Date(s)                debt was incurred
                                                                                                           the    claim subject   to    offset?   E   No             Yes
            Last     4       digits     of    account number _                                    Is




 3.69       Nonpriority creditor's name and mailing address                                      As         of    the petition filing      date, the claim      is:       Checkallthatappy                    $93,285.12
            KEELING COMPANY                                                                       O contingent
            6615 THEALL RD                                                                        O Unliquidated
            HOUSTON, TX 77066                                                                     O Disputed
            Date(s)                debt was incurred _
                                                                                                 Basis for the claim:
           Last      4       digits     of    account number
                                                                                                 is        the    claim subject   to    offset?   A   No             Yes



 3.70       Nonpriority creditor's name and mailing address                                      As         of    the petition filing      date, the claim     is:        Checkallthatappy                           $103.33
            KENTWOOD SPRINGS                                                                     O contingent
            PO BOX 660579                                                                        O Unliquidated
            DALLAS, TX 75266-0579                                                                O Disputed
           Date(s)                 debt was incurred -
                                                                                                 Basis for the claim:
           Last      4       digits     of    account number
                                                                                                 is        the    claim subject   to    offset?   E   No             Yes



 3.71      Nonpriority creditor's name and mailing address                                       As         of    the petition filing      date, the claim     is:        Checkallthatappy                     $4,791.35
           KLARO SOLUTIONS, INC                                                                  O contingent
           9614 TREE TOPS LAKE ROAD                                                              O Unliquidated
           TAMPA, FL 33626                                                                       O Disputed
           Date(s)             debt was incurred
                                                                                                 Basis for the claim:
           Last    4         dígits     of    account number
                                                                                                 is        the    claim subject   to    offset?   E   No             Yes




Official Form 206 E/F                                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                                             Page    11   of   19


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                                        Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 35 of 52

  Debtor           XtraLight Manufacturing,                             Ltd.                                                              Case number         (if     known)          18-31857-H1-11
                   Name


  3.72       Nonpriority creditor's name and mailing address                                          As     of    the petition filing      date, the claim         is:    Checkallthatappy                    Unknown
            KYLE CHEVALIER
            clo ADAM J SHAFRAN                                                                        E contingent
            RUDOLPH FRIEDMANN LLP                                                                     E Unliquidated
            92 STATE STREET                                                                           g      Disputed
            BOSTON, MA 02109
                                                                                                      Basis for the claim:              WAGE CLAIM LITIGATION
            Date(s)                debt was incurred

            Last         4     digits    of   account number _                                        Is    the   claim subject    to   offset?   E   No              Yes



  3.73      Nonpriority creditor's name and mailing address                                       As         of   the petition filing       date, the claim         is:    Checkellthatappe                    $1,320.18
            LEGACY PAPER & PACKAGING                                                                  O contingent
            15550 VICKERY DRIVE # 150                                                                 O Unliquidated
            HOUSTON, TX 77032                                                                         O Disputed
            Date(s)                debt was incurred -
                                                                                                  Basis for the claim:
            Last         4    digits     of   account number
                                                                                                  Is       the    claim subject    to   offset?   E   No              Yes


  3.74      Nonpriority creditor's name and mailing address                                       As         of   the petition filing       date, the claim         is:    Checkallthatapply                   $5,452.39
            LEVITON MFG DEPT #05510                                                               O contingent
            PO BOX 405362                                                                         O Unliquidated
            ATLANTA, GA 30384-5362                                                                           Disputed
            Date(s)                debt was incurred -
                                                                                                  Basis forthe claim:
            Last         4    digits    of    account number
                                                                                                  is       the    claim subject   to    offset?   E   No             Yes


  3.75      Nonpriority creditor's name and mailing address                                      As          of   the petition filing      date, the claim      is:        Checkallthatappy                    Unknown
            LINO GRACE
                                                                                                  A contingent
            clo ADAM J SHAFRAN
            RUDOLPH FRIEDMANN LLP                                                                 E          Unliquidated
            92 STATE STREET                                                                       g          Disputed
            BOSTON, MA 02109
                                                                                                 Basis for the claim:                   WAGE CLAIM LITIGATION
            Date(s)                debt was incurred
                                                                                                 Is        the    claim subject   to    offset?   E   No             Yes
            Last     4        digits    of    account number _

 3.76       Nonpriority creditor's name and mailing address                                      As         of    the petition filing      date, the claim      is:       Checkallthatappy                     $1,500.00
            LUTRON ELECTRONICS CO., INC.                                                          O contingent
            PO BOX 643782                                                                        O Unliquidated
            PITTSBURGH, PA 15264-3782                                                            O Disputed
            Date(s)                debt was incurred -
                                                                                                 Basis for the claim:
            Last     4       digits     of    account number
                                                                                                 Is        the    claim subject   to    offset?   E   No             Yes


 3.77       Nonpriority creditor's name and mailing address                                      As         of    the petition filing      date, the claim     is:        Checkallthatapp¥                     Unknown
           MANUEL AZEVEDO
                                                                                                 E contingent
           clo ADAM J SHAFRAN
           RUDOLPH FRIEDMANN LLP                                                                 E          Unliquidated
           92 STATE STREET                                                                       -          Disputed
            BOSTON, MA 02109
                                                                                                 Basis for the claim:                   WAGE CLAIM LITIGATION
           Date(s)                 debt was incurred

           Last      4       digits     of    account number _                                   Is        the    claim subject   to    offset?   E   No             Yes



 3.78      Nonpriority creditor's name and mailing address                                       As         of    the petition filing      date, the claim     is:        Checkallthatapply                   Unknown
           MARTIN THOMAS FORHAN
                                                                                                 E contingent
           clo ADAM J SHAFRAN
           RUDOLPH FRIEDMANN LLP                                                                 E          Unliquidated
           92 STATE STREET                                                                       g          Disputed
           BOSTON, MA 02109
                                                                                                 Basisfortheclaim: WAGE CLAIM LITIGATION
           Date(s)                 debt was incurred

                                              account number _                                             the    claim subject   to    offset?   E   No            Yes
           Last      4       digits     of
                                                                                                 Is




Official Form 206 E/F                                                            Schedule EIF: Creditors Who Have Unsecured Claims                                                                             Page    12   of   19


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                                                Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 36 of 52
  Debtor           XtraLight Manufacturing,                                    Ltd.                                                                  Case number        (if     known)          18-31857-H1-11
                   Name


  3.79          Nonpriority creditor's name and mailing address                                             As         of    the petition filing      date, the claim         IS:    Checkallthatappy                     Unknown
             MATTHEW LISOWSKI
             clo ADAM J SHAFRAN                                                                              E contingent
             RUDOLPH FRIEDMANN LLP                                                                           E         Unliquidated
             92 STATE STREET                                                                                 g         Disputed
             BOSTON, MA 02109
                                                                                                            Basisfortheclaim: WAGE CLAIM LITIGATION
             Date(s)                    debt was incurred

             Last            4         digits    of   account number _                                      is    the       claim subject    to    offset?   E    No            Yes



  3.80      Nonpriority creditor's name and mailing address                                                 As     of       the petition filing       date, the claim         IS:   Checkallthatappy                     $1,047.77
            MCMASTER-CARR SUPPLY CO.                                                                        O contingent
            PO BOX 7690                                                                                     O Unliquidated
            CHICAGO, IL 60680-7690                                                                                 Disputed
            Date(s)                     debt was incurred -
                                                                                                            Basis forthe claim:
            Last         4         digits        of   account number
                                                                                                            Is    the       claim subject    to   offset?    E   No             Yes


  3.81      Nonpriority creditor's name and mailing address                                             As         of       the petition filing       date, the claim     is:       Checkallthatapply                          $136.80
            MISUMI USA                                                                                      O contingent
            26797 NETWORK PLACE                                                                             O Unliquidated
            CHICAGO, IL 60673-1267                                                                                 Disputed
            Date(s)                    debt was incurred -
                                                                                                        Basis for the claim: ¯
            Last         4         digits of account number
                                                                                                        Is       the        claim subject    to   offset?    E   No            Yes


  3.82      Nonpriority creditor's name and mailing address                                             As         ofthe petition filing date, the claim                  is:       Checkallthatapply                           $75.00
            MOBILE DEMAND                                                                               O contingent
            1501 BOYSON SQUARE DRIVE                                                                    O Unliquidated
            HLAWATHA, IA 52233                                                                                     Disputed
            Date(s)                    debt was incurred -
                                                                                                        Basis for the claim:
            Last         4        digits of account number
                                                                                                        is       the        claim subject   to    offset?    E   No    O ves

 3.83       Nonpriority creditor's name and mailing address                                            As          of       the petition filing      date, the claim      is:       Checkallthatapply                          $110.42
            MOBILE FASTENERS                                                                            O contingent
            PO BOX 897                                                                                  O Unliquidated
            S    HOUSTON, TX 77587                                                                      O Disputed
            Date(s)                    debt was incurred
                                                                                                       Basis forthe claim: ¯
            Last     4            digits        of    account number
                                                                                                       Is        the        claim subject   to    offset?    E   No           Yes


 3.84       Nonpriority creditor's name and mailing address                                            As         of the petition filing             date, the claim     is:        Checkallthatapply                            $0.00
           MOBILE MODULAR PORTABLE STORAGE                                                             O contingent
           4445 EAST SAM HOUSTON PKWY S                                                                O Unliquidated
           PASADENA, TX 77505                                                                          O Disputed
            Date(s)                    debt was incurred -
                                                                                                       Basis for the claim:
            Last     4           digits         of    account number
                                                                                                       Is        the        claim subject   to    offset?    E   No           Yes


 3.85      Nonpriority creditor's name and mailing address                                             As         of        the petition filing      date, the claim     is:        Checkallthatapply                    $2,284.00
           MOUSER ELECTRONICS                                                                          O contingent
           P.O. BOX 99319                                                                              O Unliquidated
           FORT WORTH, TX 76199-0319                                                                              Disputed
           Date(s)                     debt was incurred -
                                                                                                       Basis forthe claim:
           Last      4           digits         of    account number
                                                                                                       Is        the        claim subject   to    offset?    E   No           Yes




Official Form 206 E/F                                                                  Schedule EIF: Creditors Who Have Unsecured Claims                                                                                 Page    13   of   19

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                                                Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 37 of 52
   Debtor           XtraLight Manufacturing,                                        Ltd.                                                                Case number        (if     known)          18-31857-H1-11
                    Name


  3.86       Nonpriority creditor's name and mailing address                                                     As     of    the petition filing        date, the claim         is:    Checkallthatapply                         $302.03
             MSC INDUSTRIAL SUPPLY CO. INC.                                                                      O contingent
             PO BOX 953635                                                                                       O Unliquidated
             ST LOUIS, MO 63195-3635                                                                             O Disputed
             Date(s)                    debt was incurred -
                                                                                                                 Basis for the claim:
             Last            4         digits    of   account number
                                                                                                                 Is    the   claim subject      to    offset?   E    No            Yes


  3.87       Nonpriority creditor's name and mailing address                                                 As         of   the petition filing         date, the claim         is:    Checkallthatapply                         $674.81
             MUSTANG DELIVERY SERVICES                                                                           O contingent
             PO BOX 70090                                                                                        O Unliquidated
             HOUSTON, TX 77270                                                                                          Disputed
             Date(s)                    debt was incurred -
                                                                                                                 Basis for the claim:
             Last        4         digits of account number
                                                                                                                 Is    the   claim subject      to   offset?    E   No             Yes


  3.88       Nonpriority creditor's name and mailing address                                                 As         of   the petition filing         date, the claim         is:    Checkallthatapply                   Unknown
            NATANAEL ARAGON-MARTINE2'
                                                                                                                 E contingent
            clo ADAM J SHAFRAN
            RUDOLPH FRIEDMANN LLP                                                                                E      Unliquidated
            92 STATE STREET                                                                                  --         Disputed
            BOSTON, MA 02109
                                                                                                             Basis forthe              claim:        WAGE CLAIM LITIGATION
            Date(s)                    debt was incurred            _




            Last         4        digits         of   account number _                                       is       the    claim subject      to   offset?    E   No            Yes



  3.89      Nonpriority creditor's name and mailing address                                                  As         of   the petition filing        date, the claim      is:       Checkallthatapply                          $503.76
            NEWARKlelement14                                                                                 O contingent
            33190 COLLECTION CENTER DRIVE                                                                    O Unliquidated
            CHICAGO, IL 60693-0331                                                                                      Disputed
            Date(s)                    debt was incurred -
                                                                                                             Basis for the claim:
            Last         4        digits        of    account number
                                                                                                             is       the    claim subject      to   offset?    E   No            Yes


  3.90      Nonpriority creditor's name and mailing address                                                 As          of   the petition filing        date, the claim      is:       Checkallthatapply                           $78.22
            PACIFIC DIE CAST                                                                                 O contingent
            PO BOX 369                                                                                       O Unliquidated
            OLDSMAR, FL 34677                                                                                O Disputed
            Date(s)                    debt was incurred -
                                                                                                            Basis for the claim:
            Last     4            digits        of    account number
                                                                                                            Is        the    claim subject   to      offset?    E   No            Yes


 3.91       Nonpriority creditor's name and mailing address                                                 As         of    the petition filing        date, the claim     is:        Checkallthstapply                   $15,419.52
            PEXCO, LLC PHILADELPHIA                    -

                                                                                                            O contingent
            PO BOX 532180                                                                                   O Unliquidated
            ATLANTA, GA 30353-2180                                                                          O Disputed
            Date(s)                    debt was incurred -
                                                                                                            Basis for the claim:
            Last4 digits                        of    account number
                                                                                                            is        the    claim subject   to      offset?    E   No            Yes


 3.92       Nonpriority creditor's name and mailing address                                                 As         of    the petition filing        date, the claim     is:        Checkallthatapply                    $7,606.28
            PHILIPS LIGHTING                                                                                O contingent
            PO BOX 100194                                                                                   O Unliquidated
            ATLANTA, GA 30384                                                                                          Disputed
            Date(s)                    debt was incurred -
                                                                                                            Basis for the claim:
            Last     4           digits         of    account number
                                                                                                            Is        the    claim subject   to      offset?    E   No           Yes




Official Form 206 E/F                                                                       Schedule EIF: Creditors Who Have Unsecured Claims                                                                               Page    14   of   19

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                                        Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 38 of 52

  Debtor           XtraLight Manufacturing, Ltd.                                                                                             Case number         (if     known)          18-31857-Hi-11
                   Name


             Nonpriority creditor's name and mailing address                                           As     ofthe petition filing date, the claim                    is:    Checkallthatapply                   $3,468.00
            PHILIPS LIGHTING ELECTRONICS                                                                   O contingent
            PO BOX 100332                                                                              O Unliquidated
            ATLANTA, GA 30384-0978                                                                         O Disputed
            Date(s)                debt was incurred _
                                                                                                       Basis forthe         claim:
            Last         4     digits of account number
                                                                                                       is   the    claim subject      to   offset?   E   No              Yes



            Nonpriority creditor's name and mailing address                                            As     of   the petition filing         date, the claim         is:    Checkallthatapply                  $35,600.00
            PHILIPS LIGHTING ELECTRONICS                                                               O contingent
            PO BOX 100332                                                                              O unliquidated
            ATLANTA, GA 30384-0978                                                                            Disputed
            Date(s)                debt was incurred
                                                                                                       Basis for the claim: ¯
            Last         4     digits    of   account number
                                                                                                       Is   the    claim subject      to   offset?   E   No              Yes


  3.95      Nonpriority creditor's name and mailing address                                           As      of   the petition filing        date, the claim          is:   Checkallthatapply                          $737.95
            PRAXAIR DISTRIBUTION,                                       INC.                           O contingent
            PO BOX 120812                                                                              O Unliquidated
            DEPT 0812                                                                                  O Disputed
            DALLAS, TX 75312-0812
                                                                                                       Basis for the claim:
            Date(s)                debt was incurred
                                                                                                            the    claim subject     to    offset?   E   No              Yes
            Last         4    digits    of    account number _                                         Is




 3.96       Nonpriority creditor's name and mailing address                                           As     of    the petition filing        date, the claim      is:       Checkallthatapply                          $890.00
            PRECISIONMULTIPLE CONTROLS                                                                 O contingent
            33 GREENWOOD AVE.                                                                          O Unliquidated
            MIDLAND PARK, NJ 07432                                                                            Disputed
            Date(s)                debt was incurred -
                                                                                                      Basis for the claim:
            Last     4        digits    of    account number
                                                                                                      is    the    claim subject     to    offset?   E   No             Yes



 3.97       Nonpriority creditor's name and mailing address                                           As     of    the petition filing        date, the claim      is:       Checkellthatapply                    $2,626.34
            PROTO LABS, INC.                                                                          O contingent
            5540 PIONEER CREEK DR-                                                                    O Unliquidated
            MAPLE PLAIN, MN 55359                                                                     O Disputed
            Date(s)                debt was incurred -
                                                                                                      Basis forthe          claim:
            Last     4       digits     of    account number ¯
                                                                                                      Is    the    claim subject     to    offset?   E   No             Yes



 3.98       Nonpriority creditor's name and mailing address                                           As     of    the petition filing        date, the claim      is:       Checkallthatapply                           $24.22
            PSI INDUSTRIES                                                                            O contingent
            2301 YALE BLVD SE., STE C-4                                                               O Unliquidated
           ALBUQUERQUE, NM 87106                                                                      O Disputed
           Date(s)                 debt was incurred -
                                                                                                      Basis forthe          claim:
           Last      4       digits     of    account number
                                                                                                      is    the    claim subject     to    offset?   E   No             Yes



 3.99      Nonpriority creditor's name and mailing address                                            As     of    the petition filing        date, the claim     is:        Checkallthatapply                          $229.91
           QUILL CORPORATION                                                                          O contingent
           P.O BOX 37600                                                                              O Unliquidated
           PHILADELPHIA,                             PA 19101                                                Disputed
           Date(s)                 debt was incurred -
                                                                                                      Basis for the claim:
           Last      4       digits     of    account number
                                                                                                      Is    the    claim subject     to    offset?   E   No   Ü         Yes




Official Form 206 E/F                                                                 Schedule ElF: Creditors Who Have Unsecured Claims                                                                           Page    15   of   19


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                                        Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 39 of 52

  Debtor           XtraLight Manufacturing, Ltd.                                                                                          Case number         (if      known)         18-31857-H1-11
                   Name


  3.100     Nonpriority creditor's name and mailing address                                         As     of   the petition filing         date, the claim         is:    Checkallthstapply                         $165.00
            RELIANCE METAL CENTER DIV 07                                                                O contingent
            PO BOX 843525                                                                               O Unliquidated
            DALLAS, TX 75284-3525                                                                          Disputed
            Date(s)                debt was incurred _
                                                                                                    Basis for the claim:
            Last         4     digits    of   account number-
                                                                                                    Is    the   claim subject      to   offset?   A   No     O         Yes


  3.101     Nonpriority creditor's name and mailing address                                         As     of   the petition filing         date, the claim         is:    Checkallthatapply                   $9,242.00
            SANDEE MANUFACTURING                                                                    O contingent
            10520 WAVELAND AVENUE                                                                   O Unliquidated
            FRANKLIN PARK, IL 60131                                                                 O Disputed
            Date(s)                debt was incurred _
                                                                                                    Basis forthe claim:
            Last         4    digits of account number ¯
                                                                                                    Is    the claim    subject    to    offset?   E   No               Yes


  3.102     Nonpriority creditor's name and mailing address                                        As      of   the petition filing        date, the claim          is:    Checkallthatapply                   $1,049.85
            SCIENTIFIC LIGHTING PRODUCTS                                                            O contingent
            PO BOX 840116                                                                           O Unliquidated
            KANSAS CITY, MO 64184-0116                                                              O Disputed
            Date(s)                debt was incurred -
                                                                                                    Basis for the claim:
            Last       4      digits    of    account number
                                                                                                    is   the    claim subject     to    offset?   E   No              Yes


 3.103      Nonpriority creditor's name and mailing address                                        As      of   the petition filing        date, the claim       is:      Checkallthatapply                          $597.50
            SMART ELECTRIC NORTH AMERICA                                                            O contingent
            PO BOX 427                                                                              O Unliquidated
            CONOVER, NC 28613                                                                              Disputed
            Date(s) debt was incurred -
                                                                                                   Basis for the claim:
            Last     4        digits of account number
                                                                                                   Is    the    claim subject     to    offset?   E   No             Yes



 3.104      Nonpriority creditor's name and mailing address                                        As      of   the petition filing        date, the claim       is:      Checkallthatapply                          $848.31
            SOUTHEASTERN FREIGHT LINES                                                              O contingent
            PO BOX 100104                                                                           O Unliquidated
            COLUMBIA, SC 29202-3104                                                                O Disputed
            Date(s) debt was incurred -
                                                                                                   Basis forthe          claim:
            Last     4       digits     of    account number
                                                                                                   Is    the    claim subject     to    offset?   E   No             Yes



 3.105     Nonpriority creditor's name and mailing address                                         As     of    the petition filing        date, the claim       is:      Checkallthatapply                            $0.00
           SOUTHERN AMERICAN INSURANCE                                                             O contingent
           AGENCY                                                                                  O Unliquidated
           13823 SCHMIDT ROAD                                                                      -
                                                                                                   I-I Disputed
           CYPRESS, TX 77429
                                                                                                   Basis forthe          claim:
           Date(s) debt was incurred _

           Last      4       digits     of    account number _                                     Is    the    claim subject     to    offset?   E   No             Yes



 3.106     Nonpriority creditor's name and mailing address                                         As     of    the petition filing        date, the claim       is:      Checkallthatapply                    $2,353.36
           SOUTHERN CONTAINER LTD-                                                                 O contingent
           10410 PAPALOTE ST                                                                              Unliquidated
           SUITE 130                                                                                      Disputed
           HOUSTON, TX 77041
                                                                                                   Basis for the claim:
           Date(s) debt was incurred
                                                                                                         the    claim subject     to    offset?   E   No   O         Yes
           Last    4         digits     of    account number_                                      Is




Official Form 206 E/F                                                              Schedule E/F: Creditors Who Have Unsecured Claims                                                                           Page    16   of   19


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                                        Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 40 of 52

  Debtor           XtraLight Manufacturing,                              Ltd.                                                               Case number         (if     known)          18-31857-H1-11
                   Name


  3.107      Nonpriority creditor's name and mailing address                                            As     of   the petition filing       date, the claim         IS:    Checkallthatapply                    $3,781.66
            SOUTHERN PIPE                              &     SUPPLY CO.,           INC.                 O contingent
            PO BOX 3582                                                                                 O Unliquidated
             LAFAYETTE,                         LA 70502                                                O Disputed
            Date(s)                debt was incurred -
                                                                                                        Basis for the claim:
            Last         4     digits of account number
                                                                                                        is    the   claim subject    to   offset?   E   No              Yes


  3.108     Nonpriority creditor's name and mailing address                                         As         of   the petition filing       date, the claim         is:    Checkallthatapply                   $2,038.50
            SOUTHERN PRODUCT FINISHING                                                                  O contingent
            PO BOX 895                                                                                  O Unliquidated
            PEARLAND, TX 77588-0895                                                                            Disputed
            Date(s)                debt was incurred -
                                                                                                    Basis for the claim:
            Last         4     digits    of   account number
                                                                                                    is       the    claim subject    to   offset?   E   No              Yes


  3.109     Nonpriority creditor's name and mailing address                                         As         of   the petition filing       date, the claim         is:    Checkallthatapply                  $15,000.00
            STRICTLY ELECTRICAL SOLUTIONS, LLC                                                      O contingent
            3603 COFFEE                                                                             O Unliquidated
            PASADENA,                          TX 77505                                             O Disputed
            Date(s)                debt was incurred -
                                                                                                    Basis for the claim:
            Last         4    digits     of   account number
                                                                                                    is       the    claim subject   to    offset?   E   No             Yes


  3.110     Nonpriority creditor's name and mailing address                                        As          of   the petition filing      date, the claim      is:        Checka/Ithstapply                  $15,000.00
            SUPER ROOTER INC.                                                                       O contingent
            302 SE WALLACE TERR                                                                     O Unliquidated
            PORT ST LUCIE, FL 34983                                                                 O Disputed
            Date(s)                debt was incurred _
                                                                                                    Basis for the claim:
            Last       4      digits    of    account number
                                                                                                    is       the    claim subject   to    offset?   E   No             Yes


 3.111      Nonpriority creditor's name and mailing address                                        As         of    the petition filing      date, the claim      is:       Checkallthatapply                    $2,262.00
            THE WATT STOPPER, INC.                                                                  O contingent
            PO BOX 3160                                                                             O Unliquidated
            CAROL STREAM, IL 60132-3160                                                                        Disputed
            Date(s)                debt was incurred _
                                                                                                   Basis for the claim:
            Last     4       digits     of    account number
                                                                                                   Is        the    claim subject   to    offset?   E   No             Yes



 3.112      Nonpriority creditor's name and mailing address                                        As         of    the petition filing      date, the claim     is:        Checkallthatapply                    Unknown
           THOMAS J GAMBLE
                                                                                                   E contingent
           clo ADAM J SHAFRAN
           RUDOLPH FRIEDMANN LLP                                                                   E          Unliquidated
           92 STATE STREET                                                                         -          Disputed
            BOSTON, MA 02109
                                                                                                   Basisfortheclaim: WAGE CLAIM LITIGATION
           Date(s)                 debt was incurred

           Last      4       digits     of    account number _                                     is        the    claim subject   to    offset?   E   No             Yes



 3.113     Nonpriority creditor's name and mailing address                                         As         of    the petition filing      date, the claim     is:        Checkallthatapply                          $1ÛÛ.99
           TIME WARNER CABLE                                                                       O contingent
           PO BOX 70872                                                                            O Unliquidated
           CHARLOTTE, NC 28272-0872                                                                O Disputed
           Date(s) debt was incurred -
                                                                                                   Basis for the claim:
           Last    4         digits     of    account number
                                                                                                   is        the    claim subject   to    offset?   E   No             Yes




Official Form 206 E/F                                                              Schedule ElF: Creditors Who Have Unsecured Claims                                                                             Page    17   of   19


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                                         Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 41 of 52

  Debtor           XtraLight Manufacturing, Ltd.                                                                                             Case number        (if     known)          18-31857-Hi-11
                   Name


  3.114     Nonpriority creditor's name and mailing address                                           As     of    the petition filing        date, the claim         is:    Checkallthatappy                    Unknown
            TIMOTHY GREENWELL
            clo ADAM J SHAFRAN                                                                        E contingent
            RUDOLPH FRIEDMANN LLP                                                                     E      Unliquidated
            92 STATE STREET                                                                           -      Disputed
            BOSTON, MA 02109
                                                                                                      Basis for the claim:                WAGE CLAIM LITIGATION
            Date(s)                debt was incurred

            Last         4     digits    of   account number _                                        Is    the   claim subject      to    offset?   E   No             Yes



  3.115     Nonpriority creditor's name and mailing address                                       As         ofthe petition filing date, the claim                    is:    Checkallthatapply                         $267.50
            UNIVERSAL LIGHTING TECHNOLOGIE                                                            O contingent
            PO BOX 405128                                                                             O Unliquidated
            ATLANTA, GA 30384-5128                                                                           Disputed
            Date(s)                debt was incurred -
                                                                                                  Basis forthe claim:
            Last         4    digits     of   account number
                                                                                                  is       the    claim subject      to   offset?    E   No             Yes


  3.116     Nonpriority creditor's name and mailing address                                       As         ofthe petition filing date, the claim                 is:       Checkallthatapply                           $0.00
            WARRANTY RESERVE CLAIMS                                                                   O contingent
                                                                                                  O Unliquidated
            Date(s)                debt was incurred _                                            O Disputed
            Last       4      digits     of   account number-                                     Basis forthe claim:

                                                                                                  Is       the    claim subject     to    offset?    E   No             Yes


 3.117      Nonpriority creditor's name and mailing address                                       As         of   the petition filing        date, the claim      IS:       Checkallthatapply                   $18,187.00
            WATER ENERGY                                                                          O contingent
            ACCOUNTS PAYABLE                                                                      O Unliquidated
            9741 TAPPENBECK DRIVE
                                                                                                  O Disputed
            HOUSTON, TX 77055
                                                                                                  Basis for the claim:
            Date(s)                debt was incurred

            Last     4        digits    of    account number                                      Is       the    claim subject     to    offset?    E   No            Yes



 3.118      Nonpriority creditor's name and mailing address                                      As         of    the petition filing        date, the claim      is:       Checkallthatapply                    $1,055.38
            WHOLESALE ELECTRIC SUPPLY                                                             O contingent
            PO BOX 732778                                                                         O Unliquidated
            DALLAS, TX 75373-2778                                                                            Disputed
            Date(s)                debt was incurred -
                                                                                                 Basis for the claim:
            Last     4       digits     of    account number
                                                                                                 is        the    claim subject     to    offset?    E   No            Yes


 3.119     Nonpriority creditor's name and mailing address                                       As         of    the petition filing        date, the claim      is:       Checkallthatapply                    Unknown
           WILLIAM H BOUSHELL
           clo ADAM J SHAFRAN                                                                     E contingent
           RUDOLPH FRIEDMANN LLP                                                                 E uniiquidated
           92 STATE STREET                                                                       g          Disputed
            BOSTON, MA 02109
                                                                                                 Basis forthe              claim:         WAGE CLAIM LITIGATION
           Date(s)                 debt was incurred _

           Last      4       digits     of    account number _                                   Is        the claim subject        to    offset?    E   No   O       Yes



 3.120     Nonpriority creditor's name and mailing address                                       As         of    the petition filing        date, the claim      is:       Checkallthatapply                    $1,149.75
           YRC (RDWY)                                                                            O contingent
           PO BOX 730375                                                                         O Unliquidated
           DALLAS, TX 75373-0375                                                                 O Disputed
           Date(s) debt was incurred -
                                                                                                 Basis for the claim:
           Last    4         digits     of    account number
                                                                                                 is        the    claim subject     to    offset?    E   No           Yes




               List Others to Be Notified About Unsecured Claims



Official Form 206 E/F                                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                                               Page    18   of   19


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                                        Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 42 of 52

      Debtor          XtraLight Manufacturing,                                     Ltd.                                                                          Case number                (if   known)      18-31857-Hi-11
                      Name


 4.     List in alphabetical order any others who must be notified for claims                                            listed    in     Parts   1   and   2.    Examples      of        entities that may   be    listed    are   collection agencies,
        assignees of claims listed above, and attorneys for unsecured creditors.

        If   no   others need         to    be       notified for the debts listed          in   Parts   1   and   2,   do   not   fill   out or submit this page.                   If   additional pages are needed, copy the next page.

                   Name and mailing address                                                                                                                      On   which line in Parti or Part             2    is   the                Last 4 digits of
                                                                                                                                                                 related  creditor (if any) listed?                                        account number,           if

                                                                                                                                                                                                                                           any


 B                    Total Amounts                       of the    Priority and Nonpriority Unsecured Claims

 5.     Add the amounts of priority and nonpriority                                  unsecured claims.
                                                                                                                                                                                           Total of claim amounts
  Sa.        Total claims        from Part            1                                                                                                               Sa.            $
                                                                                                                                                                                                                                    0.00
  Sb.        Total claims        from Part            2                                                                                                               Sb.   +    $
                                                                                                                                                                                                              16,681,672.98

  Sc.        Total of Parts       1   and        2




              Lines Sa + 5b       =
                                      Sc.                                                                                                                             5c.        s                                  16,681,672.98




Official Form 206 E/F                                                                      Schedule EIF: Creditors Who Have Unsecured Claims                                                                                                             Page   19        of   19


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                                            Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 43 of 52


      Debtor name                     XtraLight Manufacturing,                       Ltd.

      United States Bankruptcy                       Court for the:           SOUTHERN DISTRICT OF TEXAS

  Case number                  (if    known)        18-31857-H1-11
                                                                                                                                                                                          O   Check   if   this   is     an

                                                                                                                                                                                              amended filing


 Official Form 206G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                                                                                                    12/15
 Be as       complete and accurate                         as    possible.     If   more space          is   needed,   copy and attach the additional page, number the entries consecutively.

 1.        Does the debtor have any executory contracts or unexpired leases?
           O No. Check this box and file this form with the debtor's other schedules.                                         There   is   nothing else   to   report   on   this form.

           E    Yes.    Fill         in   all   of the information       below even         if   the contacts of leases are listed    on   Schedule A/B: Assets          -
                                                                                                                                                                             Real and Personal                           Property
 (Official      Form     206A/B).

  2.    List all contracts and unexpired leases                                                                           State the name and mailing address for all other parties with
                                                                                                                          whom the debtor has an executóry contract or unexpired
                                                                                                                          lease

  2.1.             State what the contract or
                   lease is for and the nature                           of
                   the debtor's interest

                          State the term remaining                                  Month          to   Month

                      List the contract number of any                                                                         AII Cleaning         Services
                                     government contract


  2.2.            State what the contract or                                        Sales Representation
                  lease is for and the nature                            of         Agreement
                  the debtor's interest

                          State the term remaining
                                                                                                                              Allen Kirk
                      List the contract number of any                                                                         8812 Frey Road
                                     government contract                                                                      Houston, TX 77034



 2.3.             State what the contract or                                        Master Service
                  lease is for and the nature                            of         Agreement
                  the debtor's interest


                         State the term remaining
                                                                                                                              Birch
                   List the contract number of any                                                                            320 Interstate North Parkway SE
                                     government contract                                                                      Atlanta, GA 30339




Official       Form    206G                                             Schedule       G:        Executory Contracts and Unexpired Leases                                                                           Page         1   of   6



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                                   Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 44 of 52
   Debtor    1
                  XtraLight Manufacturing, Ltd.                                                                         Case number (ifknown)   18-31857-H1-11
                  First     Name                      Middle     Name                   Last   Name




                 Additional             Page          if    You Have More Contracts or Leases

  2.     List all contracts and unexpired leases                                                           State the name and mailing address for all other parties with
                                                                                                           whom the debtor has an executory contract or unexpired
                                                                                                           lease

  2.4.            State what the contract or                                 Rental/Lease
                  lease is for and the nature                           of   Agreement dated
                  the debtor's interest                                      January 1, 2012
                                                                             between Cay Capital as
                                                                             owner and XtraLight
                                                                             Manufacturing
                                                                             Partnership, Ltd. n/kla
                                                                             XtraLight
                                                                             Manufacturing Ltd.       as
                                                                             Tenant, for property
                                                                             and buildings located
                                                                             at 8812 Frey Road,
                                                                             Houston, TX 77034, at
                                                                             $34,000 per month.
                                                                             Terminates upond 30
                                                                             days written notice.
                          State the term remaining
                                                                                                               Cay Capital LLC
                  List the contract number of any                                                              8812 Frey Road
                             government contract                                                               Houston, TX 77034



  2.5.           State what the contract or                                  Commercial Lease for
                 lease is for and the nature                            of   property located at
                 the debtor's interest                                       1117 E. Thomas Street,
                                                                             Hammond, Louisiana.
                          State the term remaining                                                            Chief Investments, LLC
                                                                                                              Attn Nicholas J Muscarello
                  List the contract number of any                                                              105   Abingdon Way
                             government          contract                                                      Hammond,    LA 70401



 2.6.            State what the contract or                                  Sales Representation
                 lease is for and the nature                            of   Agreement
                 the debtor's interest

                          State the term remaining
                                                                                                              Cody Hayes
                 List the contract number of any                                                              8812 Frey Road
                             government         contract                                                      Houston, TX 77034



 2.7.            State what the contract or                                  Equipment Lease
                 lease is for and the nature                        of       effective 8/1/2016
                 the debtor's interest                                       between Jerry Caroom
                                                                             as Lessor and
                                                                             XtraLight for 60
                                                                             payments of $9,170.44.
                      State the term remaining                               39 months
                                                                                                              Jerry Caroom
                 List the contract number of any                                                              8812 Frey Road
                            government contract                                                               Houston, TX 77034




Official   Form      206G                                           Schedule      G:   Executory Contracts and Unexpired Leases                                           Page    2   of   6



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                                       Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 45 of 52
   Debtor    1
                  XtraLight Manufacturing, Ltd.                                                                                Case   number (ifknown)   18-31857-H1-11
                  First         Name                      Middle         Name                 Last   Name




                 Additional                 Page          if    You Have More Contracts or Leases

  2.   List all contracts and unexpired leases                                                                  State the name and mailing address for all other parties with
                                                                                                                whom the debtor has an executory contract or unexpired
                                                                                                                lease

  2.8.            State what the contract or                                         Sales Representation
                  lease is for and the nature                                   of   Agreement
                  the debtor's interest

                            State the term remaining
                                                                                                                    Jerry Caroom
                  List the contract number of any                                                                   8812   Frey   Road
                                 government contract                                                                Houston,      TX 77034



  2.9.            State what the contract or                                         Sales Representation
                  lease is for and the nature                                   of   Agreement
                  the debtor's interest

                           State the term remaining
                                                                                                                    Joe Thomson
                  List the contract number of any                                                                   8812 Frey Road
                                 government contract                                                                Houston, TX 77034



  2.10.          State what the contract or
                 lease is for and the nature                                    of
                 the debtor's interest

                           State the term remaining                                  Month     to    Month

                  List the contract number of any                                                                   Kentwood/Crystal Springs
                                 government contract


 2.11.           State what the contract or                                          Sales Representation
                 lease is for and the nature                                    of   Agreement
                 the debtor's interest

                          State the term remaining
                                                                                                                    Lisa Swienton
                  List the contract number of any                                                                   8812 Frey Road
                                 government contract                                                                Houston, TX 77034



 2.12.           State what the contract or                                          Sales Representation
                 lease is for and the nature                                of       Agreement
                 the debtor's interest

                          State the term remaining
                                                                                                                    Mike Mayer
                 List the contract number of any                                                                    8812 Frey Road
                                 government contract                                                                Houston, TX 77034



 2.13.           State what the contract or
                 lease is for and the nature                                of
                 the debtor's interest

                      State the term remaining                                       Month    to     Month          NTS Communications
                                                                                                                    PO Box 10730
                 List the contract number of any                                                                    Lubbock, TX 79408-3730
Official   Form      206G                                                   Schedule   G:    Executory Contracts and Unexpired Leases                                              Page    3   of   6



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                                   Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 46 of 52
   Debtor    1
                  XtraLight Manufacturing,                                       Ltd.                                                 Case number (ifknown)   18-31857-H1-11
                  First     Name                      Middle         Name                       Last   Name




                 Additional             Page          if    You Have More Contracts or Leases

  2.   List all contracts and unexpired leases                                                                         State the name and mailing address for all other parties with
                                                                                                                       whom the debtor has an executory contract or unexpired
                                                                                                                       lease

                              government contract


  2.14.           State what the contract or                                            Payroll Service
                  lease is for and the nature                               of          Agreement dated
                  the debtor's interest                                                 3/14/2014, Employer
                                                                                        Service Agreement,
                                                                                        COBRA Services
                                                                                        Agreement, Full
                                                                                        Service Garnishment
                                                                                        Support Services
                                                                                        Agreement
                          State the term remaining                                                                         Paycom Payroll, LLC
                                                                                                                           d/bla PAYCOM
                  List the contract number of any                                                                          7501 W Memorial Rd
                             government contract                                                                           Oklahoma City, OK 73142



  2.15.          State what the contract or                                             Lease Agreement
                 lease is for and the nature                                of
                 the debtor's interest

                          State the term remaining                                      October        2018
                                                                                                                           Pitney Bowes
                  List the contract number of any                                                                          3001 Summer  Street
                             government contract                                                                           Stamford, CT 06926


 2.16.           State what the contract or                                             Lease
                 lease is for and the nature                                of
                 the debtor's interest

                          State the term remaining                                      9/30/2018                          Preferred Corporate Housing
                                                                                                                          Estates at Eagle's Point
                  List the contract number of any                                                                         36062 Beale Court
                             government contract                                                                          Peru, IN 46970



 2.17.           State what the contract or                                             Leases     -
                                                                                                       2   corporate
                 lease is for and the nature                            of              housing
                 the debior's interest

                          State the term remaining                                      7/01/2018                         Preferred Corporate Housing
                                                                                                                          The Avenue at      Nicholasville
                 List the contract number of any                                                                          801   E   Brannon Road
                             government contract                                                                          Nicholasville, KY     40356



 2.18.           State what the contract or                                             Sales Representation
                 lease is for and the nature                            of              Agreement
                 the debtor's interest

                      State the term remaining
                                                                                                                          Richard Shirley
                 List the contract number of any                                                                          8812 Frey Road
                            government          contract                                                                  Houston, TX 77034


Official   Form      206G                                               Schedule          G:    Executory Contracts and Unexpired Leases                                                Page    4   of   6



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                                   Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 47 of 52
   Debtor    1
                  XtraLight Manufacturing, Ltd.                                                                       Case   number (ifknown)   18-31857-H1-11
                  First     Name                      Middle     Name                 Last   Name




                 Additional             Page          if    You Have More Contracts or Leases

  2.   List all contracts and unexpired leases                                                          State the name and mailing address for all other parties with
                                                                                                        whom the debtor has an executory contract or unexpired
                                                                                                        lease


  2.19.           State what the contract or                                 Sales Representation
                  lease is for and the nature                           of   Agreement
                  the debtor's interest

                          State the term remaining
                                                                                                            Ron Gilcrease
                  List the contract number of any                                                           8812 Frey Road
                             government contract                                                            Houston, TX 77034



  2.20.           State what the contract or                                 Employment
                  lease is for and the nature                           of   Agreements
                  the debtor's interest

                          State the term remaining

                  List the contract number of any                                                           See   attached Exhibit    G-1 for Employees
                             government contract


  2.21.          State what the contract or                                  Service Agreement
                 lease is for and the nature                            of
                 the debtor's interest

                          State the term remaining                           December          2018
                                                                                                            Southeast Business        Systems
                  List the contract number of any                                                           202 Market St
                             government contract                                                            Hammond,     LA 70401



 2.22.           State what the contract or                                  Marketing Agreement
                 lease is for and the nature                            of
                 the debtor's interest

                          State the term remaining
                                                                                                            Statesman Business        Advisors
                  List the contract number of any                                                           1900 West Loop S
                             government contract                                                            Houston, TX 77056



 2.23.           State what the contract or                                  Service Agreement
                 lease is for and the nature                        of
                 the debtor's interest

                          State the term remaining                           Month    to     Month
                                                                                                            Tiger Shredding
                 List the contract number of any                                                            6307 Quinn Drive
                            government contract                                                             Baton Rouge, LA 70817



 2.24.           State what the contract or                                  Occupancy Agreement
                 lease is for and the nature                        of       Term Sheet
                 the debtor's interest
                                                                                                            Travelers Haven
                      State the term remaining                               9/21/2018                      5115 North Socrum Loop Road
                                                                                                            Lakeland, FL 33809
Official   Form      206G                                          Schedule     G:   Executory Contracts and Unexpired Leases                                             Page    5   of   6



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                                       Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 48 of 52
   Debtor    1
                  XtraLight Manufacturing,                                       Ltd.                                             Case number (ifknown)   18-31857-Hi-11
                  First         Name                      Middle     Name                       Last   Name




                 Additional                 Page          if    You Have More Contracts or Leases

  2.   List all contracts and unexpired leases                                                                     State the name and mailing address for all other parties with
                                                                                                                   whom the debtor has an executory contract or unexpired
                                                                                                                   lease

                  List the contract number of any
                                 government contract


  2.25.           State what the contract or                                            Occupancy Agreement
                  lease is for and the nature                               of          Term Sheet
                  the debtor's interest

                            State the term remaining                                    9/05/2018
                                                                                                                       Travelers Haven
                  List the contract number of any                                                                      7816 Mayfaire Crest Lane
                                 government contract                         .
                                                                                                                       Raleigh,   NC   27615



  2.26.           State what the contract or                                            Occupancy Agreement
                  lease is for and the nature                               of          Term Sheet
                  the debtor's interest

                           State the term remaining                                     9/14/2018
                                                                                                                       Travelers Haven
                  List the contract number of any                                                                      4740 West Atlantic Blvd.
                                 government contract                                                                   Pompano      Beach, FL 33063



  2.27.          State what the contract or                                             Lease Agreement with
                 lease is for and the nature                                of          Utility Metering
                 the debtor's interest                                                  Solutions for premises
                                                                                        located at 7200 Falls of
                                                                                        Neuse Road, Raleigh,
                                                                                        NC 27615, consisting of
                                                                                        26,280 rentable square
                                                                                        feet.                         Urben Properties 1, LLC and
                          State the term remaining                                      April 30, 2019                4318 Medical Park Drive, LLC
                                                                                                                      clo Urben Commercial Properties
                  List the contract number of any                                                                     7200 Falls of Neuse Road, Suite 303
                                 government contract                                                                  Raleigh, NC 27615



 2.28.           State what the contract or                                             Customer Contracts
                 lease is for and the nature                            of
                 the debtor's interest

                          State the term remaining
                                                                                                                      Xtralight Manufacturing Ltd.
                 List the contract number of any                                                                      d/bla Uitlity Metering Solutions
                                government contract




Official   Form      206G                                               Schedule          G:   Executory Contracts and Unexpired Leases                                             Page    6   of   6



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                        Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 49 of 52


XtraLight Manufacturing, Ltd.
EXHIBIT G-1 Employee Contracts



LINDSAY ANZALONE
MICHAEL             D   ARNOLD
JOSEPH BADERA
ASHLEY BARADO
SARA BARDWELL
BENJAMIN BERTENS
CALVIN BROWN
ADAM M CARROLL
COALTER CURRAN
BLAKE       A   DAVIS
LANCE DAVIS
ASHLEY FRANCIS
RONALD GILCREASE
CODY HAYES
ANA    V    HERNANDEZ
ANTHONY HUME
VYOMARK JOSHI
WILL KIDDER
LINCOLN KILPATRICK
RITA    E   KIMBRELL
NORMAN KIRBY
ALLEN KIRK
THOMAS W LANDRY
ADRIANNE LATTIMORE
KASEY       LENCH
DAVID       A   LUTHER
MICHAEL MAYER
KENNETH M MCALPIN
GREGORY MCCALLA
BARRY MELVIN
JOEY   A    MITCHELL
MARITZA         J   MORALES
DAVID NAPIER
PAUL FRANK OLAH
JENNA ONEILL
HARRY       L   PATERSON
ROBERT PATTERSON
MICHAEL RENNER
KIMBERLY RENNER
JAMES WILLIAM RICE
RICHARD         K   SHIRLEY
JAVIER SILVA LUCIO
JAMES       E   SMITH
           Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 50 of 52


RICHARD SPENCER
LAWRENCE   P   STRYK

DONNA SWIENTON
RUSSELL SWITZER
JOSEPH THOMSON
HEATHER THRIFT
AMULYA VEGESNA
ANNA VIEBAG
KRISTINA WOODRUFF
NIKAI ZHANG
STEPHEN M ZOZULA
                                     Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 51 of 52


  Debtor name                     XtraLight Manufacturing,                        Ltd.

  United States Bankruptcy                    Court for the:               SOUTHERN DISTRICT OF TEXAS

  Case number              (if    known)      18-31857-H1-11
                                                                                                                                                                    O     Check    if   this   is     an

                                                                                                                                                                          amended filing


 Official Form 206H
 Schedule                           H:     Your Codebtors                                                                                                                                             12/15


 Be as complete and accurate                          as    possible.       If   more space   is   needed, copy the Additional Page, numbering the entries              consecutively. Attach the
 Additional Page to this page.

          1.   Do you have any               codebtors?

  O No. Check this box and submit this form to the court with the debtor's other schedules.                                     Nothing else needs   to   be reported on this form.

  E      Yes


    2.    In Column 1, list as codebtors all                        of the  people or entities who are also liable for any debts listed by the debtor in the schedules of
          creditors, Schedules D-G. Include                          allguarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
          on   which the creditor is listed.                If   the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
                  Column 1: Codebtor                                                                                         Column 2: Creditor




                  Name                                            Mailing Address                                                    Name                                  Check all schedules
                                                                                                                                                                           that apply:


      2.1         JERRY              H                            DIBIA X-TRA LIGHT SERVICES                                         BBVA COMPASS                          ED              2.5
                  CAROOM                                          8812 FREY ROAD                                                     BANK                                  O E/F
                                                                  HOUSTON, TX 77034
                                                                                                                                                                           OG




Official Form 206H                                                                                       Schedule   H:   Your   Codebtors                                                      Page          1 of  1




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                                             Case 18-31857 Document 7 Filed in TXSB on 04/11/18 Page 52 of 52




  Debtor name                            XtraLight Manufacturing, Ltd.
  United States Bankruptcy                           Court for the:            SOUTHERN DISTRICT OF TEXAS

  Case number                     (if    known)      18-31857-H1-11
                                                                                                                                                                                               O     Check    if   this    is    an
                                                                                                                                                                                                     amended filing



 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                                                                                                       12,9s


 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
 and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is  serious crime. Making false statement, concealing property, or obtaining money
                                                                    a                                        a                                                                                      or property           by fraud         in

connection with bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
                                         a                                                                                                                                                          U.S.C.   §§ 152, 1341,
 1519, and 3571.



                           Declaration and signature


               I am the president, another officer, or an authorized agent of the corporation;                                                 a   member   or an   authorized agent of the partnership; or another
               individual serving as a representative of the debtor in this case.

               I    have   examined the information                      in   the documents       checked below and             I   have       a   reasonable    belief that the information   is   true and correct:


                             Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
                             Schedule D: Creditors I/Vho Have Claims Secured by Property (Official Form 206D)
                             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                             Schedule H: Codebtors (Official Form 206H)
                             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                             Amended Schedule
                   [¯]
                             Chapter 11 or Chapter9 Cases: List of Creditors Who Have the 20 Largest Unsecured                                                        Claims and Are Not Insiders (Official               Form        204)
                   O         Other document that requires a declaration

           I       declare under penalty of perjury that the foregoing                             is   tr       and correct.


                   Executed             on        April    11,    2018                        X
                                                                                                  Signature of          in   idual        s    ning on behalf of debtor


                                                                                                  Jerry Caro.
                                                                                                  Printed name

                                                                                                  President and Manager                  of XLM                 Management, LLC, Debtor's General Partner
                                                                                                  Position        or   relationship to debtor




Official           Form    202                                                        Declaration Under Penalty                      of       Perjury for Non-Individual Debtors
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